     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 1 of 224 Page ID
                                      #:84378



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8
9
                     IN THE UNITED STATES DISTRICT COURT
10
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12
13    NATURAL-IMMUNOGENICS                 Case No. 8:15-cv-02034-JVS (JCG)
14    CORP.,

15                                         JOINT L.R. 16-6.1 EXHIBIT LIST
16
                         Plaintiff,
            v.                             Courtroom:        10C
17
                                           Judge:            Hon. James V. Selna
18                                         Filing Date:      December 7, 2015
      NEWPORT TRIAL GROUP, et al.,         Trial Date:       November 1, 2021
19
                                           Pretrial Conf.:    September 27, 2021
20
21
                        Defendants.

22
23
24
25
26
27
28
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 2 of 224 Page ID
                                      #:84379



1              Plaintiff Natural-Immunogenics Corp. (“NIC”) and Defendants, Newport
2     Trial Group, Scott J. Ferrell, David Reid, Victoria Knowles, Andrew Baslow,
3     Andrew Nilon, Sam Schoonover, Sam Pfleg, Matthew Dronkers, Taylor Demulder,
4     and Raquel Torres hereby submits the following joint list of exhibits in connection
5     with the trial of this matter pursuant to the Federal Rules of Civil Procedure, Rule
6     26(a)(3)(A)(iii) and L.R. 16-6.1:
7
8     (⁎) = Exhibits marked with the (⁎) symbol include those that the party may rely on
9     at trial.
10
11      Exh.
        No.       Description                        Offered By:    Objection(s):   Admitted:
12
13
                  December 27, 2011 Email re
14                Sovereign Silver demand letter
          1
                  [NTG022162], Nilon v. NIC, No.
15
                  3:12-cv-00930-LAB (S.D. Cal.)      Plaintiff
16                December 27, 2011 Email re
17
                  Sovereign Silver demand letter
          2
                  [NTG022169], Nilon v. NIC, No.
18                3:12-cv-00930-LAB (S.D. Cal.)      Plaintiff
19                AT&T Excerpted Records,
          3       Schoonover v. Himalaya, No.
20                3:12-cv-01782-JLS (S.D. Cal.)      Plaintiff
21                Schoonover Response to ROGs,
                  First Set (Aug. 15, 2016),
22     4 (*)
                  Schoonover v. Himalaya, No.
23                3:12-cv-01782-JLS (S.D. Cal.)      Plaintiff
                  Class Action Complaint (July 19,
24                2012), Dkt. 1-1, Schoonover v.
          5
25                Himalaya, No. 3:12-cv-01782-
                  JLS (S.D. Cal.)                    Plaintiff
26
                  Audio of Schoonover phone call
27                to Himalaya [7143966971.wav],
          6
                  Schoonover v. Himalaya, No.
28
                  3:12-cv-01782-JLS (S.D. Cal.)      Plaintiff
                                   JOINT L.R. 16-6.1 EXHIBIT LIST
                                                 1
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 3 of 224 Page ID
                                      #:84380



1      Exh.
       No.     Description                         Offered By:    Objection(s):   Admitted:
2              Schoonover Fee Agreement (July
3              17, 2012) [NTG000214],
         7
               Schoonover v. Himalaya, No.
4              3:12-cv-01782-JLS (S.D. Cal.)       Plaintiff
5              First Amended Complaint (Aug.
               29, 2012), Dkt. 5, Schoonover v.
6        8
               Himalaya, No. 3:12-cv-01782-
7              JLS (S.D. Cal.)                     Plaintiff
               Declaration of Sam Schoonover
8        9
               (Feb. 19, 2016), Dkt. 66            Plaintiff
9              Himalaya Settlement Agreement
               (Nov. 7, 2012), Schoonover v.
10      10
               Himalaya, No. 3:12-cv-01782-
11             JLS (S.D. Cal.)                     Plaintiff
               October 31, 2012 Email form
12
               Garganta to Reid re Himalaya
13     11(*)   settlement, Schoonover v.
               Himalaya, No. 3:12-cv-01782-
14
               JLS (S.D. Cal.)                     Plaintiff
15             NTG Responses to ROGs, First
       12(*)
16
               set (July 7, 2016)                  Plaintiff
               Schoonover's Privilege Log,
17     13(*)   Schoonover v. Himalaya, No.
18             3:12-cv-01782-JLS (S.D. Cal.)       Plaintiff
               Schoonover text messages
19             [WHITE0004244], Schoonover v.
      14 (*)
20             Himalaya, No. 3:12-cv-01782-
               JLS (S.D. Cal.)                     Plaintiff
21             Articles of Incorporation and
22    29 (*)   Corporate Filings re the Electric
               Family, LLC                         Plaintiff
23
               Demulder's Responses to NIC's
        30
24             ROGs (First Set) (Aug. 15, 2016)    Plaintiff
               Carter Reed Call Transcript NIC
25
               v. NTG, et al., No. 15-cv-02034-
26    32 (*)   JVS (C.D. Cal.), Dkt. 92-3,
               Demulder v. Carter-Reed, No.
27
               3:12-cv-02232-BTM (S.D. Cal.)       Plaintiff
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                               2
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 4 of 224 Page ID
                                      #:84381



1      Exh.
       No.     Description                         Offered By:    Objection(s):   Admitted:
2              AT&T Phone Records Excerpted,
3       33     Demulder v. Carter-Reed, No.
               3:12-cv-02232-BTM (S.D. Cal.)       Plaintiff
4       34     AT&T Records Key                    Plaintiff
5              Class Action Complaint (Sep. 13,
               2012), Dkt. 1, Demulder v.
6       35
               Carter-Reed, No. 3:12-cv-02232-
7              BTM (S.D. Cal.)                     Plaintiff
               Attachment A to Demulder
8     36 (*)
               Responses to RFP, Privilege Log     Plaintiff
9              Pfleg's Responses to RFPs, First
      39 (*)
               Set (Aug. 15, 2016)                 Plaintiff
10
               Class Action Complaint (March
11             16, 2012), Dkt. 1-4, Pfleg v.
      40 (*)
               Nature's Way, No. 3:12-cv-
12
               01018-LAB (S.D. Cal.)               Plaintiff
13             Pfleg Fee Agreement (March 15,
14
        41     2012), Pfleg v. Nature's Way, No.
               3:12-cv-01018-LAB (S.D. Cal.)       Plaintiff
15             July 2012 Settlement Agreement
16             [NATURE'SWAY_0000001-9],
        42
               Pfleg v. Nature's Way, No. 3:12-
17             cv-01018-LAB (S.D. Cal.)            Plaintiff
18             Pfleg's Responses to ROGs, First
        43
               Set (Aug. 12, 2016)                 Plaintiff
19             Pfleg's Supplemental Response to
      44 (*)
20             RFPs, First Set (May 23, 2017)      Plaintiff
               Pfleg's Supplemental Response to
21      45
               ROG 5 (Aug. 19, 2016)               Plaintiff
22             Pfleg's Supplemental Response to
      46 (*)
               ROGs, First Set (May 23, 2017)      Plaintiff
23
               Pfleg's Supplemental Response to
      47 (*)
24             Rog 9 (May 23, 2017)                Plaintiff
25
               January 2, 2012 Demand Letter to
               Nature's Way Products, Inc.,
26
        48
               Pfleg v. Nature's Way, No. 3:12-
27             cv-01018-LAB (S.D. Cal.)            Plaintiff

28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
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     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 5 of 224 Page ID
                                      #:84382



1      Exh.
       No.     Description                          Offered By:   Objection(s):   Admitted:
2              Yuma Justice Court Records
3              (Dkt. 113-4), Sandoval v. NIC,
      50 (*)
               No. 12-cv-00930-LAB (S.D.
4              Cal.)                                Plaintiff
5              Financial Judgment and Order
               Probation (Dkt. 113-4), Sandoval
6       51
               v. NIC, No. 12-cv-00930-LAB
7              (S.D. Cal.)                          Plaintiff
               Sandoval's Response to ROGs,
8       52
               First Set (July 2, 2016)             Plaintiff
9              Picture of Sovereign Silver bottle
               [SANDOVAL00001], Sandoval
10      53
               v. NIC, No. 12-cv-00930-LAB
11             (S.D. Cal.)                          Plaintiff
               Sandoval's Supplemental
12
      54 (*)   Response to ROG No. 3 (Aug.
13             15, 2016)                            Plaintiff
               Second Amended Class Action
14
               Complaint (Aug. 25, 2014), Dkt.
15      55     63, Nilon v. NIC, No. 3:12-cv-
16
               00930-LAB (S.D. Cal.), 12-cv-
               00930-LAB (S.D. Cal.)                Plaintiff
17             Fee Agreement Signature Page,
18             Sandoval (May 22, 2014),
        56
               Sandoval v. NIC, No. 12-cv-
19             00930-LAB (S.D. Cal.)                Plaintiff
20             Sandoval's Response to RFPs, Set
      57 (*)
               Two (March 6, 2017)                  Plaintiff
21             Declaration of Sandoval (June 18,
22             2014), Dkt. 51-3, Sandoval v.
        58
               NIC, No. 12-cv-00930-LAB
23             (S.D. Cal.)                          Plaintiff
24             Dronkers POP (Mar. 19, 2012)
        62     [DRONKERS000001], Dronkers
25
               v. KMF, No. 12-cv-1151-JAH           Plaintiff
26    63 (*)   Dronkers Privilege Log               Plaintiff
               Fee Agreement (Mar. 23, 2012)
27
      64 (*)   [NTG000189], Dronkers v. KMF,
28             No. 12-cv-1151-JAH                   Plaintiff
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                               4
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 6 of 224 Page ID
                                      #:84383



1      Exh.
       No.     Description                        Offered By:    Objection(s):   Admitted:
2              Demand Letter to KMF (Mar. 26,
3       65     2012) (KMF-000001], Dronkers
               v. KMF, No. 12-cv-1151-JAH         Plaintiff
4              Settlement Offer Letter from
5              K&P (Oct. 7, 2013) [KMF-
      66 (*)
               00003], Dronkers v. KMF, No.
6              12-cv-1151-JAH                     Plaintiff
7              Class Action Complaint [Dkt. 1],
        67     Dronkers v. KMF, No. 12-cv-
8              1151-JAH                           Plaintiff
9              Dronkers Response to ROGs, Set
        68
               One (Aug. 16, 2016)                Plaintiff
10
               Dronkers' Responses to RFPs, Set
      69 (*)
11             One (Aug. 16, 2016)                Plaintiff
               Schoonover's Supplemental
12
      70 (*)   Responses to ROGs, First Set
13             (April 28, 2017)                   Plaintiff
14
               Schoonover's Supplemental
      71 (*)   Responses to RFPs, First Set
15             (April 28, 2017)                   Plaintiff
16             Schoonover's Supplemental
      72 (*)   Response to ROGs, First Set
17             (May 26, 2017)                     Plaintiff
18             Schoonover's Supplemental
      73 (*)   Response to RFPs, First Set (May
19             26, 2017)                          Plaintiff
20    74 (*)   Schoonover's Privilege Log         Plaintiff
               Complaint (Jan. 30, 2012), Dkt.
21
        76     1, Schoonover v. Vogue, No.
22             8:12-cv-00859-JLS (C.D. Cal.)      Plaintiff
               Nilon's Response to ROGs, First
23    78 (*)
               Set (July 25, 2016)                Plaintiff
24             Declaration of Andrew Nilon
      79 (*)
               (May 30, 2017), Dkt. 328-1         Plaintiff
25
               December 27, 2011 Demand
26             Letter, Dkt. 1-1, Nilon v. NIC,
        80
27             No. 3:12-cv-00930-LAB (S.D.
               Cal.)                              Plaintiff
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
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     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 7 of 224 Page ID
                                      #:84384



1      Exh.
       No.     Description                          Offered By:   Objection(s):   Admitted:
2              Class Action Complaint (March
3              5, 2012), Dkt. 1-1, Nilon v. NIC,
        81
               No. 3:12-cv-00930-LAB (S.D.
4              Cal.)                                Plaintiff
5              Notice of Deposition of Andrew
               Nilon (Apr. 18, 2013), Dkt. 49,
6     82 (*)
               Nilon v. NIC, No. 3:12-cv-
7              00930-LAB (S.D. Cal.)                Plaintiff
               Second Amended Notice of
8              Deposition of Andrew Nilon
9     83 (*)   (Apr. 29, 2014), Dkt. 49, Nilon v.
               NIC, No. 3:12-cv-00930-LAB
10             (S.D. Cal.)                          Plaintiff
11             May 22, 2013 Email re Nilon's
               unavailability for Depo, Dkt. 49,
12    84 (*)
               Nilon v. NIC, No. 3:12-cv-
13             00930-LAB (S.D. Cal.)                Plaintiff
               Nilon phone call to
14
               Chromadex/BluScience (Feb. 26,
15             2013) [201302261.wav], Nilon v.
        85
16
               Chromadex, No. 56-2013-
               00436790-CU-MT-VTA
17             (Ventura Cnty. 2012)                 Plaintiff
18             March 21, 2013 Demand Letter to
               ChromaDex, Inc.
19             [CHROMADEX00178], Nilon v.
      86 (*)
20             Chromadex, No. 56-2013-
               00436790-CU-MT-VTA
21             (Ventura Cnty. 2012)                 Plaintiff
22             NTG Fee Agreement with Nilon
               (March 5, 2013) [NTG000199],
23      87     Nilon v. Chromadex, No. 56-
24             2013-00436790-CU-MT-VTA
               (Ventura Cnty. 2012)                 Plaintiff
25
               Class Action Complaint (May 22,
26             2013), Nilon v. Chromadex, No.
        88
               56-2013-00436790-CU-MT-VTA
27
               (Ventura Cnty. 2012)                 Plaintiff
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                               6
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 8 of 224 Page ID
                                      #:84385



1      Exh.
       No.     Description                         Offered By:    Objection(s):   Admitted:
2              Chromadex-Nilon Settlement
3              Agreement (Aug. 6, 2013)
               [CHROMADEX00093], Nilon v.
4       89
               Chromadex, No. 56-2013-
5              00436790-CU-MT-VTA
               (Ventura Cnty. 2012)                Plaintiff
6              Declaration of Victoria Knowles
7              ISO Req for Dismissal (May 23,
        90     2013), Nilon v. Chromadex, No.
8              56-2013-00436790-CU-MT-VTA
9              (Ventura Cnty. 2012)                Plaintiff
               9-15-2016 NTG's Supplemental
10    91 (*)   Response to ROG Nos. 1 and 2,
11             Set One (Sep. 15, 2016)             Plaintiff
               Declaration of Ryan Ferrell ISO
12
               Mtn to Withdraw (Aug. 15,
13    92 (*)   2014), Dkt. 61-2, Nilon v. NIC,
               No. 3:12-cv-00930-LAB (S.D.
14
               Cal.)                               Plaintiff
15    93 (*)   Nilon's Privilege Log               Plaintiff
16
               Declaration of Raquel Torres
               (Jan. 23, 2013), Dkt. 17-11,
17    95 (*)
               Torres v. Nutrisystem, No. 12-cv-
18             01854 (S.D. Cal.)                   Plaintiff
               Class Action Complaint (Sep. 18,
19             2019), Dkt. 1, Torres v.
        96
20             Nutrisystem, No. 12-cv-01854
               (S.D. Cal.)                         Plaintiff
21             Torres Retainer Agreement
22             (August 28, 2012), Torres v.
        97
               Nutrisystem, No. 12-cv-01854
23             (S.D. Cal.)                         Plaintiff
24             Nutrisystem Settlement
               Agreement (June 20, 2013)
25
        98     [NUTRI-0000001], Torres v.
26             Nutrisystem, No. 12-cv-01854
               (S.D. Cal.)                         Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
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     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 9 of 224 Page ID
                                      #:84386



1      Exh.
       No.    Description                           Offered By:   Objection(s):   Admitted:
2             Class Action Complaint, Perea v.
        100
3             Humana Pharmacy, No. 12-cv-
        (*)
              01881-JST (C.D. Cal.), Dkt. 1         Plaintiff
4             AT&T Excerpted Phone Records
5             (909-380-4635), Torres v.
       101
              Nutrisystem, No. 12-cv-01854
6             (S.D. Cal.)                           Plaintiff
7             Declaration of Richard
        103   Richardson (March 18, 2013),
8       (*)   Dkt. 27-3, Torres v. Nutrisystem,
9             No. 12-cv-01854 (S.D. Cal.)           Plaintiff
              Declarations of Defendants S.
10
        139   Ferrell, R. Ferrell, Knowles, Reid,
11      (*)   Baslow, Hardin, Nilon, and
              Sandoval [Dkt. 41]                    Plaintiff
12
              December 27, 2011 Demand
13      140   Letter, Dkt. 1-1, Nilon v. NIC,
        (*)   No. 3:12-cv-00930-LAB (S.D.
14
              Cal.)                                 Plaintiff
15            Nilon Fee Agreement (March 2,
        141
16
              2012), Nilon v. NIC, No. 3:12-
        (*)
              cv-00930-LAB (S.D. Cal.)              Plaintiff
17            Demand Letter to Nature's Way
18            Products, Inc. (Jan. 2, 2012)
        144
              [NATURE'SWAY_000238],
19      (*)
              Pfleg v. Nature's Way, No. 3:12-
20            cv-01018-LAB (S.D. Cal.)              Plaintiff
              Declaration of Nilon (March 7,
21            2017), Dkt. 375-3, Nilon v.
        147
22            Chromadex, No. 56-2013-
        (*)
              00436790-CU-MT-VTA
23            (Ventura Cnty. 2012)                  Plaintiff
24            Declaration of Schoonover
        149   (March 7, 2017), Dkt. 375-4,
25
        (*)   Schoonover v. Himalaya, No.
26            3:12-cv-01782-JLS (S.D. Cal.)         Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
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     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 10 of 224 Page ID
                                       #:84387



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              Transcript of the Deposition of
3       151    Baslow (Feb. 7, 2013), Torres v.
        (*)    Nutrisystem, No. 12-cv-01854
4              (S.D. Cal.)                         Plaintiff
5               1-8-14 Email DR & Weiss re
        152    corporate formation,
6              CONTINUITY_000001                   Plaintiff
7              Recording of Andrew Baslow
               phone call to Himalaya Himalaya
8       159    (.wav), Schoonover v. Himalaya,
9              No. 3:12-cv-01782-JLS (S.D.
               Cal.)                               Plaintiff
10
               Audio Recording (Baslow)
11             [NTG000353.wav], Torres v.
        163
               Nutrisystem, No. 12-cv-01854
12
               (S.D. Cal.)                         Plaintiff
13      194    Thomas Blackburn Expert Report      Plaintiff
        195    David Queen Expert, Second
14
        (*)    Amended Notice of Deposition        Plaintiff
15      196    David Queen Expert Report           Plaintiff
16      197    David Queen Expert, CA Private
        (*)    Investigators Book                  Plaintiff
17             David Queen Expert, Dkt. 31-2
        198
18             (Barnett v. So Cal Edison) Expert
        (*)
               Report                              Plaintiff
19             David Queen Expert, Dkt. 579
        199
20             USA v. Ermoian, Transcript of
        (*)
               Proceedings                         Plaintiff
21
        200    David Queen Expert, Dkt. 365
22      (*)    Order Denying Sanctions             Plaintiff
        201    David Queen Expert, Wests
23
        (*)    Ann.Cal.Ins.Code Section 791.02     Plaintiff
24      202    David Queen Expert, West's
        (*)    Ann.Cal.Ins.Code Section 791.03     Plaintiff
25
               David Queen Expert, West's
26
        203
               Ann.Cal.Bus. & Prof.Code
        (*)
27             SEction 7561.4                      Plaintiff
        204    David Queen Expert, Dkt. 320-1
28      (*)    Declaration of Peter Arhangelsky    Plaintiff
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                               9
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 11 of 224 Page ID
                                       #:84388



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2       205    David Queen Expert, Dkt. 320-2
3       (*)    Declaration of Ben Quinto          Plaintiff
        206    David Queen Expert, Declaration
4       (*)    of Clark Baker                     Plaintiff
5       207    David Queen Expert, Dkt. 94-2
        (*)    Declaration of Peter Arhangelsky   Plaintiff
6       208    David Queen Expert, Electric
7       (*)    Family Scam post                   Plaintiff
               David Queen Expert, West's
8       209
               Ann.Cal.Penal Code Section
        (*)
9              528.5                              Plaintiff
        210    David Queen Expert, Dkt. 320-11
10
        (*)    8 OSMJ Invoice                     Plaintiff
11      211    David Queen Expert, OMSJ
        (*)    Invoice                            Plaintiff
12
        212    David Queen Expert, OMSJ
13      (*)    Client Agreement                   Plaintiff
14      213    Grant Stiefel, Notice of
        (*)    Deposition Subpoena                Plaintiff
15             Grant Stiefel,8-24-2017 Email
        214
16             from JFernandes to OC producing
        (*)
               Stiefel documents                  Plaintiff
17      215    Grant Stiefel Expert Privilege
18      (*)    Log                                Plaintiff
        216    Grant Stiefel, Expert Agreement
19      (*)    Addendum                           Plaintiff
20      217
        (*)    Grant Stiefel, ORC Receipt         Plaintiff
21
        218    Grant Stiefel Report, July 2017    Plaintiff
22      219    Grant Stiefel Bio                  Plaintiff
23
        220    Grant Stiefel Report, Aug 2017     Plaintiff
               NIC RA-QA Documents re Lot
24             No. CC091S [NIC_0001098],
        223
25             Dkt. 291-11, Nilon v. NIC, No.
               3:12-cv-00930-LAB (S.D. Cal.)      Plaintiff
26             Order Confirmation Sprouts Store
27             202 [NIC_0001107], Dkt. 291-
        224
               12, Nilon v. NIC, No. 3:12-cv-
28             00930-LAB (S.D. Cal.)              Plaintiff
                                JOINT L.R. 16-6.1 EXHIBIT LIST
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     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 12 of 224 Page ID
                                       #:84389



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              Invoice Sprouts [NIC_0001103],
3       225    Dkt. 291-13, Nilon v. NIC, No.
               3:12-cv-00930-LAB (S.D. Cal.)       Plaintiff
4              Packing Slip Sprouts
5              [NIC_0001105], Dkt. 291-14,
        226
               Nilon v. NIC, No. 3:12-cv-
6              00930-LAB (S.D. Cal.)               Plaintiff
7              NIC RA-QA Documents
               [NIC_0003020], Nilon v. NIC,
8       237
               No. 3:12-cv-00930-LAB (S.D.
9              Cal.)                               Plaintiff
        239    Declaration of Ben Quinto (May
10
        (*)    22, 2017), Dkt. 320-2               Plaintiff
11      248    Glenn Bard Expert, Amended
        (*)    Notice of Deposition                Plaintiff
12
               Glenn Bard Expert, Case Info
        249
13             powerpoint on services provided,
        (*)
               McIntyre report                     Plaintiff
14
        250    Glenn Bard Expert, List of Trials
15      (*)    Testified as an Expert              Plaintiff
16      251    Glenn Bard Expert, Blackburn
        (*)    Report                              Plaintiff
17      252
18      (*)    Glenn Bard Expert Report            Plaintiff
               Glenn Bard Expert, AT&T
19      253
               precision location Information
        (*)
20             sheet                               Plaintiff
        279    7-1-2015 Email SF & All update
21
        (*)    re EverSilk, [NTG063459],           Plaintiff
22             5-26-2015 Email SF & All have
               we decided on name male
23      280
               enhancement prod,
24             [NTG063429],                        Plaintiff
        281    Maryellen Sebold Expert, A
25
        (*)    Acknowledgement & Agreement         Plaintiff
26      282    Maryellen Sebold Expert, Bio        Plaintiff
27      283    Maryellen Sebold Expert,
        (*)    Subpoena to Testify                 Plaintiff
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              11
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 13 of 224 Page ID
                                       #:84390



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2       284    Maryellen Sebold Expert, BDO
3       (*)    AGreement                          Plaintiff
        285    Maryellen Sebold Expert, 6-12-
4       (*)    2017 BDO Invoice                   Plaintiff
5       286    Maryellen Sebold Expert, 7-12-
        (*)    2017 BDO Invoice                   Plaintiff
6       287    Maryellen Sebold Expert, 8-8-
7       (*)    2017 BDO Invoice                   Plaintiff
        288    Maryellen Sebold Expert, 9-18-
8       (*)    2017 BDO Invoice                   Plaintiff
9              Maryellen Sebold Expert, July
        289
               17, 2017                           Plaintiff
10
               Maryellen Sebold Expert, Aug
        290
11             29, 2017                           Plaintiff
12
        291    Maryellen Sebold Expert, Net-
        (*)    Worth Calculation Worksheet        Plaintiff
13      292    Maryellen Sebold Expert,
14      (*)    Document inventory                 Plaintiff
               Maryellen Sebold Expert, Exh. A
15      293
               (Schedules 1-5)                    Plaintiff
16             Maryellen Sebold Expert, 7-12-
        294
               2017 Email J Furman & Sebold
17      (*)
               with Request for Production        Plaintiff
18      295    Maryellen Sebold Expert, Exh. 11   Plaintiff
               Maryellen Sebold Expert, 8-17-
19      296
               2017 Letter from Emord to
        (*)
20             Sperber re NTG Prod of Financial   Plaintiff
               Maryellen Sebold Expert, 8-22-
21      297
               2017 Email Sperber & P
        (*)
22             Arhangelsky responding to letter   Plaintiff
        298    Maryellen Sebold Expert, Exh. 8    Plaintiff
23
        299    Maryellen Sebold Expert, Exh. 18   Plaintiff
24      300    Maryellen Sebold Expert,
25      (*)    Sebold_001124                      Plaintiff
        301    Maryellen Sebold Expert,
26      (*)    Sebold_001051                      Plaintiff
27      302    Maryellen Sebold Expert,
        (*)    Sebold_001055                      Plaintiff
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             12
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 14 of 224 Page ID
                                       #:84391



1       Exh.
        No.    Description                          Offered By:    Objection(s):   Admitted:
2       303    Maryellen Sebold Expert,
3       (*)    NTG062713                            Plaintiff
        312     Andrew Saxon Expert, Third
4       (*)    Amended Notice of Deposition         Plaintiff
5       313    Andrew Saxon Expert Report           Plaintiff
               Andrew Saxon Expert Report,
6       314    Nilon v. NIC, No. 3:12-cv-
7              00930-LAB (S.D. Cal.)                Plaintiff
               Andrew Saxon Expert, Dkt. 34
8       315    First Amended Complaint, Nilon
9       (*)    v. NIC, No. 3:12-cv-00930-LAB
               (S.D. Cal.)                          Plaintiff
10
        317    Andrew Saxon Expert, cites to
11      (*)    Deposition of Ben Quinto             Plaintiff
               Andrew Saxon Expert, Solloidal
12      318
               Silver Article US Dept of Health
        (*)
13             & Human Services                     Plaintiff
14
               Andrew Saxon Expert, My dad
        319
               takes colloidal silver from Mayo
15      (*)
               Clinic                               Plaintiff
16      321    Andrew Saxon Expert, Immune
        (*)    & Silver search on PubMed            Plaintiff
17             Andrew Saxon Expert, Silver
        322
18             Nanoparticle-induced oxidative
        (*)
               stress, genotoxicity and apoptosis   Plaintiff
19      323    Andrew Saxon Expert, Patch
20      (*)    Testing Report Ovid Search           Plaintiff
               Andrew Saxon Expert, A rare
21      324
               case of allergic contact from
        (*)
22             silver nitrate case report           Plaintiff
               Andrew Saxon Expert, Silver
23
        325    nanoparticles rapidy induce
24      (*)    atypical human neutrophil cell
               death                                Plaintiff
25
        326    Andrew Saxon Expert, PubMed
26      (*)    search results                       Plaintiff
27             Andrew Saxon Expert, A Re-
        327
               assessment of the safety of silver
28      (*)
               in household water treatment         Plaintiff
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               13
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 15 of 224 Page ID
                                       #:84392



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              Andrew Saxon Expert,
3       328    Antibacterial effect of silver
        (*)    nanoparticles in Pseudomonas
4              aeruginosa                          Plaintiff
5       329    Andrew Saxon Expert, Patent US
        (*)    7,001,617 B2                        Plaintiff
6       330    Andrew Saxon Expert, Silver in
7       (*)    Health Care                         Plaintiff
               Andrew Saxon Expert, Silver
8       331
               nanoparticles do not influence
        (*)
9              stem cell differentiation           Plaintiff
               Andrew Saxon Expert,
10      332
               Comparative proteomics of
        (*)
11             inhaled silver nanoparticles        Plaintiff
               Andrew Saxon Expert, Systemic
12
        333    & immunotoxicity of silver
13      (*)    nanoparticles in intravenous 28
               days                                Plaintiff
14
               Andrew Saxon Expert,
15      334    Evaluation of cytotoxicity,
16      (*)    immune compatibility &
               antibacterial activity              Plaintiff
17             Andrew Saxon Expert, Silver
        335
18             nanoparticles reduce brain
        (*)
               inflammation                        Plaintiff
19             Andrew Saxon Expert, Mixed
        336
20             metal oxide nanoparticles inhibit
        (*)
               growth of TB                        Plaintiff
21             Andrew Saxon Expert, Presence
        337
22             of an Immune System Increases
        (*)
               Anti-Tumor effect                   Plaintiff
23
               Andrew Saxon Expert, Broad-
        338
24             spectrum bioactivities of silver
        (*)
               nanoparticles                       Plaintiff
25
               Andrew Saxon Expert, Effect of
        339
26             the size and shape of Silver
        (*)
               Nanoparticles                       Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              14
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 16 of 224 Page ID
                                       #:84393



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              Andrew Saxon Expert, The role
        340
3              of Kupffer cells in the hepatic
        (*)
               response to silver nano             Plaintiff
4              Andrew Saxon Expert, Silver
        341
5              nanoparticles-The real silver
        (*)
               bullet in clinical medicine         Plaintiff
6              Andrew Saxon Expert, Silver
        342
7              Nanoparticle Studded Porous
        (*)
               Polyethylene Scaffolds              Plaintiff
8              Andrew Saxon Expert, The
        343
9              Bactericidal Effect of Silver
        (*)
               Nanoparticles                       Plaintiff
10
        344    Sean Devlin Expert Report           Plaintiff
11      345    Sean Devlin Expert, Colloids &
        (*)    Surfaces B Article                  Plaintiff
12
               Sean Devlin Expert, Effects of
        346
13             Silver Wound Management
        (*)
14
               Article                             Plaintiff
               Sean Devlin Expert, Stimulating
15      347
               Effects of Merucric & Silver
        (*)
16             Article                             Plaintiff
               Sean Devlin Expert, Differential
17      348
               Effect of Common Ligands
        (*)
18             Article                             Plaintiff
        349    Sean Devlin Expert, Induction of
19      (*)    Apoptosis in Cancer Cells Article   Plaintiff
20      350    Sean Devlin Expert, Silver
        (*)    nanoparticles Article               Plaintiff
21
               Sean Devlin Expert, Argentyn 23
        351
22             Offers New Sovereign Silver
        (*)
               product website                     Plaintiff
23
        352    Sean Devlin Expert, Defendant's
24      (*)    Supplemental Expert Designation     Plaintiff
25
        353    Sean Devlin Expert, 7-28-17
        (*)    Email Seth Quinto to Devlin         Plaintiff
26      354    Sean Devlin Expert, Second
27      (*)    Amended Notice of Deposition        Plaintiff
        355    Sean Devlin Expert, 8-2017
28      (*)    Invoice                             Plaintiff
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              15
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 17 of 224 Page ID
                                       #:84394



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2       356    Sean Devlin Expert, Townsend
3       (*)    Letter Article                      Plaintiff
        357    Sean Devlin Expert, Townsend
4       (*)    Letter 2016                         Plaintiff
5       358
        (*)    Sean Devlin Expert, Rate Sheet      Plaintiff
6              Sean Devlin Expert, 3-10-15
        359
7              Email Ben Quinto to Devlin re
        (*)
               NIC                                 Plaintiff
8              Sean Devlin Expert, 8-2-2017
        360
9              Email B Kennedy & Devlin re
        (*)
               rebuttal report                     Plaintiff
10
               Sean Devlin Expert,Wisdom
        361
11             Works Integrated Solutions
        (*)
               Business Inc                        Plaintiff
12
        362    Daniel White Expert Report          Plaintiff
13             Daniel White Expert, Binder
        363
14
               documents with handwritten
        (*)
               notes                               Plaintiff
15      364    Daniel White Expert, Retainer
16      (*)    Agreement                           Plaintiff
        365    Daniel White Expert, 6-30-2017
17      (*)    Invoice                             Plaintiff
18      366    Daniel White Expert, 7-31-2017
        (*)    Invoice                             Plaintiff
19             Daniel White Expert, Daniel
20      367    White's Responses to Subpoena
               to Produce                          Plaintiff
21
               Daniel White Expert Rebuttal
        368
22             Report                              Plaintiff
        369    Daniel White Expert,List of Costs
23
        (*)    for Sandoval Depo                   Plaintiff
24      370    Daniel White Expert, 9-30-2017
25
        (*)    Invoice                             Plaintiff
        371    Daniel White Expert, 10-31-2017
26      (*)    Invoice to NTG                      Plaintiff
27      372
        (*) Ron Martinelli, Case History           Plaintiff
28      373 Ron Martinelli, Bio                    Plaintiff
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              16
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 18 of 224 Page ID
                                       #:84395



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2       374    Ron Martinelli, Certification for
3       (*)    Medical Investigator                Plaintiff
        375    Ron Martinelli, The Emperor of
4       (*)    junk science forensics has died     Plaintiff
5       376    Ron Martinelli, Articles of
        (*)    INcorporation                       Plaintiff
6              Ron Martinelli, Expert Report,
        377
7              Aug 4, 2017                         Plaintiff
        378    Ron Martinelli, 8-14-2017
8       (*)    Invoice                             Plaintiff
9       379    Ron Martinelli, Notice of
        (*)    Subpoena to Produce Documents       Plaintiff
10
        380    Ron Martinelli, 10-18-2017
11      (*)    Invoice                             Plaintiff
12
        381    Ron Martinelli, Third Amended
        (*)    Notice of Deposition                Plaintiff
13      382    Ron Martinelli, copy of retention
14      (*)    check                               Plaintiff
        383    Ron Martinelli, EFam Website,
15      (*)    Martinelli_000369                   Plaintiff
16      384    Ron Martinelli, Schedule of Fees
        (*)    2018                                Plaintiff
17      385    Ron Martinelli, Schedule of Fees
18      (*)    2017                                Plaintiff
               Ron Martinelli, Contract for
19      386
               Expert Witness Consulting
        (*)
20             Services                            Plaintiff
        387    Ron Martinelli, Testimonial
21
        (*)    History                             Plaintiff
22      388
        (*)    Ron Martinelli, Biography           Plaintiff
23
        389    Ron Martinelli, OMSJ Services
24      (*)    Agmt, Martinelli_001417             Plaintiff
25      390    Ron Martinelli, B&P Code
        (*)    7561.4                              Plaintiff
26      391    Ron Martinelli, B&P Code
27      (*)    7561.4                              Plaintiff
        392    Ron Martinelli, B&P Code 7561
28      (*)    et seq                              Plaintiff
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              17
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 19 of 224 Page ID
                                       #:84396



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2       393 Ron Martinelli, California's False
3       (*) Ipersonal Laws Penal Code 529        Plaintiff
            Ron Martinelli, How to Stop
4       394
            Criminal Internet Harrassment
        (*)
5           and Bullying                         Plaintiff
        395 Ron Martinelli, What Counts as
6       (*) Defamation                           Plaintiff
7       396 Ron Martinelli, Taylor Demulder
        (*) LinkedIn Search                      Plaintiff
8       397 Ron Martinelli, Steve Brudzewski
9       (*) LinkedIn Search                      Plaintiff
        398 Ron Martinelli, Drew Nilon
10
        (*) LinkedIn Search                      Plaintiff
11      399 Ron Martinelli, Sam Pfleg
        (*) LinkedIn Search                      Plaintiff
12
        400 Ron Martinelli, Electric Family
13      (*) Builds Bridges                       Plaintiff
14      401 Depo Tr. of D. Queen, Aug. 24,
        (*) 2017                                 Plaintiff
15      402
16      (*) Ed McIntyre Expert Report            Plaintiff
        403 Ed McIntyre Expert, Third
17      (*) Amended Notice of Deposition         Plaintiff
18      404 Ed McIntyre Expert, Fee
        (*) Agreement                            Plaintiff
19
            Ed McIntyre Expert, 7-26-17
        405
20          Email from B Kennedy re retainer
        (*)
            of services                          Plaintiff
21
        406
22      (*) Ed McIntyre Expert, Invoice          Plaintiff
            9-29-2015 Email Bentley & SF
23      412
            update test on Promaxal testing
        (*)
24          stations, [NTG063495],               Plaintiff
25      413 Product totals, [NTG065457],         Plaintiff
            Invoice for promaxal mock ups,
26      414
            [NTG065930],                         Plaintiff
27          8-7-2015 Email Bentley & SF
        415
            commercial update,
28      (*)
            [NTG063493],                         Plaintiff
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            18
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 20 of 224 Page ID
                                       #:84397



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              Declaration of Wayne Crossman
3              (March 8, 2013), Dkt. 20-1,
        419
               Torres v. Nutrisystem, No. 12-cv-
4              01854 (S.D. Cal.)                   Plaintiff
5              NICE procedures [NUTRI-
        420
               0000336], Torres v. Nutrisystem,
6       (*)
               No. 12-cv-01854 (S.D. Cal.)         Plaintiff
7              USA Main Tree [NUTRI-
        421
               0000010], Torres v. Nutrisystem,
8       (*)
               No. 12-cv-01854 (S.D. Cal.)         Plaintiff
9              USA Sales Tree [NUTRI-
        422
               0000011], Torres v. Nutrisystem,
10      (*)
               No. 12-cv-01854 (S.D. Cal.)         Plaintiff
11             Internal Flow System [NUTRI-
        423
               0000695], Torres v. Nutrisystem,
12      (*)
               No. 12-cv-01854 (S.D. Cal.)         Plaintiff
13             Nutrasystem Training Document
        424    [NTG002579], Torres v.
14
        (*)    Nutrisystem, No. 12-cv-01854
15             (S.D. Cal.)                         Plaintiff
16             Customer Admin report (for Aug.
        426    24, 2012) [NTG002591], Torres
17      (*)    v. Nutrisystem, No. 12-cv-01854
18             (S.D. Cal.)                         Plaintiff
               Customer Admin Report (Sep.
19      427    27, 2012) [NUTRI-0000339],
20      (*)    Torres v. Nutrisystem, No. 12-cv-
               01854 (S.D. Cal.)                   Plaintiff
21             Incoming Call Log [NUTRI-
        428
22             0000339], Torres v. Nutrisystem,
        (*)
               No. 12-cv-01854 (S.D. Cal.)         Plaintiff
23
               Customer Admin Richardson
24      429    [NUTRI-0000478], Torres v.
        (*)    Nutrisystem, No. 12-cv-01854
25
               (S.D. Cal.)                         Plaintiff
26             Customer Admin Richardson
        430    [NUTRI-0000470, Torres v.
27
        (*)    Nutrisystem, No. 12-cv-01854
28             (S.D. Cal.)                         Plaintiff
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              19
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 21 of 224 Page ID
                                       #:84398



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           Settlement Agreement [NUTRI-
        431
3           0000486], Torres v. Nutrisystem,
        (*)
            No. 12-cv-01854 (S.D. Cal.)          Plaintiff
4           October 23, 2012 Email from
5           Seiling re Settlement Offer
        432
            [NUTRI-0000211], Torres v.
6       (*)
            Nutrisystem, No. 12-cv-01854
7           (S.D. Cal.)                          Plaintiff
            October 19, 2012 Letter from
8           Seiling responding to demand
9       433 [NUTRI-0000193], Torres v.
            Nutrisystem, No. 12-cv-01854
10          (S.D. Cal.)                          Plaintiff
11          Aug. 17, 2016 Email from Price
        436 to Furman, Demulder v. Carter-
12
        (*) Reed, No. 3:12-cv-02232-BTM
13          (S.D. Cal.)                          Plaintiff
            Declaration of Ron Price ISO
14
        439 Remand (Apr. 15, 2016), Dkt. 46-
15      (*) 2, Demulder v. Carter-Reed, No.
16
            3:12-cv-02232-BTM (S.D. Cal.)        Plaintiff
            Class Action Complaint, Dkt. 1
17      440 (Sep. 13, 2012), Demulder v.
18      (*) Carter-Reed, No. 3:12-cv-02232-
            BTM (S.D. Cal.)                      Plaintiff
19          Declaration of Ellie Meyers (Nov.
20      441 6, 2012), Dkt. 7, Demulder v.
        (*) Carter-Reed, No. 3:12-cv-02232-
21          BTM (S.D. Cal.)                      Plaintiff
22          Declaration of Rick Bassett (Nov.
        442 6, 2012), Dkt. 9, Demulder v.
23      (*) Carter-Reed, No. 3:12-cv-02232-
24          BTM (S.D. Cal.)                      Plaintiff
            Complaint (Oct. 4, 2013), Dkt. 2-
25      443
            5, Carter-Reed v. Demulder, No.
        (*)
26          2:16-cv-00057-DB (D.Utah)            Plaintiff
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            20
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 22 of 224 Page ID
                                       #:84399



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              Suppl Decl of Jason Kerr (Apr.
3       444    15, 2016), Dkt. 46-1, Carter-Reed
        (*)    v. Demulder, No. 2:16-cv-00057-
4              DB (D.Utah)                         Plaintiff
5              Sep. 6, 2012 Email from
               Demulder to Baslow re Relacore
6       446
               [NTG006875], Demulder v.
        (⁎)
7              Carter-Reed, No. 3:12-cv-02232-
               BTM (S.D. Cal.)                     Plaintiff
8              Sep. 6, 2012 Demulder Phone call
9       447    audio (.wav), Demulder v. Carter-
        (*)    Reed, No. 3:12-cv-02232-BTM
10             (S.D. Cal.)                         Plaintiff
11             Sep. 6, 2012 Email from
               Demulder to Baslow re new
12
        448    Relacore case [NTG000239],
13             Demulder v. Carter-Reed, No.
               3:12-cv-02232-BTM (S.D. Cal.)       Plaintiff
14
               Sep. 12, 2012 Email from
15             Demulder to Baslow re retainer
        449
               [NTG000242], Demulder v.
16      (*)
               Carter-Reed, No. 3:12-cv-02232-
17             BTM (S.D. Cal.)                     Plaintiff
18             Sep. 6, 2012 Email from S.
               Ferrell to Baslow re engagement
19      450
               letter and K&P [NTG006669],
        (*)
20             Demulder v. Carter-Reed, No.
               3:12-cv-02232-BTM (S.D. Cal.)       Plaintiff
21             Declaration of Demulder ISO
22      451    MSJ (July 14, 2017), Dkt. 387-1,
        (*)    Demulder v. Carter-Reed, No.
23             3:12-cv-02232-BTM (S.D. Cal.)       Plaintiff
24             Declaration of Taylor Demulder,
        452    Dkt. 375-2 (July 10, 2017),
25
        (*)    Demulder v. Carter-Reed, No.
26             3:12-cv-02232-BTM (S.D. Cal.)       Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              21
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 23 of 224 Page ID
                                       #:84400



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           Transcript of the Deposition of
3       453 Taylor Demulder (May 12, 2017),
        (*) Demulder v. Carter-Reed, No.
4           3:12-cv-02232-BTM (S.D. Cal.)        Plaintiff
5           Audio Recording in .wav format
            [CRM000001], Demulder v.
6       454
            Carter-Reed, No. 3:12-cv-02232-
7           BTM (S.D. Cal.)                      Plaintiff
            First Amended Class Action
8           Complaint, Dkt. 38 (July 2,
        456
9           2010), Morales v. Magna, No.
            3:10-cv-01601-EDL (N.D. Cal.)        Plaintiff
10
            Bobba POP, 06.28.10,
11          NTG01163, Morales v. Magna,
        457
            No. 3:10-cv-01601-EDL (N.D.
12
            Cal.)                                Plaintiff
13          Bobba-NTG Fee Agreement,
            NTG000194, Morales v. Magna,
14      458
            No. 3:10-cv-01601-EDL (N.D.
15          Cal.)                                Plaintiff
16
            Bobba's Online Post on
            Donkdown.com, Dkt. 61-1,
17      459
            Morales v. Magna, No. 3:10-cv-
18          01601-EDL (N.D. Cal.)                Plaintiff
            Decl. of Dan Bobba ISO NTG's
19          Opp to Magna's Mtn for
20      460 Sanctions, Dkt. 63-6, Morales v.
            Magna, No. 3:10-cv-01601-EDL
21          (N.D. Cal.)                          Plaintiff
22          January 31, 2012 Email from
        462 Wise re client names/POPs
23      (*) [NTG022179], Nilon v. NIC, No.
24          3:12-cv-00930-LAB (S.D. Cal.)        Plaintiff
            June 15, 2015 Email from Jung re
25      464
            weekly Charts [NTG066637]            Plaintiff
26
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            22
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 24 of 224 Page ID
                                       #:84401



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              Feb. 27, 2013 Emails between S.
3              Ferrell and Baslow re class
               representative [NTG041912],
4       468
               Nilon v. Chromadex, No. 56-
5              2013-00436790-CU-MT-VTA
               (Ventura Cnty. 2012)                Plaintiff
6              Sep. 3, 2012 Email from Baslow
7              re Torres wiretap matter
        472    [NTG015308], Torres v.
8              Nutrisystem, No. 12-cv-01854
9              (S.D. Cal.)                         Plaintiff
               March 15, 2013 Emails between
10             S. Ferrell and Knowles re
11             Richardson Declaration
        475
               [NTG004821], Torres v.
12
               Nutrisystem, No. 12-cv-01854
13             (S.D. Cal.)                         Plaintiff
               March 19, 2013 Email from
14
               Knowles re Reply Brief & Decl.
15      476    [NTG004897] , Torres v.
               Nutrisystem, No. 12-cv-01854
16
               (S.D. Cal.)                         Plaintiff
17             March 13, 2013 Email from S.
18
               Ferrell to Baslow re Nutrisystem
        477    Declaration [NTG004825],
19             Torres v. Nutrisystem, No. 12-cv-
20             01854 (S.D. Cal.)                   Plaintiff
               February 3, 2013 Emails between
21             Knowles and S. Ferrell re Topics
22             for Torres Depo prep
        478
               [NTG017134], Torres v.
23             Nutrisystem, No. 12-cv-01854
24             (S.D. Cal.)                         Plaintiff
               April 20, 2012 Email from
25             Baslow to S. Ferrell re Dronkers
        480
26             POP [NTG014106], Dronkers v.
               KMF, No. 12-cv-1151-JAH             Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              23
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 25 of 224 Page ID
                                       #:84402



1       Exh.
        No.    Description                            Offered By:   Objection(s):   Admitted:
2              December 25, 2011 Email from
3              S. Ferrell re demand letter to NIC
        481
               [NTG022162], Nilon v. NIC, No.
4              3:12-cv-00930-LAB (S.D. Cal.)          Plaintiff
5              March 15, 2012 Email from
               Knowles re Boericke & Tafel
6       484
               complaint [NTG005197], Nilon
        (*)
7              v. NIC, No. 3:12-cv-00930-LAB
               (S.D. Cal.)                            Plaintiff
8              6-2-2015 Email Knowles &
9       485    Kirshner Mail Enhancement
               Demands, [NTG069046],                  Plaintiff
10
               July 13, 2012 Emails between S.
11             Ferrell, Wise, Para, et al. re
        486
               Natura's Way settlement
12      (⁎)
               [NTG005780], Nilon v. NIC, No.
13             3:12-cv-00930-LAB (S.D. Cal.)          Plaintiff
               5-27-2015 Email SF & Knowles
14
               lets Targets 11 & 12 male
        488
15             enhancement demands,
16
               [NTG069938],                           Plaintiff
               8-3-2015 Email Knowles & SF
17      490    Answer & CC for TruDerma,
18      (*)    [NTG069144], Strataluz v.
               Truderma                               Plaintiff
19      491    Complaint, [NTG069148],
20      (*)    Strataluz v. Truderma                  Plaintiff
               8-17-2015 Email SF & Silverman
21             settlement agreement,
        492
22             [NTG070398], Strataluz v.
               Twinlab                                Plaintiff
23             Sep. 12, 2012 Email from W
24             Ferrell to S. Ferrell re client info
        494
               [NTG006703], Demulder v.
25      (*)
               Carter-Reed, No. 3:12-cv-02232-
26             BTM (S.D. Cal.)                        Plaintiff
27
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                                24
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 26 of 224 Page ID
                                       #:84403



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           Sep. 17, 2012 Email from Wise to
3           W. Ferrell re Contact information
        495
            [NTG006708], Demulder v.
4       (*)
            Carter-Reed, No. 3:12-cv-02232-
5           BTM (S.D. Cal.)                      Plaintiff
            August 27, 2012 Emails between
6           S. Ferrell and W. Ferrell re
7       496 wiretap matters [NTG015268],
            Torres v. Nutrisystem, No. 12-cv-
8           01854 (S.D. Cal.)                    Plaintiff
9           June 19, 2013 Emails between
            Torres and Baslow re settlement
10      497
            agreement [NTG000132], Torres
        (*)
11          v. Nutrisystem, No. 12-cv-01854
            (S.D. Cal.)                          Plaintiff
12
            Decl. of Wynn Ferrell ISO NTG's
13          Opp to Magna's Mtn for
        498 Sanctions, Dkt. 63-5 (Morales v.
14
            Magna, No. 3:10-cv-01601-EDL
15          (N.D. Cal.))                         Plaintiff
16
            Email between W Ferrell & S
            Ferrell on April 7, 2010
17      499 [NTG007983], Morales v.
18
            Magna, No. 3:10-cv-01601-EDL
            (N.D. Cal.)                          Plaintiff
19          January 27, 2012 Email to W.
20      500 Ferrell re potential plaintiff
        (*) [NTG022177], Nilon v. NIC, No.
21          3:12-cv-00930-LAB (S.D. Cal.)        Plaintiff
22          May 3, 2013 Emails between
            Baslow and S. Ferrell re case
23          processing rates [NTG041928],
        502
24          Nilon v. Chromadex, No. 56-
            2013-00436790-CU-MT-VTA
25          (Ventura Cnty. 2012)                 Plaintiff
26                                               Plaintiff
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            25
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 27 of 224 Page ID
                                       #:84404



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           July 16, 2012 Emails between
3           Baslow and S. Ferrell re wiretap
        505 audits [NTG005982], Schoonover
4           v. Himalaya, No. 3:12-cv-01782-
5           JLS (S.D. Cal.)                      Plaintiff
            July 17, 2012 Email from Baslow
6           re Himalaya Drug matter
7       507 [NTG005984], Schoonover v.
            Himalaya, No. 3:12-cv-01782-
8           JLS (S.D. Cal.)                      Plaintiff
9           Sep. 6, 2012 Email from
            Demulder to Baslow re New Case
10      508 – Relacore [NTG000239] ,
11          Demulder v. Carter-Reed, No.
            3:12-cv-02232-BTM (S.D. Cal.)        Plaintiff
12
            Sep. 6, 2012 Email from
13          Demulder to Baslow re Relcore
        509 confirmation [NTG000241],
14
            Demulder v. Carter-Reed, No.
15          3:12-cv-02232-BTM (S.D. Cal.)        Plaintiff
16
            Sep. 11, 2012 Emails between
            Baslow and Ferrell re client
17
        510
            interviews [NTG006696],
        (*)
18
            Demulder v. Carter-Reed, No.
            3:12-cv-02232-BTM (S.D. Cal.)        Plaintiff
19          March 14, 2012 Emails between
20          Baslow and S. Ferrell re Nature's
            Way class representative
21      511
            [NTG005129], Pfleg v. Nature's
22          Way, No. 3:12-cv-01018-LAB
            (S.D. Cal.)                          Plaintiff
23          March 14, 2012 Email from
24          Baslow re Pfleg POP
        512 [NTG005126], Pfleg v. Nature's
25          Way, No. 3:12-cv-01018-LAB
26          (S.D. Cal.)                          Plaintiff
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            26
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 28 of 224 Page ID
                                       #:84405



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           Declaration of Andrew Baslow
3           (June 27, 2016), Dkt. 140 ,
        513
            Sandoval v. NIC, No. 12-cv-
4           00930-LAB (S.D. Cal.)                Plaintiff
5           Aug. 11, 2012 Emails between
            Baslow and S. Ferrell re
6       514
            Schoonover phone call
7           [NTG006152]                          Plaintiff
        516 Transcript of the Deposition of
8       (*) Schoonover (Jan. 11, 2017)           Plaintiff
9       517 Transcript of the Deposition of
        (*) Schoonover (June 2, 2017)            Plaintiff
10
        518 Schoonover Suppl Response to
11      (*) ROGs, First Set (April 28, 2017)     Plaintiff
            Schoonover Text Messages,
12
            SCHOONOVER00066-74, 80,
        519
13          Schoonover v. Himalaya, No.
            3:12-cv-01782-JLS (S.D. Cal.)        Plaintiff
14
            Schoonover POP (March 14,
15          2012), [SCHOONOVER00023],
        520
16          Schoonover v. Vogue, No. 8:12-
            cv-00859-JLS (C.D. Cal.)             Plaintiff
17          Schoonover POP, (March. 15,
18          2012) [SCHOONOVER00025],
        521
            Schoonover v. Vogue, No. 8:12-
19          cv-00859-JLS (C.D. Cal.)             Plaintiff
20          Schoonover text messages
            exchanged with Baslow
21      522 [SCHOONOVER00082-92],
22          Schoonover v. Himalaya, No.
            3:12-cv-01782-JLS (S.D. Cal.)        Plaintiff
23
            July 17, 2012 Email from
24          Schoonover re Himalaya Drug
        523 Company [NTG006631],
25
            Schoonover v. Himalaya, No.
26          3:12-cv-01782-JLS (S.D. Cal.)        Plaintiff
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            27
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 29 of 224 Page ID
                                       #:84406



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              Class Action Complaint (July 19,
3              2012), Dkt. 1, Schoonover v.
        525
               Himalaya, No. 3:12-cv-01782-
4              JLS (S.D. Cal.)                     Plaintiff
5       527    Transcript of the Deposition of
        (*)    Nilon (June 7, 2017)                Plaintiff
6              Feb. 27, 2013 Email from Nilon
7              to Baslow re BluScience
               [NTG000248], Nilon v.
8       529
               Chromadex, No. 56-2013-
9              00436790-CU-MT-VTA
               (Ventura Cnty. 2012)                Plaintiff
10
               Supplemental Declarations of
11      530    Scott Ferrell and Sam
        (*)    Schoonover ISO Mtn to Strike
12
               (March 21, 2016), Dkt. 66           Plaintiff
13             May 7, 2014 Emails between
               Baslow and Nilon
14
        531    [NILON00051], Nilon v. NIC,
15             No. 3:12-cv-00930-LAB (S.D.
16
               Cal.)                               Plaintiff
               June 2014 emails between R.
17             Ferrell and Nilon [NILON00052],
        532
18             Nilon v. NIC, No. 3:12-cv-
               00930-LAB (S.D. Cal.)               Plaintiff
19             Declaration of Andrew Nilon
20             (June 23, 2014), Dkt. 51-2, Nilon
        533
               v. NIC, No. 3:12-cv-00930-LAB
21             (S.D. Cal.)                         Plaintiff
22      536    R. Ferrell's Response to ROGs,
        (*)    Set One (July 7, 2016)              Plaintiff
23             Declaration of Ryan Ferrell ISO
24      537    Term sanctions (Dec. 8, 2014),
        (*)    Dkt. 74-2, Nilon v. NIC, No.
25
               3:12-cv-00930-LAB (S.D. Cal.)       Plaintiff
26             6-3-2015 Email SF & RF re male
        538
               enhancement demands,
27      (*)
               [NTG070172]                         Plaintiff
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              28
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 30 of 224 Page ID
                                       #:84407



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              February 19, 2013 Email between
3              Baslow and R. Ferrell re Nilon
        539
               [NTG022826], Nilon v. NIC, No.
4              3:12-cv-00930-LAB (S.D. Cal.)        Plaintiff
5              August 6, 2014 Email from R.
               Ferrell to Negrete re Meet-and
6       540
               Confer [NTG020389], Nilon v.
        (*)
7              NIC, No. 3:12-cv-00930-LAB
               (S.D. Cal.)                          Plaintiff
8              May 6, 2014 Emails between R.
9              Ferrell and Baslow re Nilon
        541
               contacts [NTG025501], Nilon v.
10      (*)
               NIC, No. 3:12-cv-00930-LAB
11             (S.D. Cal.)                          Plaintiff
               Declaration of R Ferrell Opp to
12
               Mtn for Sanctions (July 17,
        545
13             2015), Dkt. 123-2, Nilon v. NIC,
        (*)
               No. 3:12-cv-00930-LAB (S.D.
14
               Cal.)                                Plaintiff
15             June 15, 2015 Emails between R.
16
               Ferrell and Hikida re Opp to Mtn
        546    for Sanctions [NTG041164],
17             Nilon v. NIC, No. 3:12-cv-
18
               00930-LAB (S.D. Cal.)                Plaintiff
               NTG's Response re Tentative
19      547
               Decision (May 15, 2015), Dkt.
        (*)
20             118,                                 Plaintiff
               Sandoval Retainer Agreement,
21      548    Signature Page [NTG000224],
22      (*)    Sandoval v. NIC, No. 12-cv-
               00930-LAB (S.D. Cal.)                Plaintiff
23             Declaration of Sandoval (June 18,
24      549    2014), Dkt. 51-3, Sandoval v.
        (*)    NIC, No. 12-cv-00930-LAB
25
               (S.D. Cal.)                          Plaintiff
26      551    Franco v. Probar, Dkt. 1-1, Probar
        (*)    Complaint                            Plaintiff
27
        552    Franco v. Probar, Dkt. 16, Order
28      (*)    Dismissing Entire Action             Plaintiff
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              29
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 31 of 224 Page ID
                                       #:84408



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2       555 NTG Responses to ROGs, Set
3       (*) One (July 17, 2016)                  Plaintiff
            Email from R Ferrell attaching
4           draft Bobba decl. [NTG011593],
        557
5           Morales v. Magna, No. 3:10-cv-
            01601-EDL (N.D. Cal.)                Plaintiff
6           Sep. 5, 2010 Email from S.
7           Ferrell to Velarde re Bobba decl.
        558
            [NTG011604], Morales v.
8       (*)
            Magna, No. 3:10-cv-01601-EDL
9           (N.D. Cal.)                          Plaintiff
            Sep. 20, 2010 Email from J.
10
            Hardin to R. Ferrell re Bobba
        559
11          declaration [NTG011988],
        (*)
            Morales v. Magna, No. 3:10-cv-
12
            01601-EDL (N.D. Cal.)                Plaintiff
13          Nilon Retainer Agreement
        561 (March 2, 2012) [NTG000204],
14
        (*) Nilon v. NIC, No. 3:12-cv-
15          00930-LAB (S.D. Cal.)                Plaintiff
16
            Nilon Fee Agreement re
            BluScience wiretap lawsuit
17      562 [NTG000199], Nilon v.
18      (*) Chromadex, No. 56-2013-
            00436790-CU-MT-VTA
19          (Ventura Cnty. 2012)                 Plaintiff
20          D. Bobba Fee Agreement
        563 [NTG000194], Morales v.
21      (*) Magna, No. 3:10-cv-01601-EDL
22          (N.D. Cal.)                          Plaintiff
        564 Amendment to NTG Articles of
23      (*) Incorporation (Aug. 2, 2016),        Plaintiff
24          5-27-2015 Email Jung &
            Kirshner re Enzyme Science I'll
25      566
            take care of charts,
26          [NTG069930],                         Plaintiff
            5-8-2015 Email Knowles & SF
27
        567 draft Nip + Fab complaint,
28          [NTG0066226],                        Plaintiff
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            30
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 32 of 224 Page ID
                                       #:84409



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           1-12-20214 Email SF & Weiss
3       569 corporation formation no tax
            consequences, [NTG067900],           Plaintiff
4           Email Para & SF taking measures
5       570 to protect NTG-you from
        (*) association w Quintogos,
6           [NTG067483]                          Plaintiff
7           1-30-2014 Email Schusterman &
        571 Para operating agrmnts for new
8           entities, [NTG067488],               Plaintiff
9           12-26-2013 Email SF & Etam
        572 corporate formation questions,
10
            [NTG067652],                         Plaintiff
11          Agreement between Keystone
        573
            and Quintogos, [NTG065618]           Plaintiff
12
            Written Consent of Manager of
        574
13          Strataluz, NTG067572]                Plaintiff
14
        575 Strataluz banking information,
        (*) [NTG063833],                         Plaintiff
15          1-8-2014 Email SF & Etem Co to
16      576 have same dynamics as tawnsaura
            & harcol, [NTG067917],               Plaintiff
17      577
18      (*) Dkt. 262-16 U.S. Patent              Plaintiff
            5-18-2015 Email DR & SF
19      578
            demand priorities, [NTG067215],      Plaintiff
20          6-8-2015 Email SF & Hill re
        579 Strataluz NDA,[NTG064117]
21
            Strataluz v. Nutrex                  Plaintiff
22          7-2-2015 Email SF & Petlak
            settlement communication,
23      580
            [NTG064146], Strataluz v.
24          Nip+Fab                              Plaintiff
            7-28-2015 Email SF & Silverman
25
            have numerous patents,
        581
26          [NTG064178], Strataluz v.
27
            Twinlab                              Plaintiff

28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            31
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 33 of 224 Page ID
                                       #:84410



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2           5-26-2015 Email SF & DR re
3       582 CLRA letters for raspberry
            ketone products, [NTG066418],         Plaintiff
4           6-4-2015 Email re First Legal
5       583 confirmation of order for service
        (*) of complaint, [NTG069906],
6           Strataluz v. Truderma                 Plaintiff
7           Template Demand Letter,
        584
            [NTG070701],                          Plaintiff
8           6-3-2015 Email SF & RF male
9       585 enhancement demands,
            [NTG070172],                          Plaintiff
10
            5-15-2015 Email Bentley & DR
11      586 idea-enchancement pill then we
            can sue, [NTG066277],                 Plaintiff
12
            5-21-2015 Email SF & Bentley
13      587 add ingredients so claims are
            better, [NTG066354],                  Plaintiff
14
            5-28-2015 Email SF & Bentley
15      588 also identify proprietary blend
16          Liftgate Tech, [NTG070553],           Plaintiff
            5-22-2015 Email SF to all
17      589 convinced Harcol to give us
18          license for AKG,[NTG070678],          Plaintiff
            5-27-2015 Email SF & DR I
19      590 think we can wrangle six figures,
20          [NTG066427],                          Plaintiff
            5-27-2015 Email SF & Hikida
21          Male Enhancement demand
        591
22          template & strategy,
            [NTG066441],                          Plaintiff
23
            1-11-2016 Email DR & SF lets
        592
24          wind up company Quintogos,
        (*)
            [NTG063665],                          Plaintiff
25
                                                  Plaintiff
26             Class Action Complaint (May 22,
27
               2013), Nilon v. Chromadex, No.
        597
               56-2013-00436790-CU-MT-VTA
28             (Ventura Cnty. 2012)            Plaintiff
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             32
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 34 of 224 Page ID
                                       #:84411



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2           May 16, 2013 Email from
3           Knowles to Reid re complaints
            for filing [NTG041980], Nilon v.
4       598
            Chromadex, No. 56-2013-
5           00436790-CU-MT-VTA
            (Ventura Cnty. 2012)                  Plaintiff
6           May 23, 2013 Emails between
7           Reid and S. Ferrell re Nilon v.
            Chromadex [NTG042031], Nilon
8       599
            v. Chromadex, No. 56-2013-
9           00436790-CU-MT-VTA
            (Ventura Cnty. 2012)                  Plaintiff
10          Aug. 5, 2013 Emails between
11          Reid and Jackson re settlement
            communication
12      600
            [CHROMADEX00078], Nilon v.
        (*)
13          Chromadex, No. 56-2013-
            00436790-CU-MT-VTA
14
            (Ventura Cnty. 2012)                  Plaintiff
15          Supplemental Declarations of S.
        602
            Ferrell and Schoonover ISO Mtn
16      (*)
            to Strike, Dkt. 66 (Mar. 21, 2016)    Plaintiff
17          Settlement Agreement (Aug. 6,
18
            2013) [CHROMADEX000093],
        603 Nilon v. Chromadex, No. 56-
19          2013-00436790-CU-MT-VTA
20          (Ventura Cnty. 2012)                  Plaintiff
            NTG Suppl. Response to
21      604 Plaintiff's ROG Nos. 1 and 2
22          (Sep. 16, 2016)                       Plaintiff
            August 23, 2012 Emails between
23          Reid and S. Ferrell re
24          Schoonover's phone call
        605
            [NTG006168], Schoonover v.
25          Himalaya, No. 3:12-cv-01782-
26          JLS (S.D. Cal.)                       Plaintiff
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             33
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 35 of 224 Page ID
                                       #:84412



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           August 27, 2012 Emails between
3           S. Ferrell and Reid re Himalaya
        606 investigation [NTG006229],
4           Schoonover v. Himalaya, No.
5           3:12-cv-01782-JLS (S.D. Cal.)        Plaintiff
            August 30, 2012 Email from Reid
6           to Ferrell re Himalaya follow-up
7       607 [NTG006273], Schoonover v.
            Himalaya, No. 3:12-cv-01782-
8           JLS (S.D. Cal.)                      Plaintiff
9           October 25, 2012 Email from
            Reid to Ferrell re Himalaya
10      608 matter [NTG006386],
11          Schoonover v. Himalaya, No.
            3:12-cv-01782-JLS (S.D. Cal.)        Plaintiff
12
            July 17, 2012 Email from
13          Schoonover to Baslow
        609
            [SCHOONOVER00001],
14      (*)
            Schoonover v. Himalaya, No.
15          3:12-cv-01782-JLS (S.D. Cal.)        Plaintiff
16
            November 9, 2012 Email from
            Reid to Garganta re settlement
17
        610
            [NTG002988], Schoonover v.
        (*)
18
            Himalaya, No. 3:12-cv-01782-
            JLS (S.D. Cal.)                      Plaintiff
19          Settlement Agreement (Nov. 7,
20      611 2012) [NTG004808], Schoonover
        (*) v. Himalaya, No. 3:12-cv-01782-
21          JLS (S.D. Cal.)                      Plaintiff
22          February 4, 2013 Emails between
            Baslow and Knowles re Baslow
23          and Torres Depositions
        612
24          [NTG017138], Torres v.
            Nutrisystem, No. 12-cv-01854
25          (S.D. Cal.)                          Plaintiff
26          1-14-2014 Email SF re three
        616 notes & no terms, [NTG067882],
27
            Quintogos                            Plaintiff
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            34
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 36 of 224 Page ID
                                       #:84413



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2           5-8-2015 Email re eversilk first
3       617 cellulite demand letter,
            [NTG0066239],                          Plaintiff
4           5-6-2015 Emails SF & DR re
        618
5           Quintogos Cellulite lawsuits,
        (*)
            [NTG067199], Quintogos                 Plaintiff
6           5-15-2015 Email DR & Bentley
7       619 re Stataluze Idea enhancement
            pill, [NTG066277],                     Plaintiff
8           5-27-2015 Email SF & Knowles
9       621 & DR here are first 10 targets,
            [NTG069940],                           Plaintiff
10
            6-15-2015 Email SF & DR don't
11      622 think Strataluz cases as profitable,
            [NTG067307],                           Plaintiff
12
            Male Enhancement Cases Chart,
        629
13          [NTG066654],                           Plaintiff
14
            NTG Male Enhancement Case
        630 Chart [NTG066663], CIPA
15          Litigation                             Plaintiff
16          May 7, 2015 Emails re weekly
        631 reports and Baslow screening for
17          wiretaps [NTG067124],                  Plaintiff
18          May 31, 2015 Emails between
        632 Ferrel and Reid re demand letter
19          strategy [NTG066448],                  Plaintiff
20          July 17, 2012 Email from
            Schoonover to Baslow
21      635
            [SCHOONOVER00002],
        (*)
22          Schoonover v. Himalaya, No.
            3:12-cv-01782-JLS (S.D. Cal.)          Plaintiff
23
            August 11, 2012 Emails between
24          S. Ferrell and Baslow re
        638 Schoonover wiretap call,
25
        (*) [NTG006152], Schoonover v.
26          Himalaya, No. 3:12-cv-01782-
            JLS (S.D. Cal.)                        Plaintiff
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             35
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 37 of 224 Page ID
                                       #:84414



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              First Amended Class Action
3       639    Complaint (Apr. 19, 2012), Dkt.
        (*)    1-3, Glenn v. Bai Brands, No. 37-
4              2012-00093962-CU-BT-CTL               Plaintiff
5              August 23, 2012 Emails between
               S. Ferrell and Reid re Himalaya
6       640
               follow-up [NTG006161],
        (*)
7              Schoonover v. Himalaya, No.
               3:12-cv-01782-JLS (S.D. Cal.)         Plaintiff
8              Sep. 12, 2012 Email from W.
9              Ferrell to S. Ferrell re wiretap
        643
               clients, [NTG006703], Demulder
10      (*)
               v. Carter-Reed, No. 3:12-cv-
11             02232-BTM (S.D. Cal.)                 Plaintiff
        645    Declaration of S. Ferrell (Feb. 27,
12
        (*)    2019), Dkt. 812-1                     Plaintiff
13             Declarations of Nilon, Baslow,
        649    Ferrell, and Leboff ISO Mtn to
14
               Strike (Dkt. 140)                     Plaintiff
15             Aug. 27, 2012 Emails between S.
16
        650    Ferrell and W. Ferrell re wiretaps
               [NTG015269], CIPA Litigation          Plaintiff
17             Declaration of W. Ferrell ISO
18             Opp Mtn for Sanctions (Sep. 21,
        652
               2010), Dkt. 63-5. Morales v.
19      (*)
               Magna, No. 3:10-cv-01601-EDL
20             (N.D. Cal.)                           Plaintiff
               Settlement Agreement with
21      653    Vistasprings.com, Dkt. 28-2,
22      (*)    Morales v. Magna, No. 3:10-cv-
               01601-EDL (N.D. Cal.)                 Plaintiff
23             Decl. of D Bobba ISO Opp to
24             Magna Mtn for Sanctions, Dkt.
        654
               63-6, Morales v. Magna, No.
25
               3:10-cv-01601-EDL (N.D. Cal.)         Plaintiff
26
27
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               36
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 38 of 224 Page ID
                                       #:84415



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2           Conflicts retainer entered
3           between Magna-RX and NTG on
        656 11.09.2010 [MAGNA-
4       (⁎) RX_000017], Morales v. Magna,
5           No. 3:10-cv-01601-EDL (N.D.
            Cal.)                                 Plaintiff
6           Pacific Trial Attorneys website
7       657 capture
            [https://pacifictrialattorneys.com]   Plaintiff
8           May 7, 2014 Email from Nilon to
9           Baslow re continued participation
        658 in litigation [NTG025503], Nilon
10          v. NIC, No. 3:12-cv-00930-LAB
11          (S.D. Cal.)                           Plaintiff
            December 27, 2011 Email re
12
            Sovereign Silver demand letter
        659
13          [NTG022165], Nilon v. NIC, No.
            3:12-cv-00930-LAB (S.D. Cal.)         Plaintiff
14
            December 26, 2011 Emails
15          between S. Ferrell and Knowles
16
        660 re Sovereign Silver
            [NTG022160], Nilon v. NIC, No.
17          3:12-cv-00930-LAB (S.D. Cal.)         Plaintiff
18          January 16, 2012 Email re NIC
            response to demand letter
19      661
            [NTG022170], Nilon v. NIC, No.
20          3:12-cv-00930-LAB (S.D. Cal.)         Plaintiff
            August 2015 Emails between
21          Nilon and C. Baker,
22          [QUEEN0000114-
        662
            QUEEN0000125Nilon v. NIC,
23          No. 3:12-cv-00930-LAB (S.D.
24          Cal.)                                 Plaintiff
            Emord Invoicing Jan-July 2015
25
            [NIC_0001044], Nilon v. NIC,
        663
26          No. 3:12-cv-00930-LAB (S.D.
            Cal.)                                 Plaintiff
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             37
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 39 of 224 Page ID
                                       #:84416



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              Emord Retainer, Feb 2015,
3       664    NIC_0001043, Nilon v. NIC, No.
               3:12-cv-00930-LAB (S.D. Cal.)       Plaintiff
4              NIC Sovereign Silver Products,
5       665    NIC_0000679, Nilon v. NIC, No.
               3:12-cv-00930-LAB (S.D. Cal.)       Plaintiff
6              Declaration of Nilon re Class
7              Cert. (Feb. 26, 2013), Dkt. 21-2,
        666
               Nilon v. NIC, No. 3:12-cv-
8              00930-LAB (S.D. Cal.)               Plaintiff
9              First Amended Complaint (Oct.
               15, 2013), Dkt. 34, Nilon v. NIC,
10      667
               No. 3:12-cv-00930-LAB (S.D.
11             Cal.)                               Plaintiff
               ORDER Granting in Part &
12
               Denying Motion to Compel (July
13      668    31, 2014), Dkt. 55, Nilon v. NIC,
               No. 3:12-cv-00930-LAB (S.D.
14
               Cal.)                               Plaintiff
15             ORDER Dismissing without
16
               Prejudice (May 5, 2015), Dkt.
        669
               117, Nilon v. NIC, No. 3:12-cv-
17             00930-LAB (S.D. Cal.)               Plaintiff
18             Declaration of Nilon re NTG Mot
               for Sanctions (May 30, 2017),
19      670
               Dkt. 328-1, Nilon v. NIC, No.
20             3:12-cv-00930-LAB (S.D. Cal.)       Plaintiff
               January 22, 2012 Emails between
21             S. Ferrell and W. Ferrell re
22             Sovereign Silver plaintiff
        671
               [NTG022175], Dkt. 1109-30,
23             Nilon v. NIC, No. 3:12-cv-
24             00930-LAB (S.D. Cal.)               Plaintiff
               NIC's Retainer Agreement with
25
               Negrete [NIC_0000019], Nilon v.
        672
26             NIC, No. 3:12-cv-00930-LAB
               (S.D. Cal.)                         Plaintiff
27
                                                   Plaintiff
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              38
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 40 of 224 Page ID
                                       #:84417



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              December 25, 2011 Email re
3              Sovereign Silver demand letter
        674    [NTG022157], Dkt. 1109-40,
4              Nilon v. NIC, No. 3:12-cv-
5              00930-LAB (S.D. Cal.)                 Plaintiff
               January 31, 2012 Email re
6              missing client information and
7       675    POP [NTG022179], Dkt. 1110-4,
               Nilon v. NIC, No. 3:12-cv-
8              00930-LAB (S.D. Cal.)                 Plaintiff
9       676    Nilon Declaration (Feb. 18,
        (*)    2016), Dkt. 41                        Plaintiff
10
               NTG Motion to Substitute Class
11      677    Rep (July 9, 2014), Dkt. 51,
        (*)    Nilon v. NIC, No. 3:12-cv-
12
               00930-LAB (S.D. Cal.)                 Plaintiff
13             NTG Memo ISO Motion to
        678    Substitute (July 9, 2014), Dkt. 51-
14
        (*)    1, Nilon v. NIC, No. 3:12-cv-
15             00930-LAB (S.D. Cal.)                 Plaintiff
16
               Nilon Declaration (July 9, 2014),
        679
               Dkt. 51-2, Nilon v. NIC, No.
17      (*)
               3:12-cv-00930-LAB (S.D. Cal.)         Plaintiff
18             Declaration of Sandoval (July 9,
        680    2014), Dkt. 51-3, Nilon v. NIC,
19      (*)    No. 3:12-cv-00930-LAB (S.D.
20             Cal.)                                 Plaintiff
               Declaration of R. Ferrell ISO Mtn
21      681    to Substitute (July 9, 2014), Dkt.
22      (*)    51-1, Nilon v. NIC, No. 3:12-cv-
               00930-LAB (S.D. Cal.)                 Plaintiff
23             Attach A to Ferrell Decl., Dkt.
        682
24             51-4, Nilon v. NIC, No. 3:12-cv-
        (*)
               00930-LAB (S.D. Cal.)                 Plaintiff
25
               Attach B to Ferrell Decl., Dkt.
        683
26             51-6, Nilon v. NIC, No. 3:12-cv-
        (*)
               00930-LAB (S.D. Cal.)                 Plaintiff
27
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               39
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 41 of 224 Page ID
                                       #:84418



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              NTG Motion to Withdraw as
3       684    Counsel (Aug. 15, 2014), Dkt. 61,
        (*)    Nilon v. NIC, No. 3:12-cv-
4              00930-LAB (S.D. Cal.)                Plaintiff
5              NTG Memo ISO Motion to
               Withdraw as Counsel (Aug. 15,
6       685
               2014), Dkt. 61-1, Nilon v. NIC,
        (*)
7              No. 3:12-cv-00930-LAB (S.D.
               Cal.)                                Plaintiff
8              Declaration of R Ferrell RE Nilon
9       686    withdrawal (Aug. 15, 2014), Dkt.
        (*)    61-2, Nilon v. NIC, No. 3:12-cv-
10             00930-LAB (S.D. Cal.)                Plaintiff
11             ORDER Granting Substitution
        687    (Aug. 22, 2014), Dkt. 62, Nilon v.
12
        (*)    NIC, No. 3:12-cv-00930-LAB
13             (S.D. Cal.)                          Plaintiff
               NTG Opp to Motion for
14
        688    Sanctions (July 17, 2015), Dkt.
15      (*)    123, Nilon v. NIC, No. 3:12-cv-
16
               00930-LAB (S.D. Cal.)                Plaintiff
               Declaration of R. Ferrell ISO Opp
17             to Mtn for Sanctions (July 17,
        689
18             2015), Dkt. 123-2, Nilon v. NIC,
        (*)
               No. 3:12-cv-00930-LAB (S.D.
19             Cal.)                                Plaintiff
20             January 22, 2012 Email from S.
               Ferrell re Sovereign Silver
21      690
               complainant [NTG022173], filed
        (*)
22             as Dkt. 1110-3, Nilon v. NIC, No.
               3:12-cv-00930-LAB (S.D. Cal.)        Plaintiff
23             Nilon Bank Records & Tax
        691
24             Returns [NILON_000067 -
        (*)
               NILON_000423]                        Plaintiff
25
               April 28, 2014 Email between
26             Baslow and R. Ferrell re Nilon
        692
               participation in case
27      (*)
               [NTG025469], Nilon v. NIC, No.
28             3:12-cv-00930-LAB (S.D. Cal.)        Plaintiff
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              40
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 42 of 224 Page ID
                                       #:84419



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2                                                  Plaintiff
3           July 16, 2015 Emails between
            Hikida and R. Ferrell re NTG
4       694
            Opp to Mtn for Sanctions
        (*)
5           [NTG041240], Nilon v. NIC, No.
            3:12-cv-00930-LAB (S.D. Cal.)          Plaintiff
6           July 14, 2015 Emails between R.
7           Ferrell and Hikida re NTG's Opp
        695
            to Mtn for Sanctions
8       (*)
            [NTG041159], Nilon v. NIC, No.
9           3:12-cv-00930-LAB (S.D. Cal.)          Plaintiff
            July 16, 2015 Email from Hikida
10
            to R. Ferrell re strategy in Opp to
        696
11          Mtn for Sanctions [NTG041244],
        (*)
            Nilon v. NIC, No. 3:12-cv-
12
            00930-LAB (S.D. Cal.)                  Plaintiff
13                                                 Plaintiff
               December 27, 2011 Emails re
14
        698    draft CLRA demand
15      (*)    [NTG022162], Nilon v. NIC, No.
16
               3:12-cv-00930-LAB (S.D. Cal.)       Plaintiff
               December 27, 2011 Emails re
17             dispatch of Sovereign Silver
        699
18             CLRA Letter [NTG022169],
        (*)
               Nilon v. NIC, No. 3:12-cv-
19             00930-LAB (S.D. Cal.)               Plaintiff
20             June 2014 Emails between R.
               Ferrell and Nilon re withdrawal
21      700
               [NILON00052-NILON00059],
        (*)
22             Nilon v. NIC, No. 3:12-cv-
               00930-LAB (S.D. Cal.)               Plaintiff
23             Picture of Sovereign Silver
        701
24             [NTG022158], Nilon v. NIC, No.
        (*)
               3:12-cv-00930-LAB (S.D. Cal.)       Plaintiff
25
        702    Nilon's Responses to First Set of
26      (*)    RFPs (July 25, 2016)                Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              41
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 43 of 224 Page ID
                                       #:84420



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Transcript of the Deposition of
3              Sandoval (April 20, 2015)
        703
               [NIC_0000812], Nilon v. NIC,
4       (*)
               No. 3:12-cv-00930-LAB (S.D.
5              Cal.)                                Plaintiff
               OMSJ Services Agreement (Nov.
6       704    17, 2014) [NIC_0000676], Nilon
7       (*)    v. NIC, No. 3:12-cv-00930-LAB
               (S.D. Cal.)                          Plaintiff
8              Nilon Declaration re Venue (Apr.
9       705    16, 2012), Dkt. 1-1, Nilon v. NIC,
        (*)    No. 3:12-cv-00930-LAB (S.D.
10             Cal.)                                Plaintiff
11             Proof of Service of Complaint
        706    (March 15, 2012), Dkt. 1-1, Nilon
12
        (*)    v. NIC, No. 3:12-cv-00930-LAB
13             (S.D. Cal.)                          Plaintiff
               ORDER on Mtn to Dismiss &
14
        707    Mtn for Class Cert (April 15,
15      (*)    2014), Nilon v. NIC, No. 3:12-
16
               cv-00930-LAB (S.D. Cal.)             Plaintiff
               Sandoval's Responses to RFPs,
17      708
               First Set (July 25, 2016)            Plaintiff
18             Arizona Judicial Records re
               Sandoval Criminal History,
19      709
               Sandoval v. NIC, No. 12-cv-
20             00930-LAB (S.D. Cal.)                Plaintiff
               National Criminal Records
21      710    Search, Sandoval, Sandoval v.
22      (*)    NIC, No. 12-cv-00930-LAB
               (S.D. Cal.)                          Plaintiff
23             Pictures of product purchased
24             [SANDOVAL00001-00004],
        711
               Sandoval v. NIC, No. 12-cv-
25
               00930-LAB (S.D. Cal.)                Plaintiff
26             Judgment (May 22, 2015), Dkt.
        712    121, Sandoval v. NIC, No. 12-cv-
27
               00930-LAB (S.D. Cal.)                Plaintiff
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              42
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 44 of 224 Page ID
                                       #:84421



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           Sandoval ADOT Driver License
        713
3           records, Sandoval v. NIC, No. 12-
        (*)
            cv-00930-LAB (S.D. Cal.)             Plaintiff
4           Sandoval California Driver
5       714 License records, Sandoval v.
        (*) NIC, No. 12-cv-00930-LAB
6           (S.D. Cal.)                          Plaintiff
7           Transcript of Deposition of
            Sandoval (April 20, 2015), Nilon
8       715
            v. NIC, No. 3:12-cv-00930-LAB
        (*)
9           (S.D. Cal.), 12-cv-00930-LAB
            (S.D. Cal.)                          Plaintiff
10
            Decl of R. Ferrell ISO Opp to
11          Motion for Sanctions (April 6,
        716
            2015), Dkt. 98-1, Sandoval v.
12      (*)
            NIC, No. 12-cv-00930-LAB
13          (S.D. Cal.)                          Plaintiff
            Nilon Response to ROG, First Set
14      717
            (Mar. 31, 2017)                      Plaintiff
15          Nilon Responses to First Set of
        718
16
            RFPs (July 25, 2016)                 Plaintiff
            Call audio file from Baslow
17          phone call to BluScience on Feb.
18      719 27, 2013 (.wav format), Nilon v.
        (*) Chromadex, No. 56-2013-
19          00436790-CU-MT-VTA
20          (Ventura Cnty. 2012)                 Plaintiff
            August 5, 2013 Email from Reid
21          to Jackson re Settlement Comm
22          [NTG045935], Nilon v.
        720
            Chromadex, No. 56-2013-
23          00436790-CU-MT-VTA
24          (Ventura Cnty. 2012)                 Plaintiff
            March 21, 2013 Demand Letter
25
            [CHROMADEX00178], filed
26          earlier as Dkt. 1108-37, Nilon v.
        721
            Chromadex, No. 56-2013-
27
            00436790-CU-MT-VTA
28          (Ventura Cnty. 2012)                 Plaintiff
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            43
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 45 of 224 Page ID
                                       #:84422



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2       723    Nilon Response to RFPs, Second
3       (*)    Set (March 6, 2017)                  Plaintiff
        724    Nilon Response to RFPs, Set
4       (*)    Three (March 31, 2017)               Plaintiff
5              Chromadex/SafetyCall Records
               reflecting incoming phone calls in
6       725
               Feb. 2013, Nilon v. Chromadex,
        (*)
7              No. 56-2013-00436790-CU-MT-
               VTA (Ventura Cnty. 2012)             Plaintiff
8              Third-Party ChromaDex, Inc.'s
        726
9              Responses and Objections to NIC
        (*)
               Subpoena (June 9, 2016)              Plaintiff
10
               Feb. 27, 2013 Emails between
11             Baslow and S. Ferrell re Blu
               Science representative
12      727
               [NTG041911], Nilon v.
        (*)
13             Chromadex, No. 56-2013-
               00436790-CU-MT-VTA
14
               (Ventura Cnty. 2012)                 Plaintiff
15             Aug. 1, 2013 Emails between
16
               Reid and Jackson re Settlement
        728    [CHROMADEX00001], Nilon v.
17      (*)    Chromadex, No. 56-2013-
18             00436790-CU-MT-VTA
               (Ventura Cnty. 2012)                 Plaintiff
19             May 13, 2013 Emails between S.
20             Ferrell and Reid re Chromadex
        729    complaint process [NTG042034],
21      (*)    Nilon v. Chromadex, No. 56-
22             2013-00436790-CU-MT-VTA
               (Ventura Cnty. 2012)                 Plaintiff
23             March 2013 Emails between
24             Wise and Nilon re retention docs
        730    [NILON00017-NILON00024],
25
        (*)    Nilon v. Chromadex, No. 56-
26             2013-00436790-CU-MT-VTA
               (Ventura Cnty. 2012)                 Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              44
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 46 of 224 Page ID
                                       #:84423



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Feb. 27, 2013 Emails between S.
3              Ferrell and Baslow re Blu Science
        731    [NTG041912], Nilon v.
4       (*)    Chromadex, No. 56-2013-
5              00436790-CU-MT-VTA
               (Ventura Cnty. 2012)                 Plaintiff
6              NTG Request for Dismissal (May
7       732    23, 2013), Nilon v. Chromadex,
        (*)    No. 56-2013-00436790-CU-MT-
8              VTA (Ventura Cnty. 2012)             Plaintiff
9              Settlement Agreement (Aug. 6,
               2013) [CHROMADEX00093],
10      733
               Nilon v. Chromadex, No. 56-
        (*)
11             2013-00436790-CU-MT-VTA
               (Ventura Cnty. 2012)                 Plaintiff
12
        734    Declaration of Andrew Nilon
13      (*)    (Feb. 18, 2016), Dkt. 41             Plaintiff
               Magna's Motion for Sanctions
14
               Under 28 U.S.C. §1927, filed as
        735
15             Dkt. 59, Morales v. Magna, No.
16
               3:10-cv-01601-EDL (N.D. Cal.)        Plaintiff
               Declaration of Scott Ferrell (with
17             s), filed as Dkt. 63-1, Morales v.
        736
18             Magna, No. 3:10-cv-01601-EDL
               (N.D. Cal.)                          Plaintiff
19             Magna's Reply ISO Motion for
20             Sanctions, filed as Dkt. 64
        737
               [NTG001549], Morales v.
21      (⁎)
               Magna, No. 3:10-cv-01601-EDL
22             (N.D. Cal.)                          Plaintiff
               Tr. of September 12, 2010
23             Hearing, Dkt. 68, Morales v.
        738
24             Magna, No. 3:10-cv-01601-EDL
               (N.D. Cal.)                          Plaintiff
25
               Email Hardin & Merrett re
26             Magna Retainer & Email for
        740    Andre, NTG001537, Morales v.
27
               Magna, No. 3:10-cv-01601-EDL
28             (N.D. Cal.)                          Plaintiff
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              45
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 47 of 224 Page ID
                                       #:84424



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Email from J. Hardin on
3              11.03.2010 proposing payment to
               Magna in lieu of sanctions
4       741
               [MAGNA-RX_000022], Morales
5              v. Magna, No. 3:10-cv-01601-
               EDL (N.D. Cal.)                      Plaintiff
6              F. Morales Fee Agreement and
7              POP [NTG006718], Morales v.
        742
               Magna, No. 3:10-cv-01601-EDL
8              (N.D. Cal.)                          Plaintiff
9              Class Action Complaint, Dkt. 1,
        743    Morales v. Magna, No. 3:10-cv-
10             01601-EDL (N.D. Cal.)                Plaintiff
11             Order on MTD, Dkt. 37, Morales
        744    v. Magna, No. 3:10-cv-01601-
12
               EDL (N.D. Cal.)                      Plaintiff
13             Tr. of June 22, 2010 Hearing,
        745
               Dkt. 43, Morales v. Magna, No.
14      (⁎)
               3:10-cv-01601-EDL (N.D. Cal.)        Plaintiff
15             June 23, 2010 Letter from J.
16
               Schenk to S. Ferrell re statements
        746    made at June 22, 2010 hearing
17      (*)    [MAGNA-RX_000030], Morales
18             v. Magna, No. 3:10-cv-01601-
               EDL (N.D. Cal.)                      Plaintiff
19             July 20, 2010 Letter from J.
20             Schenk to S. Ferrell re concerns
        747    of destruction of evidence
21      (*)    [MAGNA-RX_000033], Morales
22             v. Magna, No. 3:10-cv-01601-
               EDL (N.D. Cal.)                      Plaintiff
23             June 22, 2010 Email from Moidel
24             to B. Salhanick [MAGNA-
        748
               RX_000029], Morales v. Magna,
25      (*)
               No. 3:10-cv-01601-EDL (N.D.
26             Cal.)                                Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              46
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 48 of 224 Page ID
                                       #:84425



1       Exh.
        No.    Description                            Offered By:   Objection(s):   Admitted:
2              Aug. 20, 2010 Email from
3              Schenk to S. Ferrell re Morales
        749
               deposition [NTG002031],
4       (*)
               Morales v. Magna, No. 3:10-cv-
5              01601-EDL (N.D. Cal.)                  Plaintiff
               July 26, 2010 Email from Schenk
6              to S. Ferrell re Response to letters
7       750    of July 20th and 21st re spoilation
        (*)    [MAGNA-RX_000038], Morales
8              v. Magna, No. 3:10-cv-01601-
9              EDL (N.D. Cal.)                        Plaintiff
               Sep. 3, 2010 Email from S.
10             Ferrell to R. Ferrell re Bobba
        751
11             social media post [NTG011592],
        (*)
               Morales v. Magna, No. 3:10-cv-
12
               01601-EDL (N.D. Cal.)                  Plaintiff
13             June 28, 2010 Email from S.
               Ferrell re New Magna Pltfs
14      752
               [NTG009986], Morales v.
        (*)
15             Magna, No. 3:10-cv-01601-EDL
               (N.D. Cal.)                            Plaintiff
16
               Magna-RX Production files in
17             response to NIC subpoena
        753
18
               [MAGNA-RX_000017-41],
        (*)
               Morales v. Magna, No. 3:10-cv-
19             01601-EDL (N.D. Cal.)                  Plaintiff
20             Aug. 10, 2010 Letter from
               Schenk re depositions
21      754
               [NTG007338], Morales v.
        (*)
22             Magna, No. 3:10-cv-01601-EDL
               (N.D. Cal.)                            Plaintiff
23             Proof of Service of Motion for
24      755    Prelim Inj on Magna, Dkt. 10,
        (*)    Morales v. Magna, No. 3:10-cv-
25             01601-EDL (N.D. Cal.)                  Plaintiff
26             Proof of Service of Preliminary
        756    Inj on Aragon Prod, Dkt. 12,
27
        (*)    Morales v. Magna, No. 3:10-cv-
28             01601-EDL (N.D. Cal.)                  Plaintiff
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                                47
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 49 of 224 Page ID
                                       #:84426



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              Magna's Mot. to Dismiss for
3       757    improper venue (May 12, 2010),
        (*)    Dkt. 23, Morales v. Magna, No.
4              3:10-cv-01601-EDL (N.D. Cal.)       Plaintiff
5              Decl. of S. Ferrell in opposition
               to Magna's Mot. to Dism. (June 1,
6       758
               2010), Dkt. 34-1, Morales v.
        (*)
7              Magna, No. 3:10-cv-01601-EDL
               (N.D. Cal.)                         Plaintiff
8              Voluntary Dismissal of Entire
9       759    Action (Aug. 23, 2010), Dkt. 58,
        (*)    Morales v. Magna, No. 3:10-cv-
10             01601-EDL (N.D. Cal.)               Plaintiff
11             NTG's Memorandum in
               Opposition to Magna's Mot for
12      760
               Sanctions (Sep. 21, 2010), Dkt.
        (*)
13             63, Morales v. Magna, No. 3:10-
               cv-01601-EDL (N.D. Cal.)            Plaintiff
14
               2012-3-5 Demand Letter to
15             Nature's Way Products, Inc.
16
        761    (March 15, 2012) [NTG003307],
               Pfleg v. Nature's Way, No. 3:12-
17             cv-01018-LAB (S.D. Cal.)            Plaintiff
18             July 9, 2012 Email from Lally re
               Pfleg v. Nature's Way, No. 3:12-
19             cv-01018-LAB (S.D. Cal.)
        763
20             [NTG005118], Pfleg v. Nature's
               Way, No. 3:12-cv-01018-LAB
21             (S.D. Cal.)                         Plaintiff
22             July 9, 2012 Email from S.
               Ferrell re Nature's Way demand
23             letter
        764
24             [NATURE'SWAY_000025],
               Pfleg v. Nature's Way, No. 3:12-
25             cv-01018-LAB (S.D. Cal.)            Plaintiff
26
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              48
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 50 of 224 Page ID
                                       #:84427



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              Letter to R. Ferrell in response to
3              demand letter (Feb. 1, 2012)
        765    [NATURE'SWAY_000234],
4              Pfleg v. Nature's Way, No. 3:12-
5              cv-01018-LAB (S.D. Cal.)              Plaintiff
               Class Action Complaint (March
6              15, 2012), Pfleg v. Nature's Way,
        766
7              No. 3:12-cv-01018-LAB (S.D.
               Cal.)                                 Plaintiff
8              Nature's Way Production (Oct.
9              28, 2016)
        767
               [NATURE'SWAY_000001-239],
10      (*)
               Pfleg v. Nature's Way, No. 3:12-
11             cv-01018-LAB (S.D. Cal.)              Plaintiff
        768    Pfleg Privilege Log (May 26,
12
        (*)    2017)                                 Plaintiff
13             Demand Letter to Nature's Way
               Products, Inc. (July 5, 2012)
14
        769    [NATURESWAY_000027,
15      (*)    NTG003305], Pfleg v. Nature's
16
               Way, No. 3:12-cv-01018-LAB
               (S.D. Cal.)                           Plaintiff
17             2012-6-25 Demand Letter to
18             Nature's Way Products, Inc. (June
        770
               25, 2012) [NTG003303], Pfleg v.
19      (*)
               Nature's Way, No. 3:12-cv-
20             01018-LAB (S.D. Cal.)                 Plaintiff
               March 19 2012 Emails between
21             Wiegand and Lally re second
22      771    demand letter
        (*)    [NATURE'SWAY_000228],
23             Pfleg v. Nature's Way, No. 3:12-
24             cv-01018-LAB (S.D. Cal.)              Plaintiff
               July 9, 2012 Emails between
25
               Lally and Wiegand re wire
26      772    transfers
        (*)    [NATURESWAY000045], Pfleg
27
               v. Nature's Way, No. 3:12-cv-
28             01018-LAB (S.D. Cal.)                 Plaintiff
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               49
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 51 of 224 Page ID
                                       #:84428



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              July 6, 2012 Emails between S.
3              Ferrell and Lally re settlement
        773
               [NTG005081], Pfleg v. Nature's
4       (*)
               Way, No. 3:12-cv-01018-LAB
5              (S.D. Cal.)                         Plaintiff
               July 6, 2012 Emails between S.
6              Ferrell and Lally re notice of
        774
7              dismissal [NTG000736], Pfleg v.
        (*)
               Nature's Way, No. 3:12-cv-
8              01018-LAB (S.D. Cal.)               Plaintiff
9              June 28, 2012 Email from S.
               Ferrell to Lally re Nature's Way
10      775    Settlement Discussions
11      (*)    [NATURE'SWAY_000104],
               Pfleg v. Nature's Way, No. 3:12-
12
               cv-01018-LAB (S.D. Cal.)            Plaintiff
13             July 7, 2012 Email from S.
               Ferrell re wired settlement funds
14      776
               [NTG005733], Pfleg v. Nature's
        (*)
15             Way, No. 3:12-cv-01018-LAB
               (S.D. Cal.)                         Plaintiff
16
               June 28, 2012 Email from Lally
17      777    re CLRA claims [NTG005061],
18
        (*)    Pfleg v. Nature's Way, No. 3:12-
               cv-01018-LAB (S.D. Cal.)            Plaintiff
19             March 13, 2013 Email from S.
20             Ferrell re Class Cert Reply
        778    [NTG018162], Torres v.
21             Nutrisystem, No. 12-cv-01854
22             (S.D. Cal.)                         Plaintiff
               October 30, 2012 Email from S.
23             Ferrell re Bypass wiretap
24      779    arguments [NTG015731], Torres
               v. Nutrisystem, No. 12-cv-01854
25             (S.D. Cal.)                         Plaintiff
26
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              50
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 52 of 224 Page ID
                                       #:84429



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              October 27, 2012 Emails between
3              Reid and S. Ferrell re settlement
               strategies in wiretap cases
4       780
               [NTG015672], Torres v.
5              Nutrisystem, No. 12-cv-01854
               (S.D. Cal.)                         Plaintiff
6              October 29, 2012 Emails between
7              Seiling and S. Ferrell re
        781    Nutrisystem settlement [NUTRI-
8              0000115], Torres v. Nutrisystem,
9              No. 12-cv-01854 (S.D. Cal.)         Plaintiff
               October 18, 2012 Email from S.
10             Ferrell re informal discovery
11      782    [NUTRI-0000209], Torres v.
               Nutrisystem, No. 12-cv-01854
12
               (S.D. Cal.)                         Plaintiff
13             September 3, 2012 Emails re
               Nutrisstem wiretap and new
14
        783    wiretap cases [NTG015308],
15             Torres v. Nutrisystem, No. 12-cv-
               01854 (S.D. Cal.)                   Plaintiff
16
               June 19, 2013 Emails between
17             Torres and NTG re signed
18
               settlement agreement
        784
               [NTG000132], Torres v.
19             Nutrisystem, No. 12-cv-01854
20             (S.D. Cal.)                         Plaintiff
               Nutrisystem’s Opposition to
21             Motion for Class Certification
22      785    (March 8, 2013), Dkt. 20, Torres
               v. Nutrisystem, No. 12-cv-01854
23             (S.D. Cal.)                         Plaintiff
24             NTG’s Reply ISO Motion for
               Certification (March 22, 2013),
25      786
               Dkt. 27, Torres v. Nutrisystem,
26             No. 12-cv-01854 (S.D. Cal.)         Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              51
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 53 of 224 Page ID
                                       #:84430



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              ORDER Denying Motion for
3              Class Cert (April 8, 2013)
        787    [NUTRI-0000703], Dkt. 28,
4              Torres v. Nutrisystem, No. 12-cv-
5              01854 (S.D. Cal.)                     Plaintiff
               Motion for Class Certification
6       788    (Jan. 23, 2013), Dkt. 17, Torres v.
7       (*)    Nutrisystem, No. 12-cv-01854
               (S.D. Cal.)                           Plaintiff
8              Memo of P&A ISO Motion for
9              Class Certification (Jan. 23,
        789
               2013) [NUTRI-0000987], Dkt.
10      (*)
               17-1, Torres v. Nutrisystem, No.
11             12-cv-01854 (S.D. Cal.)               Plaintiff
               Declaration of Wayne Crossman
12
        790    (March 8, 2013), Dkt. 20-1,
13      (*)    Torres v. Nutrisystem, No. 12-cv-
               01854 (S.D. Cal.)                     Plaintiff
14
               October 19, 2012 Letter to S.
15             Ferrell re informal discovery &
        791
               Torres call [NUTRI-0000193],
16      (*)
               Torres v. Nutrisystem, No. 12-cv-
17             01854 (S.D. Cal.)                     Plaintiff
18             November 11, 2014 Email from
               Reid re Nutrisystem settlement
19      793
               [NUTRI-0000152], Torres v.
        (*)
20             Nutrisystem, No. 12-cv-01854
               (S.D. Cal.)                           Plaintiff
21             January 14, 2013 Email from
22             Johnson re Deposition follow-up
        794
               [NUTRI-0000097], Torres v.
23      (*)
               Nutrisystem, No. 12-cv-01854
24             (S.D. Cal.)                           Plaintiff
               November 13, 2012 Email from
25
               S. Ferrell re First Amended
        795
26             Complaint [NUTRI-0000077],
        (*)
               Torres v. Nutrisystem, No. 12-cv-
27
               01854 (S.D. Cal.)                     Plaintiff
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               52
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 54 of 224 Page ID
                                       #:84431



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              October 10, 2012 Emails re
3              Nutrisystem 30(b)(6) deposition
        796
               [NUTRI-0000049], Torres v.
4       (*)
               Nutrisystem, No. 12-cv-01854
5              (S.D. Cal.)                         Plaintiff
               October 10, 2012 Emails re
6              Nutrisystem informal discovery
        797
7              [NUTRI-0000140], Torres v.
        (*)
               Nutrisystem, No. 12-cv-01854
8              (S.D. Cal.)                         Plaintiff
9              November 27, 2012 Email from
               S. Ferrell re class certification
10      798
               [NUTRI-0000190], Torres v.
        (*)
11             Nutrisystem, No. 12-cv-01854
               (S.D. Cal.)                         Plaintiff
12
               November 30, 2012 Emails
13             regarding motion for class
        799
               certification [NUTRI-0000091],
14      (*)
               Torres v. Nutrisystem, No. 12-cv-
15             01854 (S.D. Cal.)                   Plaintiff
16
               October 9, 2012 Email to S.
               Ferrell re informal discovery
17
        800
               [NUTRI-0000143], Torres v.
        (*)
18
               Nutrisystem, No. 12-cv-01854
               (S.D. Cal.)                         Plaintiff
19             October 23, 2012 Email from S.
20             Ferrell re preliminary discovery
        801
               [NUTRI-0000161], Torres v.
21      (*)
               Nutrisystem, No. 12-cv-01854
22             (S.D. Cal.)                         Plaintiff
               October 7, 2012 Email to Seiling
23      802    re S.Ferrell response [NUTRI-
24      (*)    0000146], Torres v. Nutrisystem,
               No. 12-cv-01854 (S.D. Cal.)         Plaintiff
25
               Kight v. Cashcall, Appeal from
26             an order of the Superior Court
        803
               (Nov. 21, 2011) [NUTRI-
27      (*)
               0000730], Torres v. Nutrisystem,
28             No. 12-cv-01854 (S.D. Cal.)         Plaintiff
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              53
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 55 of 224 Page ID
                                       #:84432



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              November 28, 2016 Email from
3       804    Dubow re Richardson, Torres v.
        (*)    Nutrisystem, No. 12-cv-01854
4              (S.D. Cal.)                          Plaintiff
5              Redlined Joint FRCP 26(f)
        805    Report [NUTRI-0000103], Torres
6       (*)    v. Nutrisystem, No. 12-cv-01854
7              (S.D. Cal.)                          Plaintiff
               Service of Process Transmission
8       806    (Sep. 24, 2012) [NUTRI-
9       (*)    0000367], Torres v. Nutrisystem,
               No. 12-cv-01854 (S.D. Cal.)          Plaintiff
10
               USA Sales Tree [NUTRI-
        807
11             0000011], Torres v. Nutrisystem,
        (*)
               No. 12-cv-01854 (S.D. Cal.)          Plaintiff
12
               Weiner v. ARS National Services
13             Order Granting MtD (July 5,
        808
               2012) [NUTRI-0000758], Torres
14      (*)
               v. Nutrisystem, No. 12-cv-01854
15             (S.D. Cal.)                          Plaintiff
16
               Proof of Service of Complaint
        809    (Oct. 12, 2012), Dkt. 1, Torres v.
17      (*)    Nutrisystem, No. 12-cv-01854
18             (S.D. Cal.)                          Plaintiff
               March 19, 2013 Emails re Reply
19      810    Brief on Nutrisystem motion
20             [NTG004897]                          Plaintiff
               March 19, 2013 Emails re Key
21             Points Nutra [NTG004908],
        811
22             Torres v. Nutrisystem, No. 12-cv-
               01854 (S.D. Cal.)                    Plaintiff
23             March 26, 2013 Email from
24             Johnson to S. Ferrell re
        812    Richardson phone number
25
        (*)    [NUTRI-0000212], Torres v.
26             Nutrisystem, No. 12-cv-01854
               (S.D. Cal.)                          Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              54
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 56 of 224 Page ID
                                       #:84433



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           August 11, 2012 Emails between
3           Baslow and S. Ferrell re
            Himalaya wiretap case
4       813
            [NTG006150], Schoonover v.
5           Himalaya, No. 3:12-cv-01782-
            JLS (S.D. Cal.)                      Plaintiff
6           July 17, 2012 Email from S.
7           Ferrell to Knowles re Himalaya
        814 complaint [NTG005986],
8           Schoonover v. Himalaya, No.
9           3:12-cv-01782-JLS (S.D. Cal.)        Plaintiff
            Confidential Declaration of
10      815
            Rafael Cervantes (Aug. 23, 2017)     Plaintiff
11          Declaration of Rafael Cervantes,
        816
            A (list of phone calls)              Plaintiff
12
            Declaration of Rafael Cervantes,
        817
13          B                                    Plaintiff
            Declaration of Rafael Cervantes,
14
            C (audio recording of phone call
        818
15          from 818-519-0164 on July 16,
16
            2012)                                Plaintiff
            Declaration of Rafael Cervantes,
17          D (audio recording of phone call
        819
18          from 714-396-6971 on July 17,
            2012)                                Plaintiff
19          Declaration of Rafael Cervantes,
20      820 E (confidential settlement
            agreement)                           Plaintiff
21      821 Schoonover Privilege Log (May
22      (*) 26, 2017)                            Plaintiff
        822 Schoonover Privilege Log (May
23
        (*) 30, 2017)                            Plaintiff
24          July 17, 2012 Email from Baslow
        823 re retention docs [NTG006633],
25
        (*) Schoonover v. Himalaya, No.
26          3:12-cv-01782-JLS (S.D. Cal.)        Plaintiff
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            55
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 57 of 224 Page ID
                                       #:84434



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              October 31, 2012 Email from
3              Baslow re client settlement
        824
               approval [NTG006410],
4       (*)
               Schoonover v. Himalaya, No.
5              3:12-cv-01782-JLS (S.D. Cal.)       Plaintiff
               July 18, 2012 Email from
6              Schoonover re clint retention
        825
7              docs [SCHOONOVER00003],
        (*)
               Schoonover v. Himalaya, No.
8              3:12-cv-01782-JLS (S.D. Cal.)       Plaintiff
9              August 25, 2012 Email from
               Harris re Himalaya
10      827
               [NTG006197], Schoonover v.
        (*)
11             Himalaya, No. 3:12-cv-01782-
               JLS (S.D. Cal.)                     Plaintiff
12
               March 15, 2012 Email from
13             Knowles re Boericke & Tafel
        828
               complaint [NTG005197],
14      (*)
               Schoonover v. Himalaya, No.
15             3:12-cv-01782-JLS (S.D. Cal.)       Plaintiff
16
               July 3, 2012 Email from Lally re
               settlement agreement
17
        829
               [NTG005066], Schoonover v.
        (*)
18
               Himalaya, No. 3:12-cv-01782-
               JLS (S.D. Cal.)                     Plaintiff
19             July 9, 2012 Email from Lally re
20      830    demand letters [NTG005118],
        (*)    Schoonover v. Himalaya, No.
21             3:12-cv-01782-JLS (S.D. Cal.)       Plaintiff
22             June 28, 2012 Email from Lally
               to Ferrell re CLRA claims
23      831
               settlement [NTG005061],
        (*)
24             Schoonover v. Himalaya, No.
               3:12-cv-01782-JLS (S.D. Cal.)       Plaintiff
25
               August 29, 2012 Email re
26      832    Himalaya FAC [NTG000230],
        (*)    Schoonover v. Himalaya, No.
27
               3:12-cv-01782-JLS (S.D. Cal.)       Plaintiff
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              56
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 58 of 224 Page ID
                                       #:84435



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              July 19, 2012 Email from
3              Knowles re Retainer
        833
               [NTG006026], Schoonover v.
4       (*)
               Himalaya, No. 3:12-cv-01782-
5              JLS (S.D. Cal.)                      Plaintiff
               July 17, 2012 revised Email from
6              Schoonover re Himalaya phone
        835
7              call [NTG006632], Schoonover v.
        (*)
               Himalaya, No. 3:12-cv-01782-
8              JLS (S.D. Cal.)                      Plaintiff
9              July 6, 2012 Email from S.
               Ferrell to Lally re Pfleg
10      836
               Settlement [NTG000736],
        (*)
11             Schoonover v. Himalaya, No.
               3:12-cv-01782-JLS (S.D. Cal.)        Plaintiff
12
               July 6, 2012 Email from Ferrell re
13      837    Pfleg Settlement [NTG005081],
        (*)    Schoonover v. Himalaya, No.
14
               3:12-cv-01782-JLS (S.D. Cal.)        Plaintiff
15             July 7, 2012 Email from S.
16
        838    Ferrell re [NTG005733],
        (*)    Schoonover v. Himalaya, No.
17             3:12-cv-01782-JLS (S.D. Cal.)        Plaintiff
18             Schoonover text messages
               [SCHOONOVER00093, 103-
19      839
               104], Schoonover v. Himalaya,
        (*)
20             No. 3:12-cv-01782-JLS (S.D.
               Cal.)                                Plaintiff
21      840    Declaration of Sam Schoonover
22      (*)    (March 7, 2017), Dkt. 375-4,         Plaintiff
                NTG Demand Letter (Jan. 30,
23      841    2012), Dkt. 1, Schoonover v.
24      (*)    Vogue, No. 8:12-cv-00859-JLS
               (C.D. Cal.)                          Plaintiff
25
               Morris v. Vogue, Class Action
26      842    Complain (Jan. 30, 2012), Dkt. 1,
        (*)    Schoonover v. Vogue, No. 8:12-
27
               cv-00859-JLS (C.D. Cal.)             Plaintiff
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              57
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 59 of 224 Page ID
                                       #:84436



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           Proof of Service of Complaint
3       843 (Mar. 7, 2012), Dkt. 1),
        (*) Schoonover v. Vogue, No. 8:12-
4           cv-00859-JLS (C.D. Cal.)             Plaintiff
5           Sep. 6, 2012 Email from Baslow
            to Demulder re New Case
6           Relacore [NTG006666], also
        844
7           filed as Dkt. 1108-19, Demulder
            v. Carter-Reed, No. 3:12-cv-
8           02232-BTM (S.D. Cal.)                Plaintiff
9           Sep. 6, 2012 Email from S.
            Ferrell to Baslow re K&P
10          retention [NTG006669], also
        845
11          filed as Dkt. 1108-39, Demulder
            v. Carter-Reed, No. 3:12-cv-
12
            02232-BTM (S.D. Cal.)                Plaintiff
13          Demulder Supplemental ROG
            Responses (May 11, 2017),
14      846
            Demulder v. Carter-Reed, No.
15          3:12-cv-02232-BTM (S.D. Cal.)        Plaintiff
16
            Demulder Verification re ROG
            Responses (May 12, 2017),
17
        847
            Demulder v. Carter-Reed, No.
18
            3:12-cv-02232-BTM (S.D. Cal.)        Plaintiff
            Email SF & Baker re Wiretap
19          Referral Complaints,
20      848 NTG006693, Demulder v. Carter-
            Reed, No. 3:12-cv-02232-BTM
21          (S.D. Cal.)                          Plaintiff
22          Sep. 10, 2012 Email from Baslow
            to Demulder re Wiretap Referral
23      849 Relacore [NTG000104],
24          Demulder v. Carter-Reed, No.
            3:12-cv-02232-BTM (S.D. Cal.)        Plaintiff
25
            Sep. 10, 2012 Email from H.
26          Baker to Baslow re Demulder
        850 [NTG006678], Demulder v.
27
            Carter-Reed, No. 3:12-cv-02232-
28          BTM (S.D. Cal.)                      Plaintiff
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            58
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 60 of 224 Page ID
                                       #:84437



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2           Sep. 6, 2012 Email from Baslow
3           to S. Ferrell re Relacore class rep
        851 [NTG006668], Demulder v.
4           Carter-Reed, No. 3:12-cv-02232-
5           BTM (S.D. Cal.)                       Plaintiff
            July 2, 2012 Email from S.
6           Ferrell to Baslow re 800 Wiretap
7       852 Investigation [NTG006665],
            Demulder v. Carter-Reed, No.
8           3:12-cv-02232-BTM (S.D. Cal.)         Plaintiff
9           Demulder Responses to ROGs,
            Set One (Aug. 15, 2016),
10      853
            Demulder v. Carter-Reed, No.
11          3:12-cv-02232-BTM (S.D. Cal.)         Plaintiff
            Proof of Service of Complaint
12
            (Sep. 21, 2012), Dkt. 3, Demulder
        854
13          v. Carter-Reed, No. 3:12-cv-
            02232-BTM (S.D. Cal.)                 Plaintiff
14
            Sep. 10, 2012 Email from S.
15          Ferrell to H. Baker re Wiretap
            Referral Complaints
16      855
            [NTG006687], filed as Dkt.
17
        (*)
            1108-42, Demulder v. Carter-
18
            Reed, No. 3:12-cv-02232-BTM
            (S.D. Cal.)                           Plaintiff
19          Sep. 17, 2012 Email from Wise to
20          W. Ferrell and S. Ferrell re
        856 Contacts [NTG006708], filed as
21      (*) Dkt. 1109-24, Demulder v.
22          Carter-Reed, No. 3:12-cv-02232-
            BTM (S.D. Cal.)                       Plaintiff
23          Demulder's Supplemental
24          Responses to RFPs (May 11,
        857
            2017), Demulder v. Carter-Reed,
25      (*)
            No. 3:12-cv-02232-BTM (S.D.
26          Cal.)                                 Plaintiff
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             59
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 61 of 224 Page ID
                                       #:84438



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              Sep. 12, 2012 Email from H.
3              Baker to Baslow re Wiretap
        858
               Referrals [NTG006697],
4       (*)
               Demulder v. Carter-Reed, No.
5              3:12-cv-02232-BTM (S.D. Cal.)       Plaintiff
               Sep. 11, 2012 Emails between H.
6              Baker and S. Ferrell re updated
7       859    Wiretap Complaints
        (*)    [NTG006691], Demulder v.
8              Carter-Reed, No. 3:12-cv-02232-
9              BTM (S.D. Cal.)                     Plaintiff
               Sep. 10, 2012 Emails between
10             Baslow and Demulder re referral
11      860    [DEMULDER00001-
        (*)    DEMULDER00006], Demulder
12
               v. Carter-Reed, No. 3:12-cv-
13             02232-BTM (S.D. Cal.)               Plaintiff
               Sep. 12, 2012 Email from
14      861
               Demulder to Baslow re Retainer
        (*)
15             [NTG000242]                         Plaintiff
16
               Sep. 13, 2012 Emails between
               Baslow and S. Ferrell re
17
        862
               Demulder [NTG006706],
        (*)
18
               Demulder v. Carter-Reed, No.
               3:12-cv-02232-BTM (S.D. Cal.)       Plaintiff
19             July 18, 2012 Email from S.
20             Ferrell to H. Baker re wiretap
        863
               referrals [NTG000379],
21      (*)
               Demulder v. Carter-Reed, No.
22             3:12-cv-02232-BTM (S.D. Cal.)       Plaintiff
        864    Demulder Responses to RFPs
23      (*)    (Set One) (Aug. 15, 2016)           Plaintiff
24             Decl. of Bode (Nov. , 2012), Dkt.
        865
               8, Demulder v. Carter-Reed, No.
25      (*)
               3:12-cv-02232-BTM (S.D. Cal.)       Plaintiff
26             NTG of Dismissal, Dkt. 14
        866    [NIC_0028156], Demulder v.
27
        (*)    Carter-Reed, No. 3:12-cv-02232-
28             BTM (S.D. Cal.)                     Plaintiff
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              60
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 62 of 224 Page ID
                                       #:84439



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Sep. 6, 2012 Email from S.
3              Ferrell to M. Kelly with client
        867    summary [NTG006672], filed as
4       (*)    Dkt. 1108-40, Demulder v.
5              Carter-Reed, No. 3:12-cv-02232-
               BTM (S.D. Cal.)                      Plaintiff
6              Decl. of Demulder ISO Resp Opp
7              to Mtn to Remand (Jan. 10,
               2014), Dkt. 14-2 [PPK000004-
8       869
               PPK000006], Carter-Reed v.
9              Demulder, No. 2:16-cv-00057-
               DB (D.Utah)                          Plaintiff
10             Decl. of Nadolenco (Mar. 14,
11      870    2016), Dkt. 23-3, Carter-Reed v.
        (*)    Demulder, No. 2:16-cv-00057-
12
               DB (D.Utah)                          Plaintiff
13             Carter-Reed's Reply ISO Mtn to
               Remand (Apr. 18, 2016), Dkt. 46
14      871
               [NIC_0037562], Carter-Reed v.
        (*)
15             Demulder, No. 2:16-cv-00057-
               DB (D.Utah)                          Plaintiff
16
               Suppl. Decl. of Demulder ISO
17             Opp to Mtn to Remand (May 24,
18
        872    2016), Dkt. 64 [PPK000007-
        (*)    PPK000010], Carter-Reed v.
19             Demulder, No. 2:16-cv-00057-
20             DB (D.Utah)                          Plaintiff
               Transcript of the Deposition of T.
21             Demulder (May 25, 2016)
        873
22             [PPK000012-PPK000136],
        (*)
               Carter-Reed v. Demulder, No.
23             2:16-cv-00057-DB (D.Utah)            Plaintiff
24             Decl. of Demulder ISO Mtn to
               Dismiss (June 19, 2013), Dkt. 11
25      874
               [PPK000001-PPK000003],
        (*)
26             Carter-Reed v. Demulder, No.
               2:16-cv-00057-DB (D.Utah)            Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              61
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 63 of 224 Page ID
                                       #:84440



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           Carter-Reed's Memorandum in
3           Opposition to Demulder's Motion
        875
            to Dismiss (Mar. 16, 2016), Dkt.
4       (*)
            21, Carter-Reed v. Demulder, No.
5           2:16-cv-00057-DB (D.Utah)            Plaintiff
            Declaration of Jason Jackson
6       876
            (AT&T), April 3, 2017                Plaintiff
7           AT&T Phone Record Production,
        877 G (to Jackson Decl) -
8           ATT_Records_Key                      Plaintiff
9           AT&T Phone Record Production,
        878 H (to Jackson Decl) - Torres -
10
            ReportCT_2001133.004                 Plaintiff
11          AT&T Phone Record Production,
        879 I (to Jackson Decl) - Demulder -
12
            ReportCT_2001133.004                 Plaintiff
13          AT&T Phone Record Production,
        880 J (to Jackson Decl) - Pfleg -
14
            ReportCT_2001133.004                 Plaintiff
15          AT&T Phone Record Production,
16      881 K (to Jackson Decl) - Schoonover
            - ReportCT_2001133.004               Plaintiff
17          Verizon Production, NILON
18      882 Records, Verizon
            160085930_Stmnts_2011-2012C          Plaintiff
19          AT&T Phone Record Production,
20          A (to Jackson Decl) -
        883
            ReportAU_2001133.003
21          (Baslow)                             Plaintiff
22          AT&T Phone Record Production,
        884 B (to Jackson Decl) - Torres -
23
            ReportAU_2001133.004                 Plaintiff
24          AT&T Phone Record Production,
        885 C (to Jackson Decl) - Demulder -
25
            ReportAU_2001133.004                 Plaintiff
26          AT&T Phone Record Production,
        886 D (to Jackson Decl) - Pfleg -
27
            ReportAU_2001133.004                 Plaintiff
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            62
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 64 of 224 Page ID
                                       #:84441



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              AT&T Phone Record Production,
3       887    E (to Jackson Decl) - Schoonover
               - ReportAU_2001133.004               Plaintiff
4              AT&T Production, Jackson Decl.
        888
5              L (part 2) -
        (*)
               ReportCT_2001133.005                 Plaintiff
6              AT&T Production, Jackson Decl.
        889
7              F (part 1) -
        (*)
               ReportAU_2001133.005                 Plaintiff
8              AT&T Production, Jackson Decl.
        890
9              F (part 2) -
        (*)
               ReportAU_2001133.005                 Plaintiff
10
               AT&T Production, Jackson Decl.
        891
11             L (part 1) -
        (*)
               ReportCT_2001133.005                 Plaintiff
12
               NTG Responses to ROGs, Set
        892
13             one (July 11, 2016)                  Plaintiff
14
               NTG Responses to RFPs, Set One
        893
               (Aug. 15, 2016)                      Plaintiff
15             NTG Responses to RFPs, Set
        894
16             Two (Sep. 2, 2016)                   Plaintiff
               Order Granting in Part and
17      895    Denying in Part Plaintiff's Motion
18             for Sanctions (Dkt. 130)             Plaintiff
        896    NTG Response to RFP Set Three
19      (*)    (w/ Priv. Log) (Oct. 21, 2016)       Plaintiff
20      897    Demulder Privilege Log (May 26,
        (*)    2017)                                Plaintiff
21
        898    Dronkers Privilege Log (May 26,
22      (*)    2017)                                Plaintiff
        899    Pfleg Privilege Log (May 26,
23
        (*)    2017)                                Plaintiff
24      900    Schoonover Privilege Log (May
25
        (*)    30, 2017)                            Plaintiff
        901    NTG Privilege Log re NIC ROGs
26      (*)    Set One (July 5, 2017)               Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              63
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 65 of 224 Page ID
                                       #:84442



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              Judgment of Disbarment, State
3       903    Bar Nos. 18-1415 and 19-0040
        (*)    (May 22, 2019), In re Ryan
4              Ferrell                             Plaintiff
5              State Bar Complaint, No. PDJ-
        904
               2019-9023 (April 18, 2019), In re
6       (*)
               Ryan Ferrell                        Plaintiff
7       905    Decl. of Miro Posavec (April 9,
        (*)    2018) [NIC_0044604]                 Plaintiff
8              Ninth Circuit Order Disbarring R.
9       906    Ferrell, State Bar No. 19-80072
        (*)    (July 16, 2019), In re Ryan
10
               Ferrell                             Plaintiff
11      907    Scott Ferrell’s Responses to
        (*)    ROGs, Set One (July 11, 2016)       Plaintiff
12
        908    Scott Ferrell’s Responses to
13      (*)    ROGs, Set Two (Aug. 15, 2016)       Plaintiff
14
               Scott Ferrell’s Supplemental
        909
               Response to ROG No. 6, Set Two
15
        (*)
               (Sep. 16, 2016)                     Plaintiff
16             Scott Ferrell’s Further
        910
               Supplemental Response to ROG
17      (*)
               No. 6, Set Two (Oct. 21, 2016)      Plaintiff
18             Depo Tr. of the Rule 30(b)(6)
        911    Deposition of Nutrisystem
19      (*)    (Wayne Crossman) (Feb. 27,
20             2018)                               Plaintiff
        912    Depo Tr. of the Deposition of
21      (*)    Wynn Ferrell (Aug. 21, 2020)        Plaintiff
22             Depo Tr. of the Rule 30(b)(6)
        913
               Depo of Carter-Reed (Ronald
23      (*)
               Price) (Mar. 15, 2018)              Plaintiff
24              Causillas v. Wellnx Life
               Sciences USA, Dkt. 1, Class
25      914
               Action Complaint, Causillas v.
        (*)
26             Wellnx Life Sciences USA, No.
               2:12-cv-10044-JFW (C.D. Cal.)       Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              64
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 66 of 224 Page ID
                                       #:84443



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              Vamvakias v. Lincoln,
3       915    Complaint, Dkt. 1, Vamvakias v.
        (*)    Lincoln, No. 5:12-cv-01776-DDP
4              (C.D. Cal.)                         Plaintiff
5              Doucette v. Rent-A-Car,
        916    Complaint, Dkt. 1, Doucette v.
6       (*)    Rent-A-Car, No. 12-cv-6886
7              (C.D. Cal.)                         Plaintiff
               Clark v. MyLife, Dkt. 12-2,
8       917    Declaration of Andrew Baslow,
9       (*)    Clark v. MyLife, No. 2:12-cv-
               06889-R (C.D. Cal.)                 Plaintiff
10
               Shin v. Digi-Key, Dkt. 11-3,
11      918    Decl. of Andrew Baslo, Shin v.
        (*)    Digi-Key, No. 2:12-cv-05415-PA
12
               (C.D. Cal.)w                        Plaintiff
13             Williams v. MyLife, Dkt. 12-2,
        919    Decl. of Andrew Baslow, Clark v.
14
        (*)    MyLife, No. 2:12-cv-06889-R
15             (C.D. Cal.)                         Plaintiff
16
               Neal v. NaturalCare, Dkt. 17-8,
        920    Decl. of Andrew Baslow, Neal v.
17      (*)    NaturalCare, No. 5:12-cv-00531-
18             DOC (C.D. Cal.)                     Plaintiff
               Neal v. NaturalCare, Dkt. 36-9,
19      921    Decl. of Andrew Baslow, Neal v.
20      (*)    NaturalCare, No. 5:12-cv-00531-
               DOC (C.D. Cal.)                     Plaintiff
21             Doe v. Biotab, Dkt. 20-6, Class
22      922    Action Complaint, Doe v. Biotab,
        (*)    No. 8:12-cv-01854-CJC (C.D.
23             Cal.)                               Plaintiff
24             Harris v. Pristine Bay dba
               Vianda, Dkt. 1, NTG Complaint
25      923
               against Pristine Bay, Harris v.
        (*)
26             Pristine Bay dba Vianda, No. 8:1-
               cv-01481-CJC (C.D. Cal.)            Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              65
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 67 of 224 Page ID
                                       #:84444



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Shin v. Digi, Dkt. 11-3,
3       924    Declaration of Andrew Baslow,
        (*)    Shin v. Digi-Key, No. 2:12-cv-
4              05415-PA (C.D. Cal.)                 Plaintiff
5              Bowe v. Public Storage, Dkt.
        925    100, Bowe Motion to Disqualify,
6       (*)    Bowe v. Public Storage, No.
7              1:14-cv-21559-UU (S.D. Fla.)         Plaintiff
               Doe v. NAC Marketing, Dkt. 26,
8       926    NAC's Opp. to Mot. for attorney
9       (*)    fees, Doe v. NAC Marketing, No.
               3:15-cv-02522-AJB (S.D. Cal.)        Plaintiff
10
               Perea v. Humana Pharmacy, Dkt.
11             34, Perea's Opp to Humana's Mot.
        927
               to Dismiss, Perea v. Humana
12      (*)
               Pharmacy, No. 8:12-cv-01881-
13             JLS (C.D. Cal.)                      Plaintiff
               Delarosa v. Boiron, Dkt. 52-5,
14
        928    Baslow Declaration, Delarosa v.
15      (*)    Boiron, No. 8:10-cv-01569-BRO
16
               (C.D. Cal.)                          Plaintiff
               KMF Settlement Agreement
17      929    [NTG004795], Dronkers v. KMF,
18             No. 12-cv-1151-JAH                   Plaintiff
               Jan. 6, 2014 Email from S. Ferrell
19             to Para re KMf Settlement
        930
20             [NTG015261], filed as Dkt.
        (*)
               1113-24, Dronkers v. KMF, No.
21             12-cv-1151-JAH                       Plaintiff
22             Nov. 19, 2013 Email from
        931    Baslow to Baker re Settlement
23      (*)    [NTG014788], Dronkers v. KMF,
24             No. 12-cv-1151-JAH                   Plaintiff
               Nov. 19, 2013 Emails with
25
               Baslow, Baker, Knowles re
        932
26             template Complaint
        (*)
               [NTG014748], Dronkers v. KMF,
27
               No. 12-cv-1151-JAH                   Plaintiff
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              66
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 68 of 224 Page ID
                                       #:84445



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           Declaration of Angela Diesch
        933
3           (June 15, 2018), Dronkers v.
        (*)
            KMF, No. 12-cv-1151-JAH              Plaintiff
4       934 A to Diesch Decl., Dronkers v.
5       (*) KMF, No. 12-cv-1151-JAH              Plaintiff
            Proof of Service of Complaint,
6       935
            Dkt. 3, Dronkers v. KMF, No.
        (*)
7           12-cv-1151-JAH                       Plaintiff
            April 19, 2012 Emails between
8           Knowles & Telles re green
9       936 washing complaints
        (*) [NTG014605], filed earlier as
10
            Dkt. 1108-15, Dronkers v. KMF,
11          No. 12-cv-1151-JAH                   Plaintiff
            April 26, 2012 Emails between
12
            Knowles & Peterson re Client
        937
13          Docs [NTG014703], filed earlier
        (*)
            as Dkt. 1109-26, Dronkers v.
14
            KMF, No. 12-cv-1151-JAH              Plaintiff
15          Ed McIntyre Supplemental
        938
16
            Expert Report                        Plaintiff
            Ed McIntyre Supplemental
17      939
            Expert Report, 1                     Plaintiff
18          Ed McIntyre Supplemental
        940
            Expert Report, 2                     Plaintiff
19          Ed McIntyre Supplemental
        941
20          Expert Report, 3                     Plaintiff
            Ed McIntyre Supplemental
21      942
            Expert Report, 4                     Plaintiff
22          Glen Bard Expert
        943
            Report,Attachment #4                 Plaintiff
23
            Glen Bard Expert
        944
24          Report,Attachment #5                 Plaintiff
            Glen Bard Expert
25      945
            Report,Attachment #6                 Plaintiff
26          Glen Bard Expert
        946
27          Report,Attachment #7.docx"           Plaintiff
            Glen Bard Expert
28      947
            Report,Attachment #8                 Plaintiff
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            67
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 69 of 224 Page ID
                                       #:84446



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2              Glen Bard Expert Report,
        948
3              Attachment #1                      Plaintiff
               Glen Bard Expert
4       949
               Report,Attachment #2               Plaintiff
5              Glen Bard Expert
        950
               Report,Attachment #3               Plaintiff
6       951    Grant Stiefel Expert Report, B
7       (*)    to Report                          Plaintiff
        952    Grant Stiefel Expert Report, C
8       (*)    to Report                          Plaintiff
9       953    Grant Stiefel, Emord &
        (*)    Associates Invoices                Plaintiff
10
        954    Grant Stiefel, Emord &
11      (*)    Associates Retainer with NIC       Plaintiff
               Grant Stiefel,Retainer
12      956
               Agreement, NTG000189-
13
        (*)
               NTG000224                          Plaintiff
14             Maryellen Sebold Expert, Exh. 4
        957
               Schedule 4                         Plaintiff
15             Maryellen Sebold Expert, Exh. 4
        958
16             Schedule 5                         Plaintiff
        959    Maryellen Sebold Expert, Exh. 5    Plaintiff
17      960    Maryellen Sebold Expert, Exh. 6    Plaintiff
18      961    Maryellen Sebold Expert, Exh. 7    Plaintiff
        962    Maryellen Sebold Expert, Exh. 9    Plaintiff
19
        963    Maryellen Sebold Expert, Exh. 10   Plaintiff
20      964    Maryellen Sebold Expert, Exh. 12   Plaintiff
21
        965    Maryellen Sebold Expert, Exh. 13   Plaintiff
        966
22      (⁎)    Maryellen Sebold Expert, Exh. 14   Plaintiff
23      967    Maryellen Sebold Expert, Exh. 15   Plaintiff
        968    Maryellen Sebold Expert, Exh. 16   Plaintiff
24      969    Maryellen Sebold Expert, Exh. 17   Plaintiff
25      970    Maryellen Sebold Expert, Exh. 19   Plaintiff
               Maryellen Sebold Expert, Dkt.
26      971
               277                                Plaintiff
27             Maryellen Sebold Expert, Dkt.
        972
               278                                Plaintiff
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             68
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 70 of 224 Page ID
                                       #:84447



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           Maryellen Sebold Expert, Dkt.
        973
3           279                                  Plaintiff
            Maryellen Sebold Expert, Exh. 4
4       974
            Schedule 2                           Plaintiff
5           Maryellen Sebold Expert, Exh. 4
        975
            Schedule 3                           Plaintiff
6           Maryellen Sebold Expert, NTG's
        976
7           Responses to Interrogatories Set
        (*)
            One                                  Plaintiff
8           Maryellen Sebold Expert, First
        978
9           Set of Request for Production to
        (*)
            NTG                                  Plaintiff
10
        979 Martinelli Case History - 06-2017    Plaintiff
11          Sean Devlin Expert Report,
        980
            Signature Page                       Plaintiff
12
            7-10-2015 E-mails between S.
13          Ferrell and Dave Reid re new
14
        981 case investigations, NTG066866,
            Natural Product Solutions v.
15          Strataluz                            Plaintiff
16          6-10-2015 Email between Hikida
            & S. Ferrell re SLAPP/atty fees,
17      982
            NTG066587, Natural Product
18          Solutions v. Strataluz               Plaintiff
            6-15-2015 Email between Jung &
19      983 others re weekly charts,
20          NTG066637                            Plaintiff
            5-4-2015 Email between Hardin
21
        986 & SF re cellulite cases,
22          NTG066220, Quintogos                 Plaintiff
            5-5-2015 Email between Reid
23
        987 and Hardin re cellulite suits,
24          NTG067194, Quintogos                 Plaintiff
            5-6-2015 Email between Reid &
25
        988 SF re Strataluz strategy,
26          NTG067200, Quintogos                 Plaintiff
27          Articles of Organization
        989
            Corporpate Filings, Quintogos        Plaintiff
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            69
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 71 of 224 Page ID
                                       #:84448



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           Operating Agreement,
        990
3           NTG062923, Quintogos                 Plaintiff
            6-9-2015 Letter in response to
4      991 demand, NTG070762, Strataluz
5           v. Enzyte                            Plaintiff
            6-6-2015 Email between Reid
6      992 and S. Ferrell re strategy,
7           NTG067138, Strataluz v. Eversilk     Plaintiff
            5-14-2015 Email between Reid
8      993 and SF re litigation targets,
9           NTG067126, Strataluz v. Gluten       Plaintiff
            6-8-2015 Email between Reid &
10
            SF re: demand response,
       994
11          NTG067263, Strataluz v. Mio
            Skincare                             Plaintiff
12
            Settlement Agreement,
13     995 NTG069267, Strataluz v.
            Nip+Fab                              Plaintiff
14
            7-1-2015 Email between Bentley
15          and SF re settlement offer,
       996
16          NTG066758, Strataluz v.
            Nip+Fab                              Plaintiff
17          7-22-2015 Email between Hardin
18     997 & SF re settlement, NTG066923,
            Strataluz v. Nip+Fab                 Plaintiff
19          8-6-2015 Email between SF and
20          Para re wiring settlement money,
       998
            NTG070900, Strataluz v.
21          Nip+Fab                              Plaintiff
22          6-2-2015 Email between Jung &
       999 SF re filings, NTG069907,
23
            Strataluz v. TruDerma                Plaintiff
24          6-3-2015 Email between Knowles
            and SF re complaint drafting,
25     1000
            NTG070216, Strataluz v.
26          TruDerma                             Plaintiff
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            70
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 72 of 224 Page ID
                                       #:84449



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2              6-5-2015 Email between Jung &
3              SF re TruDerma was served,
       1001
               NTG070091, Strataluz v.
4              TruDerma                           Plaintiff
5              Dkt. 6 Answer to Complaint &
       1002    Counterclaim Accused of Fraud,
6              Strataluz v. TruDerma              Plaintiff
7               Settlement Agreement,
       1003
               NTG069803, Strataluz v. Twinlab    Plaintiff
8              7-22-2015 Email between
9      1004    Knowles & SF re draft complaint,
               NTG069121, Strataluz v. Twinlab    Plaintiff
10
               9-16-2015 Email between SF &
11     1005    Para re settlement payments,
               NTG070908, Strataluz v. Twinlab    Plaintiff
12
               1-8-2014 Email between SF &
13     1006    Etam re corporate formation,
               NTG067915,                         Plaintiff
14
               1-31-2014 Email between Para &
15     1007    SF re Office Update,
16             NTG067483,                         Plaintiff
               5-4-2015 Email between Bentley
17     1008
               & SF re strategy, NTG066214,       Plaintiff
18             5-4-2015 Email between SF &
       1009    Bentley re litigation targets,
19             NTG070517,                         Plaintiff
20             5-7-2015 Email between SF &
       1010    Knowles re litigation targets,
21             NTG070537,                         Plaintiff
22             5-8-2015 Email between Knowles
       1011    & Kirschner re demand letters,
23
               NTG068811,                         Plaintiff
24             5-14-2015 Email from SF re male
       1012
               enhancement suits, NTG071182,      Plaintiff
25
               5-15-2015 Email from SF re
       1013
26             litigation idea, NTG070603,        Plaintiff
27             5-21-2015 Email from SF re
       1014
               litigation idea, NTG070634,        Plaintiff
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             71
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 73 of 224 Page ID
                                       #:84450



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2              5-27-2015 Email between
3              Knowles & SF re Male
       1015
               Enhancement Demand Template,
4              NTG069935,                        Plaintiff
5              5-27-2015 Email between SF &
       1016    Knowles re litigation targets,
6              NTG070703,                        Plaintiff
7              5-27-2016 Email between Weiss
       1017    & Reid re Strataluz Sales
8              Summary, NTG071194,               Plaintiff
9              6-2-2015 Natural Product
       1020
               Solutions demand, NTG065733,      Plaintiff
10
               6-2-2015 Nutrex Research
       1021
11             demand, NTG065735,                Plaintiff
               6-2-2015 Pristine Bay demand,
12     1022
               NTG065731,                        Plaintiff
13             6-2-2015 Twinlab Corp demand,
       1023
14
               NTG065737,                        Plaintiff
               6-3-2015 Email between Knowles
15     1024    & SF re demand letters,
16             NTG068999,                        Plaintiff
               6-4-2015 Email between SF,
17     1025    Reid, & Knowles re settlement
18             goals, NTG070742,                 Plaintiff
               6-5-2015 Email between Bentley
19     1026    & SF re Promaxal website,
20             NTG070338,                        Plaintiff
               6-5-2015 Email between SF &
21
       1027    Bentley re Promaxal website,
22             NTG070875,                        Plaintiff
               6-5-2015 Truderma demand,
23     1028
               NTG064097,                        Plaintiff
24             6-24-2015 Nip+Fab Limited
       1029
               demand, NTG066019,                Plaintiff
25
               9-2-2015 Email between Reid &
26     1030    SF re litigation priority,
27             NTG067177,                        Plaintiff
               Articles of Organization
28     1031
               Corporate Filings,                Plaintiff
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            72
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 74 of 224 Page ID
                                       #:84451



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2              Demand Template Variable 1,
       1032
3              NTG070209,                         Plaintiff
               Indemnification Agreement for
4      1033
               Josh Miller, NTG067515,            Plaintiff
5              Operating Agreement,
       1034
               NTG067526,                         Plaintiff
6              Business Entity Information,
       1035
7              Tawnsaura Group                    Plaintiff
               Articles of Incorporation
8      1036    Corporate Filings, Binary
9              Resource Management                Plaintiff
               License Agreement with
10     1037
               Strataluz, NTG070041, Harcol       Plaintiff
11             Articles of Incorporation
       1038    Corporate Filings, International
12
               Brandery                           Plaintiff
13             5-22-2015 Email from S. Ferrell
14
       1039    to Parra re license payment
               [NTG070652],                       Plaintiff
15             6-5-2015 Email from Hardin to S.
16             Ferrell and Dave Reid re
       1040
               Promaxal advertising
17             [NTG067118],                       Plaintiff
18             Operating Agreement,
       1041    NTG062968, Binary Resource
19      (*)    Management                         Plaintiff
20
       1042 Dkt. 1 Complaint, NTG067078,
21
        (*) Blissworld v. Strataluz        Plaintiff
22          Digital media of ProMAXAL
            60sec V1 advertisement
23
       1043 (accessible at,
24      (*) https://www.youtube.com/watch?
            v=Km0OILjGhcs),                Plaintiff
25
            2-3-2016 Email between SF &
26     1044 Borts re dispute, NTG070914,
27
        (*) Continuity                     Plaintiff

28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             73
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 75 of 224 Page ID
                                       #:84452



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           2-3-2016 Email between SF &
3      1045 Reid re Borts response,
        (*) NTG070912, Continuity                Plaintiff
4
5      1046 Business Entity Information,
        (*) Harcol Research LLC                  Plaintiff
6           Operating Agreement,
7      1047 NTG067534, International
        (*) Brandery                             Plaintiff
8           7-14-2015 Email between
9           Kirshner & Reid re signature for
       1048
            Bentley, NTG066886, Natural
10      (*)
            Product Soluctions v. Strataluz      Plaintiff
11          6-29-2015 Email Himmelrich &
            Reid re settlement
12
       1049 communications, NTG063450,
13      (*) Natural Product Soluctions v.
            Strataluz                            Plaintiff
14
            7-10-2015 Email SF &
15          Himmelrich re settlement,
       1050
16
            NTG064155, Natural Product
        (*)
            Soluctions v. Strataluz              Plaintiff
17          Settlement Agreement,
18     1051 NTG063626, Natural Product
        (*) Soluctions v. Strataluz              Plaintiff
19          7-8-2015 Email Hikida & Jung re
20          local counsel, NTG069690,
       1052
            Natural Product Soluctions v.
21      (*)
            Strataluz                            Plaintiff
22          7-8-2015 Email Jung & Hikida re
            pro hac admission, NTG070096,
23     1053
            Natural Product Soluctions v.
        (*)
24          Strataluz                            Plaintiff
            7-10-2015 Email Hikida & SF re
25
            Settlement Agreement,
       1054
26          NTG066835, Natural Product
        (*)
            Soluctions v. Strataluz              Plaintiff
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            74
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 76 of 224 Page ID
                                       #:84453



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              7-10-2015 Email SF & DR re
3              NPS settlement, NTG066825,
       1055
               Natural Product Soluctions v.
4       (*)
               Strataluz                           Plaintiff
5              7-10-2015 Email SF & Hikida re
               settlement agreement,
6      1056
               NTG070837, Natural Product
        (*)
7              Soluctions v. Strataluz             Plaintiff
               7-10-2015 Email SF & Hikida re
8              settlement agreement,
       1057
9              NTG066846, Natural Product
        (*)
               Soluctions v. Strataluz             Plaintiff
10
               6-11-2015 Email re filing in
11     1058    Maryland, NTG070257, Natural
        (*)    Product Soluctions v. Strataluz     Plaintiff
12
               6-12-2015 re transfer to CD Cal,
13     1059    NTG070339, Natural Product
        (*)    Soluctions v. Strataluz             Plaintiff
14
15     1060 ADA Physical Barriers Case
16
        (*) Chart, NTG066638                       Plaintiff

17     1061 ADA POS Case Chart,
18      (*) NTG066651                              Plaintiff

19     1062 ADA Website Case Chart,
20      (*) NTG066643                              Plaintiff
21     1063 Cellulute Cure Case Chart,
22      (*) NTG066658                              Plaintiff
23
       1064
24      (*) Gluten Case Chart, NTG066659           Plaintiff
25
       1065 Complaint for Breach, Obesity
26      (*) Research v. Weiss               Plaintiff
            1-28-2014 Email Para & Weiss re
27
       1066 Miller indemnification,
28      (*) NTG067594, Quintogos            Plaintiff
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              75
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 77 of 224 Page ID
                                       #:84454



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           5-5-2015 Email Bentley & SF re
3      1067 trademark app., NTG067448,
        (*) Quintogos                      Plaintiff
4           5-6-2015 Email Knowles & SF re
5      1068 demand letters, NTG068850,
        (*) Quintogos                      Plaintiff
6           5-21-2015 Email SF & Jung re
7      1070 demand letters and suits,
        (*) NTG066374,                     Plaintiff
8
9      1071 Draft Enzymatic Therapy
        (*) demand, NTG068866,                   Plaintiff
10
            6-11-2015 Email SF & Blinkoff
11     1072 re litigation, NTG064131,
        (*) Strataluz v. Bliss Direct            Plaintiff
12
            5-8-2015 Email Knowles & SF re
13     1073 draft complaint, NTG066226,
        (*) Strataluz v. Nip+Fab                 Plaintiff
14
            7-28-2015 Email SF & Knowles
15          re litigation documents,
       1074
16          NTG066929, Strataluz v.
        (*)
            Nip+Fab                              Plaintiff
17          7-29-2015 Email Knowles re
18     1075 signed agreement, NTG064032,
        (*) Strataluz v. Nip+Fab                 Plaintiff
19          8-7-2015 Email Bentley & Para
20     1076 re settlement, NTG066991,
        (*) Strataluz v. Nip+Fab                 Plaintiff
21          Dkt. 6 Corporate Disclosure
22     1077 Statement by Plaintiff, Strataluz
        (*) v. Nip+Fab                           Plaintiff
23
            6-8-2015 Letter in response to
24     1078 demand, NTG070753, Strataluz
        (*) v. Nutrex                            Plaintiff
25
            6-11-2015 Email Knowles & S.
26     1079 Ferrell re draft complaint,
        (*) NTG066592, Strataluz v. Nutrex       Plaintiff
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            76
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 78 of 224 Page ID
                                       #:84455



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              6-11-2015 Email Knowles & S.
3      1080    Ferrell re Enzyte complaint,
        (*)    NTG070227, Strataluz v. Nutrex      Plaintiff
4              6-1-2015 Email SF & Knowles re
5      1081    complaint, NTG070555, Strataluz
        (*)    v. Truderma                         Plaintiff
6              6-2-2015 Email SF & Knowles re
7      1082    draft complaint, NTG070560,
        (*)    Strataluz v. Truderma               Plaintiff
8              6-3-2015 Email Jung & Knowles
9      1083    re cover sheet, NTG070050,
        (*)    Strataluz v. Truderma               Plaintiff
10
               6-3-2015 Email Kirshner &
11             Knowles re draft complaint,
       1084
               NTG070976, Strataluz v.
12      (*)
               Truderma                            Plaintiff
13             6-4-2015 Email Jung & OC
       1085    Process re service, NTG070066,
14
        (*)    Strataluz v. Truderma               Plaintiff
15             6-4-2015 Email Jung & SF filed
16     1086    re filing, NTG066529 Strataluz v.
        (*)    Truderma                            Plaintiff
17             6-5-2015 Email Jung & SF re
18     1087    draft NDA, NTG066534,
        (*)    Strataluz v. Truderma               Plaintiff
19             6-5-2015 Email SF & Jung re
20     1088    complaints, NTG070748,
        (*)    Strataluz v. Truderma               Plaintiff
21             6-5-2015 Email SF & Knowles re
22     1089    complaint, NTG070746, Strataluz
        (*)    v. Truderma                         Plaintiff
23
               6-24-2015 Email Koch & SF re
24     1090    litigation, NTG063891, Strataluz
        (*)    v. Truderma                         Plaintiff
25
               6-26-2015 Email Koch & SF re
26     1091    demand, NTG064226, Strataluz
        (*)    v. Truderma                         Plaintiff
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              77
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 79 of 224 Page ID
                                       #:84456



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2              6-30-2015 Email re stip to
3      1092    continue deadline, NTG069978,
        (*)    Strataluz v. Truderma              Plaintiff
4              8-3-2015 Email Knowles & SF re
5      1093    draft document, NTG066937,
        (*)    Strataluz v. Truderma              Plaintiff
6              8-14-2015 Email Bentley & SF re
7      1094    settlement payment, NTG066995,
        (*)    Strataluz v. Truderma              Plaintiff
8              9-16-2015 Email Knowles & SF
9      1095    re settlement, NTG067014,
        (*)    Strataluz v. Truderma              Plaintiff
10
               6-24-2015 Email SF &
11     1096    Silverman, NTG064141,
        (*)    Strataluz v. Twinlab               Plaintiff
12
               7-2-2015 Email SF & Silverman
13     1097    re settlement correspondence,
        (*)    NTG064148, Strataluz v. Twinlab    Plaintiff
14
               7-10-2015 Email SF & Silverman
15     1098    re settlement, NTG064149,
16      (*)    Strataluz v. Twinlab               Plaintiff
               7-21-2015 Email SF & Knowles
17     1099    re draft complaint, NTG069134,
18      (*)    Strataluz v. Twinlab               Plaintiff
               7-22-2015 Email SF & Knowles
19     1100    re draft complaint, NTG070575,
20      (*)    Strataluz v. Twinlab               Plaintiff
               7-23-2015 Email Kirshner &
21       110
               Knowles re draft complaint,
        (*)1
22             NTG071056, Strataluz v. Twinlab    Plaintiff
               7-24-2015 Email SF & Rice re
23
       1102    draft complaint, NTG070846,
24      (*)    Strataluz v. Twinlab               Plaintiff
               7-24-2015 Email Jung & Rice re
25
       1103    draft complaint, NTG069913,
26      (*)    Strataluz v. Twinlab               Plaintiff
27
               7-24-2015 Email Knowles & SF
       1104    re draft complaint, NTG069093,
28      (*)    Strataluz v. Twinlab               Plaintiff
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             78
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 80 of 224 Page ID
                                       #:84457



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2              7-24-2015 Email Knowles & SF
3      1105    re draft complaint, NTG069119,
        (*)    Strataluz v. Twinlab               Plaintiff
4              7-24-2015 Email Rice & SF re
5      1106    draft complaint, NTG069841,
        (*)    Strataluz v. Twinlab               Plaintiff
6              7-24-2015 Email SF & Knowles
7      1107    re settlement discussions,
        (*)    NTG070848, Strataluz v. Twinlab    Plaintiff
8              7-24-2015 Email SF & Silverman
9      1108    re filing complaint, NTG064158,
        (*)    Strataluz v. Twinlab               Plaintiff
10
               8-14-2015 Email Bentley & SF,
11     1109    Reid re Promaxal, NTG066995,
        (*)    Strataluz v. Twinlab               Plaintiff
12
               8-14-2015 Email SF & Silverman
13     1110    re settlement, NTG064068,
        (*)    Strataluz v. Twinlab               Plaintiff
14
               8-21-2015 Email re execution of
15     1111    settlement, NTG066997,
16      (*)    Strataluz v. Twinlab               Plaintiff

17     1112 Draft Complaint, NTG064159,
18      (*) Strataluz v. Twinlab                  Plaintiff

19     1113 5-13-2015 Nuxe Demand,
20      (*) NTG066288,                            Plaintiff
            1-9-2014 Email Weiss & Reid re
21     1114 corporate formation,
22      (*) CONTINUITY_000003                     Plaintiff
            1-10-2014 Email Reid & Etam re
23
       1115 corporate formation,
24      (*) NTG067119,                            Plaintiff
            1-16-2014 Email Miller & SF re
25
       1116 draft operating agreement,
26      (*) NTG068446,                            Plaintiff
27
            1-16-2014 Email Schusterman &
       1117 SF re review for full
28      (*) indemnification, NTG068443,           Plaintiff
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             79
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 81 of 224 Page ID
                                       #:84458



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2
3      1118 1-16-2014 Email re addresses,
        (*) NTG068317,                           Plaintiff
4
5      1119 1-16-2014 Email Weiss &
        (*) Schusterman, NTG068435,              Plaintiff
6
7      1120 1-19-2015 Email Molski &
        (*) Bentley re Glutia, NTG064587,        Plaintiff
8           1-23-2014 Email Schusterman &
9      1121 Reid re corporate formation,
        (*) NTG068183,                           Plaintiff
10
            1-24-2014 Email Miller &
11     1122 Schusterman re corporate
        (*) formation, NTG068143,                Plaintiff
12
13     1123 1-28-2014 Email SF & Para re
        (*) signature, NTG067585,                Plaintiff
14
            1-30-2014 Email Schusterman &
15     1124 Para re corporate formation,
16      (*) NTG067488,                           Plaintiff

17     1125 2-3-2016 Email SF & Borts,
18      (*) NTG070914,                           Plaintiff

19     1126 2-3-2016 Email SF & Reid
20      (*) response, NTG070912,                 Plaintiff
21     1127 4-19-2016 Email SF & Para re
22      (*) Strataluz accounts, NTG065655,       Plaintiff
23
       1128 5-7-2015 Email Knowles & SF re
24      (*) cellulite demand, NTG068841,   Plaintiff
25
       1129 5-7-2015 Email Knowles & SF re
26      (*) Nip+Fab, NTG068837,            Plaintiff
27
       1130 5-7-2015 Knowles & SF re draft
28      (*) cellulite demand, NTG071179,         Plaintiff
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            80
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 82 of 224 Page ID
                                       #:84459



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2
3      1131 5-8-2015 Email SF & Knowles re
        (*) Lanham Act cases, NTG068834, Plaintiff
4
5      1132 5-11-2015 Bliss Direct demand,
        (*) NTG066011,                             Plaintiff
6           5-11-2015 Dermelect
7      1133 Cosmeceuticals demand,
        (*) NTG066282,                             Plaintiff
8
9      1134 5-11-2015 Mio Skincare
        (*) Demand, NTG066286,                     Plaintiff
10
11     1135 5-11-2015 Osmotics Corp
        (*) Demand, NTG066290,                     Plaintiff
12
            5-13-2015 Email Knowles &
13     1136 Kirschner re demands cellulite,
        (*) NTG068770,                             Plaintiff
14
15     1137 5-13-2015 LIERAC Demand,
16      (*) NTG066284,                             Plaintiff

17     1138 5-13-2015 Prtty Peaushun
18      (*) Demand, NTG066292,                     Plaintiff
            5-15-2015 Email Kirschner & SF
19     1139 re cellulite demands,
20      (*) NTG066278,                             Plaintiff
21     1140 5-18-2015 Email Knowles & SF
22      (*) re demands, NTG068881,                 Plaintiff
23
       1141 5-19-2015 Email Bentley & Reid
24      (*) re Glutia, NTG066311,                  Plaintiff
            5-19-2015 Email Knowles & SF
25
       1142 re Draft Glutia demand,
26      (*) NTG068876,                             Plaintiff
27
            5-19-2015 Email Knowles & SR
       1143 re Glutia draft demand,
28      (*) NTG066318,                             Plaintiff
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                              81
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 83 of 224 Page ID
                                       #:84460



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2
3      1144 5-20-2015 Core Science Medica
        (*) demand, NTG066045,                   Plaintiff
4
5      1145 5-20-2015 Email Knowles & SF
        (*) re gluten demand, NTG068860,         Plaintiff
6
7      1146 5-20-2015 Email Knowles & SF
        (*) re Glutia suits, NTG068870,          Plaintiff
8
9      1147 5-20-2015 Enzymatic Therapy
        (*) demand, NTG066047,                   Plaintiff
10
11     1148 5-20-2015 Enzyme Science
        (*) demand, NTG066049,              Plaintiff
12
            5-21-2015 Email Bentley & SF re
13     1149 timeline for product,
        (*) NTG071183,                      Plaintiff
14
15     1150 5-22-2015 Email SF & Bentley re
16      (*) license agreement, NTG070661, Plaintiff

17     1151 5-22-2015 Email SF & Magyar re
18      (*) license, NTG070198,            Plaintiff

19     1152 5-26-2015 Email Knowles & SF
20      (*) re demand, NTG066420,                Plaintiff
21     1153 5-26-2015 Email SF re Strataluz
22      (*) demand, NTG070208,                   Plaintiff
23
       1154 5-27-2015 Email Bentley & SF re
24      (*) product name, NTG066446,        Plaintiff
25
       1156 5-28-2016 Email Hardin & Reid
26      (*) re draft letter, NTG071236,          Plaintiff
27
            6-2-2015 Email Knowles &
       1157 Kirshner re male enhancement
28      (*) demands, NTG069643,                  Plaintiff
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            82
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 84 of 224 Page ID
                                       #:84461



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2
3      1158 Audio Recording (Baslow)
        (*) [NTG000354.wav]                      Plaintiff
4
5      1159 Audio Recording (Baslow)
        (*) [NTG000355.wav]                      Plaintiff
6
7      1160 Audio Recording (Nutrisystem
        (*) Greeting) [NTG002413.wav]            Plaintiff
8
9      1161 Audio Recording (Torres)
        (*) [NTG000356.wav]                      Plaintiff
10
11     1162 Timeline of Events regarding
        (*) Nilon v. NIC (Demonstrative )        Plaintiff
12
            Timeline of Events regarding
13     1163 Nilon v. Chromadex
        (*) (Demonstrative )                     Plaintiff
14
            Timeline of Events regarding
15     1164 Schoonover v. Himalaya
16      (*) (Demonstrative )                     Plaintiff
            Timeline of Events regarding
17     1165 Schoonover v. Vogue
18      (*) (Demonstrative )                     Plaintiff
            Timeline of Events regarding
19     1166 Pfleg v. Nature’s Way
20      (*) (Demonstrative )                     Plaintiff
            Timeline of Events regarding
21     1167 Demulder v. Carter-Reed
22      (*) (Demonstrative )                     Plaintiff
            Timeline of Events regarding
23
       1168 Carter-Reed v. Demulder
24      (*) (Demonstrative )                     Plaintiff
            Timeline of Events regarding
25
       1169 Dronkers v. Kiss My Face
26      (*) (Demonstrative )                     Plaintiff
27
            Timeline of Events regarding
       1170 Torres v. Nutrisystem
28      (*) (Demonstrative )                     Plaintiff
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            83
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 85 of 224 Page ID
                                       #:84462



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2
3      1171 Timeline of Events (General)
        (*) (Demonstrative )                       Plaintiff
4
5      1172 Timeline of Events regarding
        (*) Strataluz (Demonstrative )             Plaintiff
6             11/17/2014 OMSJ- Client
7             Agreement between Office of
        15 Medical & Scientific Justice, Inc.
8             and Carlos Negrete, Esq.,
9             (BAKER_0000123 - 0000125)            Defendant
              11/24/2014 E-mail from Clark
10
              Baker, to Theo Quinto, re
        16
11            notification of payment received,
              (BAKER_0000256 - 0000257)            Defendant
12
              2014 Tax Form 990 – Return of
13     17 (*) Organization Exempt From
              Income Tax for OMSJ                  Defendant
14
              05/02/2015 Declaration of Clark
15            Baker In Support of Defendant’s
16
              Reply to Plaintiff's Opposition to
       18 (*)
              Defendant’s Motion for Summary
17            Judgment in Nilon v. Natural
18            Immunogenics Corp.                   Defendant
              Clark Baker Invoice
19     19 (*)
              (NIC_0000109)                        Defendant
20            Clark Baker Invoice
       20 (*)
              (BAKER_0000508)                      Defendant
21            OMSJ Invoice
       21 (*)
22            (BAKER_0000510)                      Defendant
              OMSJ Invoice
23     22 (*)
              (BAKER_0000511)                      Defendant
24            OMSJ Invoice
       23 (*)
              (BAKER_0000516)                      Defendant
25
              Clark Baker Invoice
       24 (*)
26            (BAKER_0000517)                      Defendant
27
       25 (*) OMSJ Invoice (NIC_0001126)           Defendant
       26 (*) OMSJ Invoice (NIC_0001126)           Defendant
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              84
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 86 of 224 Page ID
                                       #:84463



1       Exh.
        No.     Description                      Offered By:    Objection(s):   Admitted:
2             04/20/2017 Clark Baker Private
       27 (*)
3             Detective Services                 Defendant
              03/14/2016 Declaration of Clark
4             Baker In Support of Plaintiff's
5             Consolidated Opposition to
       28 (*)
              Defendants' Special Motions to
6             Strike in Natural-Immunogenics
7             Crop. V. Newport Trial Group       Defendant
              02/22/2016 Giovanni Sandoval
8      59 (*)
              Declaration                        Defendant
9             09/02/2014 Email from Benjamin
       94 (*) Quinto Youthlink, to Andrew, re
10
              just a question                    Defendant
11            07/05/2017 Peter A. Arhangelsky
        104
              listing with the State Bar of
12      (*)
              Arizona                            Defendant
13            07/05/2017 Peter A. Arhangelsky
        105
              profile on Emord and Associates
14      (*)
              website                            Defendant
15            07/07/2017 Bethany R. Kennedy
        106
16            profile on Emord and Associates
        (*)
              website                            Defendant
17            07/07/2017 Eric J. Awerbuch
        107
18            profile on Emord and Associates
        (*)
              website                            Defendant
19            07/09/2017 Peter Arhangelsky
        108
20            listing with the State Bar of
        (*)
              California                         Defendant
21      109 04/15/2016 Plaintiff’s Amended
22      (*) Rule 26(a)(1) Initial Disclosure     Defendant
        110 04/27/2015 Atkinson-Baker
23
        (*) Invoice (NIC_0000107)                Defendant
24      111 05/11/2015 Atkinson-Baker
        (*) Transaction Receipt                  Defendant
25
              10/31/2015 Emord and
        112
26            Associates register printout for
        (*)
27
              billing statements                 Defendant

28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            85
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 87 of 224 Page ID
                                       #:84464



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              02/06/2015 Emord and
        113
3              Associates, P.C. Retainer
        (*)
               Agreement (NIC_0000053)              Defendant
4              02/06/2015 Credit card statement
5              indicating payment made to
        114
               Emord and Associates
6       (*)
               (CONFIDENTIAL
7              NIC_0001110)                         Defendant
               AMEX credit card slip for a
8       115
               $65,000.00 payment to Emord
        (*)
9              and Associates (NIC_0000059)         Defendant
               02/11/2015 Defendant’s
10      116
               Application for Substitution of
        (*)
11             Counsel (NTG060387)                  Defendant
               08/20/2014 Order on Plaintiff’s
12
        117    Motion for Substitute Class
13             Representative (NTG059595)           Defendant
               09/11/2014 Order (1) Granting
14
               Defendant’s Ex Parte Request for
15             Modification of Scheduling
16
        118    Order; and (2) Issuing First
               Amended Case Management
17             Conference Order (NTG059763 -
18             059769)                              Defendant
               02/20/2015 Defendant’s
19             Opposition to Plaintiff’s Ex Parte
20      119    Application to Strike Defendant’s
               Application to Substitute Counsel
21             (NTG060444 - 060479)                 Defendant
22             02/20/2015 Defendant’s Ex Parte
               Application Request to Modify
23             Rule 16(b) Scheduling Order and
        120
24             Leave to Take Plaintiff’s
               Deposition (NTG060480 -
25
               060564)                              Defendant
26             04/06/2013 Court Minutes
        121
               (NTG060848)                          Defendant
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              86
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 88 of 224 Page ID
                                       #:84465



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2              04/20/2015 Deposition of
        122
3              Giovanni Sandoval Jr.
        (*)
               (NTG003506 - 003599)               Defendant
4       123    Copy of photograph [photo of
5       (*)    supplement aisle]                  Defendant
        124    Copy of photograph [photo of
6       (*)    Sovereign Silver boxes on shelf]   Defendant
7              04/15/2014 Order on NIC’s
               Motion to Dismiss and Nilon’s
8       125
               Motion for Class Certification
9              (NTG05916 - 059130)                Defendant
               05/04/2015 Defendant’s Reply to
10
               Plaintiff’s Opposition to
11             Defendant’s Rule 56 Motion for
        126
               Summary Judgment in Nilon v.
12
               NIC (Confidential NTG06092 -
13             060976)                            Defendant
               05/15/2015 Order Tentatively
14
               Vacating Class Certification and
15      127    Dismissing Case without
16
               Prejudice in Nilon v. NIC
               (NTG061158 - 061163)               Defendant
17             05/12/2015 Confidential
18             Settlement Communication
        128
               Pursuant to Rule 408 of the
19      (*)
               Federal Rules of Evidence email
20             (NTG061158 - 0601163)              Defendant
               05/18/2015 Defendant NIC’s
21             Reply to Plaintiff Nilon’s
22             Response to Tentative Order
        129    Dismissing Case without
23             Prejudice and Request for
24             Sanctions, in Nilon v. NIC
               (NTG021822 -021949)                Defendant
25
               05/22/2015 Order of Dismissal in
26      130    Nilon v. NIC (NTG061168 -
               061169)                            Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             87
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 89 of 224 Page ID
                                       #:84466



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              06/24/2015 Notice of Hearing
        131
3              and Defendant’s Motion for Rule
        (*)
               11 and Other Monetary Sanctions       Defendant
4              01/19/2015 – 07/27/2015 Listing
5              of the legal fees that Emord and
        132
               Associates is seeking to collect
6              (NIC_0001044 - 0001096)               Defendant
7       133    07/05/2017 Joshua Scott Furman
        (*)    listing with State Bar of Arizona     Defendant
8       134    07/11/2017 Emord and
9       (*)    Associates printout from website      Defendant
               02/20/2015 Declaration of Joshua
10
               Scott Furman, Esq. in support of
11             Defendant’s Opposition to
        135
               Plaintiff’s Ex Parte Application to
12
               Strike Defendant’s Application to
13             Substitute Counsel                    Defendant
               02/20/2015 Declaration of Joshua
14
               Scott Furman, Esq. in Support of
15             Defendant’s Ex Parte Application
        136
16
               to Modify Rule 16(b) Scheduling
               Order and Leave to Take
17             Deposition                            Defendant
18             01/18/2017 Letter from US
               Bankruptcy Court, to Eileen
19      160    Decker, re Referral of Clark
20             Warren Baker for Investigation of
               Witness Tampering                     Defendant
21             05/12/2017 Web archive of
22      161    article entitled, “Who is James
               Murtagh MD”                           Defendant
23             08/23/2014 Email from David
24             Bender, to Clark Baker, re
        162
               changing name to Kuritzky on the
25      (*)
               Jim Murtagh page…
26             (BAKER_0000560)                       Defendant
27
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               88
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 90 of 224 Page ID
                                       #:84467



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              Clark Baker invoice for
3       163    November 2013 through April
        (*)    2017; email and files to Emord;
4              depo prep (NIC_0017631)               Defendant
5       164    11/19/2012 Email from Clark
        (*)    Baker, to Mo, re circling the drain   Defendant
6              06/25/2008 Email from Clark
        165
7              Baker (BAKER_0003172 -
        (*)
               0003176)                              Defendant
8       166    06/22/2008 Forwarded email
9       (*)    from Kuritzky                         Defendant
               01/01/2015 Clark Baker Invoice,
10      168
               (BAKER_0000518 - 0000519)             Defendant
11             11/14/2014 Email from Theo
        169    Quinto (BAKER_0000200 -
12
               0000201)                              Defendant
13             01/07/2015 Email from Clark
14
               Baker, to Benjamin, re Office of
        170    Medical and Scientific Justice
15             Donation; thank you for $5000.00
16             contribution (BAKER_0000153)          Defendant
               Clark Baker invoice for January;
17      171
               website build (BAKER_0000510)         Defendant
18             2015 Return of Organization
               Exempt From Income Tax;
19             Organization Mission: Protect
        172
20             and defend the victims and
               witnesses of medical and
21             scientific corruption                 Defendant
22             05/27/2015 Email from Benjamin
               Quinto, to Clark Baker, re
23      173
               Sandoval case closed
24             (BAKER_0000061-0000062)               Defendant
               Clark Baker invoice for February;
25      174
               website work (BAKER_0000511)          Defendant
26             Clark Baker invoice for March
        175    2015 (BAKER_0000512-
27
               0000513)                              Defendant
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               89
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 91 of 224 Page ID
                                       #:84468



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2              Clark Baker invoice for April
3       176    2015 (BAKER_0000514-
               0000515)                           Defendant
4              Clark Baker invoice for May
        177
5              2015 (BAKER_0000516)               Defendant
               Web archive re Electric Family
6       178
               Scam (BAKER_0000502-
        (*)
7              0000507)                           Defendant
               03/11/2016 Declaration of John
8              McNair in Support of Plaintiff’s
        179
9              Consolidated Opposition to
        (*)
               Defendants’ Special Motions to
10
               Strike                             Defendant
11             08/25/2015 Email from Ben, to
        180
               Clark Baker, re conference call
12      (*)
               (NIC_0001153)                      Defendant
13      181    05/22/2017 Declaration of Clark
        (*)    Baker                              Defendant
14
               Exhibit 18 to NIC Opposition to
15      182    NTG Motion re Sanctions, Dkt
16      (*)    320-21; emails
               (BAKER_0000295-0000319)            Defendant
17             08/20/2015 Email from Andrew
18             Nilon, to
        183
               electricfamily@nym.hush.com re
19      (*)
               call time; thanking John for
20             removing site                      Defendant
               09/13/2013 Complaint for Legal
21      184
               Malpractice, Vaynter, et al. v.
        (*)
22             Law Offices of Carlos Negrete      Defendant
               11/02/2011 First Amended
23
               Complaint for Professional
        185
24             Negligence and Breach of
        (*)
               Fiduciary Duty, Lopez v. Carlos
25
               Negrete                            Defendant
26      186    03/02/2017 Judgment by Default,
        (*)    Vosoughkia v. Carlos Negrete       Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             90
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 92 of 224 Page ID
                                       #:84469



1       Exh.
        No.    Description                        Offered By:    Objection(s):   Admitted:
2              01/29/2013 First Amended
        187
3              Complaint for Legal Malpractice,
        (*)
               Voughkia v. Carlos Negrete         Defendant
4              11/20/2015 Judgment by Default,
        188
5              U.S. Bank v. Law Offices of
        (*)
               Carlos Negrete                     Defendant
6              10/05/2017 Subpoena for
        189
7              Deposition to Carlos Negrete,
        (*)
               NIC v. NTG                         Defendant
8       221    09/06/2017 Benjamin Quinto
9       (*)    Professional Profile               Defendant
               12/08/2016 Declaration of
10      222
               Benjamin Quinto in Support of
        (*)
11             Plaintiff’s Crime-Fraud Motion     Defendant
               08/22/2017 Second Amended
12
               Notice of Deposition of Natural
        227
13             Immunogenics Corp.’s Person(s)
        (*)
               Most Qualified (NAT-IM0010 -
14
               00111)                             Defendant
15             05/02/2007 Letter from
16             Department of Health & Human
               Services, to Stephen Quinto, CEO
17      228    of NIC, re CL-07-HFS-810-254;
18             FDA reviewed website;
               marketing of Sovereign Silver
19             violates Act (NAT-IM0110-0111)     Defendant
20             04/23/2015 Email string from
               Theo Quinto, to Clark Baker, cc
21      229    to Ben Quinto, re Natural
22             Immunogenics; online donation
               (BAKER_0000207 - 0000212)          Defendant
23             NIC website printout of Company
        230
24             Mission Statement, etc.            Defendant
               NIC website printout of “The
25
        231    Benefits of Silver” (NAT-
26             IM0049-0051)                       Defendant
               NIC website printout of “The
27
        232    Benefits of Silver: How Can
28             Silver Help Healing”               Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             91
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 93 of 224 Page ID
                                       #:84470



1       Exh.
        No.    Description                         Offered By:    Objection(s):   Admitted:
2              NIC website printout of “What
        233
3              We Can’t Say and Why”               Defendant
               08/23/2017 Plaintiff’s Amended
4              Responses to Defendants’ First
        234
5              Set of Requests for Admission to
               Plaintiff (Nos. 10 & 11)            Defendant
6              08/25/2017 Plaintiff’s Amended
7              Supplemental Objections and
        235
               Responses to Defendants’ Third
8       (*)
               Set of Requests for Production of
9              Documents to Plaintiff              Defendant
               03/14/2017 Declaration of
10
        236    Benjamin Quinto in Support of
11      (*)    Plaintiff’s Opposition to Partial
               Motion for Summary Judgment         Defendant
12
               Dkt # 291-10 Photos of bottled
        238
13             Sovereign Silver
        (*)
               (SANDOVAL00001 - 00004)             Defendant
14
               11/26/2014 Email string from
15      240    Benjamin Quinto
16
               (BAKER_0000221-0000225)             Defendant
               02/17/2015 Email string from
17      241
               Ben Quinto (NIC_0001127-
        (*)
18             0001128)                            Defendant
               08/26/2015 Retainer Agreement
19      243    between Emord & Associates,
20      (*)    P.C. and Natural Immunogenics
               (BAKER_0000116-0000122)             Defendant
21             09/23/2015 Retainer Agreement
22      244    between Emord & Associates,
        (*)    P.C. and Natural Immunogenics
23             (NIC_0003144-0003151)               Defendant
24             08/27/2015 Email string from
        245    Clark Baker, to Benjamin Quinto,
25
        (*)    re best wishes; Nilon cooperating
26             (BAKER_0000179)                     Defendant
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              92
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 94 of 224 Page ID
                                       #:84471



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              02/20/2015 Declaration of
3              Benjamin Quinto in Support of
               Defendant’s Opposition to
        246
4              Plaintiff’s Ex Parte Application to
5              Strike Defendant’s Application to
               Substitute Counsel                    Defendant
6       247    Handwritten notes re Sandoval
7       (*)    facts; false declarations             Defendant
               06/08/2017 Subpoena for
8       254
               production of documents to
        (*)
9              Carlos Negrete, NIC v. NTG            Defendant
               06/23/2017 Email chain with
10      255
               Carlos Negrete re scheduling
        (*)
11             deposition of Carlos Negrete          Defendant
               06/26/2017 Email chain with
12      256
               Carlos Negrete re document
        (*)
13             subpoena                              Defendant
        257    The State Bar of California
14
        (*)    Profile for Carlos Negrete            Defendant
15             06/14/2016 Order of Involuntary
16             Inactive Enrollment; Order
        258    Requiring Supplemental
17      (*)    Information and Scheduling
18             Status Conference, In the Matter
               of Carlos Negrete                     Defendant
19             02/26/2016 Ex Parte Application
20             for Interim Orders Assuming
               Jurisdiction over the Law Practice
21             of Carlos Negrete; Memorandum
22             of Points and Authorities;
        259
               Declarations of Carlos Negrete,
23      (*)
               and Thomas Tran; Declaration of
24             Elizabeth Stine re Notice, In the
               Matter of the Assumption of
25
               Jurisdiction Over the Law
26             Practice of Carlos Negrete            Defendant
        260    10/23/2017 Docket for Nilon v.
27
        (*)    NIC                                   Defendant
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               93
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 95 of 224 Page ID
                                       #:84472



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              03/16/2012 Law Offices of
3              Carlos Negrete Retainer
        261
               Agreement, Client NIC
4       (*)
               (CONFIDENTIAL NIC.0000019
5              - 0000021)                            Defendant
               06/30/2014 Declaration of Carlos
6              Negrete in Support of
7              Defendant’s Motion for Order
               Compelling Plaintiff to Attend
8       262    and Testify at Deposition and
9       (*)    Produce Documents and/or
               Things Described in the Second
10             amended Notice of Deposition,
11             and Imposing Monetary
               Sanctions, Nilon v. NIC               Defendant
12
               04/10/2013 Email from Negrete
13      263    Law, requesting dates for the
        (*)    depositions of Dr. Lynn Willis
14
               and plaintiff, Nilon v. NIC           Defendant
15             04/17/2013 Email from Ryan
        264
               Ferrell, giving available dates for
16      (*)
               Dr. Willis, Nilon v. NIC              Defendant
17             04/24/2013 Email from Ryan
18
        265    Ferrell re scheduling Dr. Willis
        (*)    and Andrew Nilon depositions,
19             Nilon v. NIC                          Defendant
20             05/06/2013 Email from Negrete
        266    Law, attaching amended
21      (*)    deposition notice for Andrew
22             Nilon, Nilon v. NIC                   Defendant
               05/21/2013 Email from Ryan
23      267    Ferrell, agreeing to push
24      (*)    deposition of Andrew Nilon back,
               Nilon v. NIC                          Defendant
25
               05/31/2013 Email from Negrete
26             Law, attaching letter from Carlos
        268
               Negrete, regarding Nilon no show
27      (*)
               to deposition and requesting meet
28             and confer                            Defendant
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               94
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 96 of 224 Page ID
                                       #:84473



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              10/30/2013 Email from Negrete
3              Law, attaching letter from Carlos
        269    Negrete, regarding NTG
4       (*)    thwarting attempts to schedule a
5              meet and confer and refusal to
               produce Nilon for his deposition     Defendant
6              09/17/2013 Chapter 13 –
7              Declaration of Debtor Carlos
        270    Negrete in Support of Response
8       (*)    to Motion for Order to Terminate,
9              Annul, Modify or Condition the
               Automatic Stay                       Defendant
10             05/22/2014 Email from Briana
11             Rice, attaching 05/12/2014 letter
               from Ryan Ferrell noting
12
               unilaterally noticed deposition of
13      271    Nilon; also attaching Plaintiff’s
        (*)    Objection to the Notice of
14
               Deposition and Concurrent
15             Request for Production of
               Documents to Andrew Nilon,
16
               dated 05/12/2014                     Defendant
17             07/15/2014 Letter from Dr. Joe
18
               Wong, noting doctor’s
        272    appointment on 07/15/2014 and
19      (*)    also noting 2013 hospitalization
20             due to emergency surgery for an
               Aortic Abdominal Aneurysm            Defendant
21      274    Copy of check dated 08/29/2014,
22      (*)    in the amount of $5,053.90           Defendant
               09/21/2014 Email string re
23      275    scheduling deposition of
24             Giovanni Sandoval                    Defendant
               09/22/2014 Notice of Deposition
25      276
               of Plaintiff Giovanni Sandoval       Defendant
26
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              95
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 97 of 224 Page ID
                                       #:84474



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2           10/20/2014 Letter from Carlos
3           Negrete, to Ryan Ferrell and
        277 Victoria Knowles, re re-
4           scheduling deposition of
5           Giovanni Sandoval                    Defendant
            Snapshots of Negrete website
6      278
            from Wayback Machine
        (*)
7           [References Carter-Reed]             Defendant
            Printout of Memorial Sloan
8      320
            Kettering Cancer Center web
        (*)
9           pages re Colloidal Silver            Defendant
            05/07/2014 Email string from
10
            Andrew Baslow, to Andrew
       543
11          Nilon, re trouble connecting with
        (*)
            you recently (CONFIDENTIAL
12
            NILON00051)                          Defendant
13          06/03/2014 Email string from
       544 Ryan Ferrell, to Andrew Nilon, re
14
        (*) Sovereign Silver class action
15          (NILON00052 - 00059)                 Defendant
16
       550 06/27/2016 Declaration of
        (*) Andrew Lee Baslow, Dkt. 140          Defendant
17          02/06/2013 Email from Justin
18     613 Johnson, re Baslow deposition,
        (*) Nutrisystem Matter
19          (NTG001423-001426)                   Defendant
20          06/20/2013 Email from Justin
       614
            Johnson, re Nutrisystem wiretap
21      (*)
            settlement (NUTRI-0000036-40))       Defendant
22          03/28/2012 Email from Trycia
       646
            Carlberg, re check for Trycia
23      (*)
            (NTG071517-071518)                   Defendant
24          02/08/2012 Retainer Agreement
       647
            for Trycia Carlberg
25      (*)
            (NTG0071511-0071515)                 Defendant
26     1173 Andrew Saxon expert, Product
        (*) labels for Sovereign Silver          Defendant
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            96
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 98 of 224 Page ID
                                       #:84475



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Andrew Saxon expert, The
3              materials available from and cited
       1174
               on the Sovereign Silver™
4       (*)
               website (www.natural-
5              immunogenics.com)                    Defendant
               Andrew Saxon expert, Abedi-
6              Valugerdi M. Mercury and silver
7              induce B cell activation and anti-
               nucleolar autoantibody
8              production in outbred mouse
9              stocks: are environmental factors
       1175    more important than the
10      (*)    susceptibility genes in connection
11             with autoimmunity? Clin Exp
               Immunol. 2009 Jan;155(1):117-
12
               24. doi: 10.1111/j.1365-
13             2249.2008.03801.x. PubMed
               PMID: 19076835; PubMed
14
               Central PMCID: PMC2665687            Defendant
15             Andrew Saxon expert,
               Anonymous. Colloidal Silver.
16
               National Center for
       1176
17             Complementary and Alternative
        (*)
               Med.
18
               http://nccam.nih.gov/health/silver
19             .                                    Defendant
20             Andrew Saxon expert, Barrett, S.
       1177    Colloidal Silver: Risk Without
21      (*)    Benefit.
22             http://www.quackwatch.org.           Defendant
       1178
23      (*) [Number not used]                  Defendant
24          Andrew Saxon expert,
            Anonymous. Colloidal Silver.
25          National Center for
       1179
26          Complementary and Alternative
        (*)
            Med.
27          http://nccam.nih.gov/health/silver
28          .                                  Defendant
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              97
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 99 of 224 Page ID
                                       #:84476



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Burrell, RE et al. Method of
3              induction of apoptosis and
               inhibition of matrix
4      1180
               metalloproteinases using
        (*)
5              antimicrobial metals. USPTO
               Number 7,001,617, Feb. 21,
6              2006.                                Defendant
7              Andrew Saxon expert, Eichorn,
               G, et. al., Interaction of Metal
8              Ions and Biological Systems,
9      1181    with special reference to Silver
        (*)    and Gold, Proceedings of the first
10             International Conference on Gold
11             and Silver in Medicine, pg 3-22,
               1987.                                Defendant
12
               Andrew Saxon expert, Fung, MC
13             and Bowen, DL. Silver products
       1182
               for medical indications: Risk-
14      (*)
               benefit assessment. J Toxicol:
15             Clin Toxicol 34:119-126, 1996.       Defendant
               Andrew Saxon expert, Haase H,
16
               Fahmi A, Mahltig B. Impact of
17             silver nanoparticles and silver
       1183
18
               ions on innate immune cells. J
        (*)
               Biomed Nanotechnol. 2014
19             Jun;10(6):1146-56. PubMed
20             PMID: 24749409.                      Defendant
               Andrew Saxon expert, Jansson G,
21             Harms-Ringdahl M. Stimulating
22             effects of mercuric- and silver
               ions on the superoxide anion
23     1184
               production in human
        (*)
24             polymorphonuclear leukocytes.
               Free Radic Res Commun.
25             1993;18(2):87-98. PubMed
26             PMID: 8386687.                       Defendant
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              98
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 100 of 224 Page ID
                                        #:84477



1       Exh.
        No.    Description                       Offered By:    Objection(s):   Admitted:
2            Andrew Saxon expert, Johansson
3            U, Hansson-Georgiadis H,
             Hultman P. Murine silver-
4            induced autoimmunity: silver
5       1185 shares induction of antinucleolar
         (*) antibodies with mercury, but
6            causes less activation of the
7            immune system. Int Arch Allergy
             Immunol. 1997 Aug;113(4):432-
8            43. PubMed PMID: 9250589.          Defendant
9            Andrew Saxon expert, Kim YS,
             Kim JS, Cho HS, Rha DS, Kim
10           JM, Park JD, Choi BS, Lim R,
11           Chang HK, Chung YH, Kwon IH,
             Jeong J, Han BS, Yu IJ. Twenty-
12
             eight-day oral toxicity,
        1186
13           genotoxicity, and gender-related
         (*)
             tissue distribution of silver
14
             nanoparticles in Sprague-Dawley
15           rats. Inhal Toxicol. 2008
             Apr;20(6):575-83. doi:
16
             10.1080/08958370701874663 .
17           PubMed PMID: 18444010              Defendant
             Andrew Saxon expert, Kim YS,
18
             Song MY, Park JD, Song KS,
19           Ryu HR, Chung YH, Chang HK,
20
             Lee JH, Oh KH, Kelman BJ,
             Hwang IK, Yu IJ. Subchronic
21      1187 oral toxicity of silver
22       (*) nanoparticles. Part Fibre Toxicol.
             2010 Aug 6;7:20. doi:
23           10.1186/1743-8977-7-20.
24           PubMed PMID: 20691052;
             PubMed Central PMCID:
25           PMC2928176.                        Defendant
26
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            99
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 101 of 224 Page ID
                                        #:84478



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Andrew Saxon expert, Kim S,
3              Ryu DY. Silver nanoparticle-
               induced oxidative stress,
4              genotoxicity and apoptosis in
5       1188   cultured cells and animal tissues.
         (*)   J Appl Toxicol. 2013
6              Feb;33(2):78- 89. doi:
7              10.1002/jat.2792. Epub 2012 Aug
               31. Review. PubMed PMID:
8              22936301.                            Defendant
9              Andrew Saxon expert, Lansdown,
               ABG. Silver in health care:
10      1189
               Antimicrobial effects and safety
         (*)
11             in use. Current Problems in
               Dermatology 33:17-34, 2006.          Defendant
12
               Andrew Saxon expert, Likus W,
13             Bajor G, Siemianowicz K.
               Nanosilver - does it have only
14      1190
               one face? Acta Biochim Pol.
         (*)
15             2013;60(4):495-501. Epub 2013
               Dec 16. Review. PubMed PMID:
16
               24340306                             Defendant
17             Andrew Saxon expert,
18
               Małaczewska J. Effect of 28-day
               oral administration of silver
19
        1191
               nanocolloid on the peripheral
         (*)
20             blood leukocytes in mice. Pol J
               Vet Sci. 2014;17(2):263-73.
21             PubMed PMID: 24988852.               Defendant
22             Andrew Saxon expert, Rogers,
               KR et al. Alterations in physical
23             state of silver nanoparticles
        1192
24             exposed to synthetic human
         (*)
               stomach fluid. Science of the
25             Total Environment 420:334-339,
26             2012.                                Defendant
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              100
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 102 of 224 Page ID
                                        #:84479



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Andrew Saxon expert, Samuni A
3       1193   et al. On the cytotoxicity of
         (*)   vitamin C and metal ions. Eur J
4              Biochem. 99:562, 1983.               Defendant
5              Andrew Saxon expert, Shavandi
               Z, Ghazanfari T, Moghaddam
6              KN. In vitro toxicity of silver
7              nanoparticles on murine
               peritoneal macrophages.
8       1194
               Immunopharmacol
         (*)
9              Immunotoxicol. 2011
               Mar;33(1):135-40. doi:
10             10.3109/08923973.2010.487489.
11             Epub 2010 May 27. PubMed
               PMID: 20507217.                      Defendant
12
               Andrew Saxon expert, Vandebriel
13             RJ, Tonk EC, de la Fonteyne-
               Blankestijn LJ, Gremmer ER,
14
               Verharen HW, van der Ven LT,
15             van Loveren H, de Jong WH.
               Immunotoxicity of silver
16
        1195   nanoparticles in an intravenous
17       (*)   28-day repeated-dose toxicity
               study in rats. Part Fibre Toxicol.
18
               2014 May 7;11:21. doi:
19             10.1186/1743-8977-11-21.
20
               PubMed PMID: 24885556;
               PubMed Central PMCID:
21             PMC4052812.                          Defendant
22             Andrew Saxon expert, Völker C,
               Oetken M, Oehlmann J. The
23             biological effects and possible
24             modes of action of nanosilver.
        1196
               Rev Environ Contam Toxicol.
25       (*)
               2013;223:81-106. doi:
26             10.1007/978-1-4614-5577-6_4.
               Review. PubMed PMID:
27             23149813                             Defendant
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              101
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 103 of 224 Page ID
                                        #:84480



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              Andrew Saxon expert, The Expert
3              declarations of Dr. Lynn Willis
               dated 9.5.14 and Dr. Bret Ferrell
4       1197
               dated 9.5.14 in the Nilon v. NIC
         (*)
5              Case. These are not necessary for,
               but are supportive of, the
6              opinions that I offer in this case.   Defendant
7              Andrew Saxon expert, The
               Defense declarations of Mr.
8       1198   Benjamin Quinto, Dr. Eric J.
9        (*)   Rentz and Dr. Dana F. Flavin
               dated 4.22.13 in the Nilon v. NIC
10             Case.                                 Defendant
11             Andrew Saxon expert, The
        1199
               Deposition of Dr. Lynn Willis
12       (*)
               dated 4.18.13                         Defendant
13             Daniel White expert, Special
               Interrogatories to Defendand
14
        1200   Natural-Immunogenics Corp. (Set
15       (*)   One) from Andrew Nilon, Nilon
               vs. Natural-Immunogenics Corp.
16
               (NTG012882)                           Defendant
17             Daniel White expert, Requests for
18
               Admission to Defendant Natural-
        1201   Immunogenics Corp. (Set One)
19       (*)   from Andrew Nilon, Nilon vs.
20             Natural-Immunogenics
               Corp.(NTG012891)                      Defendant
21             Daniel White expert, 06/19/2013
22      1202   Letter to Carlos Negrete, Esq.
         (*)   from Ryan M. Ferrell, Esq.
23             (NTG013354)                           Defendant
24             Daniel White expert, First
               Amended Class Action
25      1203
               Complaint, Nilon vs. Natural-
         (*)
26             Immunogenics Corp.
               (NTG013355)                           Defendant
27
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               102
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 104 of 224 Page ID
                                        #:84481



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            Daniel White expert, Plaintiff
3            Andrew Nilon's Opposition to
        1204 Defendant Natural-Immunogenics
4        (*) Corp.'s Motion to Dismiss, Nilon
5            vs. Natural-Immunogenics Corp.
             (NTG013383)                        Defendant
6       1205
7        (*)  [Number not used]                 Defendant
             Daniel White expert, Requests for
8            Admission to Defendant Natural-
9       1206 lmmunogenics Corp. (Set
         (*) Number Two), Nilon vs. Natural-
10           Immunogenics Corp.
11           (NTG013445)                        Defendant
             Daniel White expert, Notice of
12
             Non-Compliance with Local Rule
13           5.1(a) Legibility of Documents re
        1207
             Motion filed by Carlos Negrete,
14       (*)
             Nilon vs. Natural-Immunogenics
15           Corp., dating 07/01/2014.
             (NTG013469)                        Defendant
16
             Daniel White expert, Sanctions
17           Order re: Ryan Ferrell and Scott
18
        1208 Ferrell of Newport Trial Group,
         (*) dated 8/11/2014, Nilon vs.
19           Natural-lmmunogenics Corp.
20           (NTG013470)                        Defendant
             Daniel White expert, Minutes of
21           the United States District Court
22           Southern District of California re
        1209 motion to substitute a class
23       (*) representative (under
24           submission), Nilon vs. Natural-
             lmmunogenics Corp., dated
25           8/12/2014 ( (NTG013473)            Defendant
26
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            103
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 105 of 224 Page ID
                                        #:84482



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2            Daniel White expert, Expert
3            Report (Lynn R. Willis, Ph.D.),
        1210
             Nilon vs. Natural-Immunogenics
4        (*)
             Corp., served 9/08/2014.
5            (NTG013474)                           Defendant
             Daniel White expert, Defendant's
6            Response to Plaintiff's Motion to
7            Compel Defendant's Production
             of Documents; Memorandum of
8       1211
             Points and Authorities;
         (*)
9            Declaration of Carlos F. Negrete
             in Support Thereof, Nilon vs.
10           Natural-Immunogenics Corp.,
11           dated 8/25/2014. (NTG013492)          Defendant
12      1212
13       (*)
              [Number not used]                    Defendant
14           Daniel White expert, Plaintiff's
15
             Reply in Support of Plaintiff's
             Motion to Compel Defendant's
16      1213 Production of Documents and
17       (*) Request for Monetary Sanctions,
             Nilon vs. Natural-Immunogenics
18           Corp., October 13, 2014.
19           (NTG013541)                           Defendant
             Daniel White expert, Order
20           Granting Plaintiff's Motion to
        1214
21           Compel, dated 10/27/2014, Nilon
         (*)
             vs. Natural-Immunogenics Corp.
22           (NTG013561)                           Defendant
23
24
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28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             104
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 106 of 224 Page ID
                                        #:84483



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Plaintiff's
3              Motion and Notice of Motions:
               for Terminating Sanctions, to
4              Hold Defendant's Counsel Carlos
5       1215   Negrete in contempt of court, and
         (*)   for Monetary Sanctions Against
6              Defendant's Counsel Carlos
7              Negrete, served 12/08/14, Nilon
               vs. Natural-Immunogenics Corp.
8              (NTG013577)                          Defendant
9              Daniel White expert, Defendant's
               Opposition to Plaintiff's Motion
10             for Terminating Sanctions, to
11             Hold Defendant's Counsel Carlos
        1216   Negrete in Contempt and For
12
         (*)   Monetary Sanctions Against
13             Carlos Negrete, dated
               12/29/2014, Nilon vs. Natural-
14
               Immunogenics Corp.
15             (NTG013916)                          Defendant
               Daniel White expert, Notice of
16
               Errata re: Defendants's
        1217
17             Opposition to Plaintiff’s Motion
         (*)
               for Terminating Sanctions, to
18
               Hold Defendant's                     Defendant
19             Counsel Carlos Negrete in
20             Contempt and For Monetary
               Sanctions Against Carlos
21      1218   Negrete; Declaration of Carlos F.
22       (*)   Negrete in Support of Notice of
               Errata, dated 01/07/2015, Nilon
23             vs. Natural-Immunogenics Corp.
24             (NTG013939)                          Defendant
25
26
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              105
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 107 of 224 Page ID
                                        #:84484



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Report and
3              Recommendation re Denial
               Without Prejudice of Plaintiff's
4       1219
               Motion for Terminating
         (*)
5              Sanctions, dated 2/05/2015, Nilon
               vs. Natural-Immunogenics
6              Corp.(NTG013950)                     Defendant
7              Daniel White expert, Notice of
               Appearance of Peter A.
8              Arhangelsky as Counsel of
9       1220   Record for Defendant Natural-
         (*)   lmmunogenics Corp., dated
10             2/13/2015, Nilon vs. Natural-
11             Immunogenics Corp.
               (NTG013955)                          Defendant
12
               Daniel White expert, Minute
13             Order re Ex Parte Motion to
        1221   Modify Scheduling Order, dated
14
         (*)   4/01/2015, Nilon vs. Natural-
15             Immunogenics Corp.
               (NTG013958)                          Defendant
16
               Daniel White expert, Notice
17             Regarding Attachment to
18
        1222   Defendant's Motion for Summary
         (*)   Judgment, dated 4/09/2015, Nilon
19             vs. Natural-Immunogenics
20             Corp.(NTG013959)                     Defendant
               Daniel White expert, Pro Hae
21             Vice Application for Natural-
22      1223   lmmunogenics, Corp., filed
         (*)   4/10/15, Nilon vs. Natural-
23             Immunogenics Corp.
24             (NTG013975)                          Defendant
25
26
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              106
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 108 of 224 Page ID
                                        #:84485



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Order
3              Denying Plaintiff's Ex Parte
               Application to Strike Defendant's
4       1224
               Application to Substitute
         (*)
5              Counsel, dated 4/13/2015, Nilon
               vs. Natural-Immunogenics Corp.
6              (NTG013675)                          Defendant
7              Daniel White expert, Order
               Granting Defendant's Application
8       1225   for Substitution of Counsel, dated
9        (*)   4/16/2015, Nilon vs. Natural-
               Immunogenics Corp.
10             (NTG013976)                          Defendant
11             Daniel White expert,
               Supplemental Expert Report of
12
        1226   Erica A. Lee, CFE, dated
13       (*)   4/22/2015, Nilon v. Natural-
               Immunogenics Corp.
14
               (NTG013977)                          Defendant
15             Daniel White expert, Defendant's
               Rule 56 Motion for Summary
16
               Judgment: Joint Statement of
        1227
17             Undisputed Facts, dated
         (*)
18
               4/27/2015, Nilon vs. Natural-
               Immunogenics Corp.
19             (NTG013999)                          Defendant
20             Daniel White expert, Order
               Adopting Report and
21             Recommendation (Doc. No. 84)
22      1228   re: Plaintiff's Motion for
         (*)   Terminating Sanctions (Doc. No.
23             74), dated 4/24/2015, Nilon vs.
24             Natural-Immunogenics Corp.
               (NTG014010)                          Defendant
25
26
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              107
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 109 of 224 Page ID
                                        #:84486



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2            Daniel White expert, Defendant's
3            Unopposed Ex Parte Request For
             Leave to Extend the Page Limit
4       1229
             of Local Civil Rule 7.1 (h) in
         (*)
5            Reply, served 5/01/2015, Ni/on
             vs. Natural-Immunogenics Corp.
6            (NTG014012)                            Defendant
7       1230
         (*) [Number not used]                      Defendant
8            Daniel White expert, Defendant's
9            Reply to Plaintiff's Opposition to
             Defendant's Motion for FRCP 11
10      1231
             and Other Sanctions, dated
         (*)
11           7/24/2015, Nilon vs. Natural-
             Immunogenics Corp.
12
             (NTG014016)                            Defendant
13      1232
         (*) [Number not used]                      Defendant
14
             Daniel White expert, Confidential
15           Early Neutral Evaluation
        1233
             Statement, dated 9/24/2012,
16       (*)
             Nilon vs. Natural-Immunogenics
17           Corp. (NTG019762)                      Defendant
18           Daniel White expert, Defendant
             Natural-lmmunogenics Carp's
19           Supplemental Responses to
        1234
20           Plaintiff's Special Interrogatories
         (*)
             (Set No. One), dated 3/28/2013,
21           Nilon vs. Natural-Immunogenics
22           Corp. (NTG019770)                      Defendant
             Daniel White expert,
23           Supplemental Responses to
24           Plaintiff's Requests for
        1235 Admission to Defendant Natural-
25       (*) lmmunogenics Corp. (Set No.
26           One), dated 3/28/2013, Nilon vs.
             Natural-Immunogenics Corp.
27
             (NTG019796)                            Defendant
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              108
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 110 of 224 Page ID
                                        #:84487



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert,
3              Supplemental Responses to
               Plaintiff's Requests for
4              Identification and Production of
5       1236   Documents and/or Things to
         (*)   Defendant Natural-lmmunogenics
6              Corp. (Set No. One), dated
7              3/28/2013, Nilon vs. Natural-
               Immunogenics Corp.
8              (NTG019814)                          Defendant
9              Daniel White expert, Natural
        1237   lmmunogenics Production, dated
10       (*)   3/28/2013 (Bates numbered).
11             (NTG019854)                          Defendant
               Daniel White expert, Notice of
12
               Deposition of Andrew Nilon,
        1238
13             dated 4/18/2013, Nilon vs.
         (*)
               Natural-Immunogenics Corp.
14
               (NTG019975)                          Defendant
15             Daniel White expert, Defendant,
               Natural-lmmunogenics Corp.'s
16
        1239   Notice of Deposition of Dr. Lynn
17       (*)   R. Willis, 04/18/2013, Nilon vs.
18
               Natural-Immunogenics Corp.
               (NTG019988)                          Defendant
19             Daniel White expert, Defendant,
20             Natural-lmmunogenics Corp.'s
               First Supplemental Disclosures
21      1240
               Pursuant to F.R.C.P. 26(a)(1 )(A),
         (*)
22             dated 5/06/2013, Nilon vs.
               Natural-Immunogenics Corp.
23             (NTG020004)                          Defendant
24             Daniel White expert, Amended
               Notice of Deposition of Andrew
25      1241
               Nilon, dated 5/07/2013, Nilon vs.
         (*)
26             Natural-Immunogenics Corp.
               (NTG020053)                          Defendant
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              109
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 111 of 224 Page ID
                                        #:84488



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              Daniel White expert, E-mail
3              communication dated 5/22/2013
        1242   from Jeanette Francis to C.
4        (*)   Negrete, J. Jerzy, cc'd Ryan
5              Ferrell re Nilon v. Sovereign
               Silver. (NTG020068)                   Defendant
6              Daniel White expert, Letter dated
7              5/23/2013 from Carlos F. Negrete
        1243   to Scott J. Ferrell and Ryan M.
8        (*)   Ferrell re Nilon vs. Natural-
9              Immunogenics Corp.
               (NTG020070)                           Defendant
10             Daniel White expert, Notice of
11             Deposition of Newport Trial
               Group's Person Most
12
        1244   Knowledgeable Pursuant to
13       (*)   Federal Rule of Civil Procedure
               30(b)(6), served 5/23/2013, Nilon
14
               vs. Natural-Immunogenics Corps.
15             (NTG020071)                           Defendant
               Daniel White expert, Notice of
16
               Deposition of Ryan M. Ferrell,
        1245
17             Esq., served 5/23/2013, Nilon vs.
         (*)
18
               Natural-Immunogenics Corp.
               (NTG020076)                           Defendant
19             Daniel White expert, E-mail
20             communication chain dated
               5/24/2013, from Ryan Ferrell to
21      1246
               J. Jerzy, C. Negrete, cc'd Jeanette
         (*)
22             Francis, Victoria Knowles re
               Nilon vs. Natural-Immunogenics
23             Corp. (NTG020084)                     Defendant
24             Daniel White expert, Letter dated
               5/31/2013, from Carlos F.
25      1247   Negrete to Scott J. Ferrell and
26       (*)   Ryan M. Ferrell, Ni/on vs.
               Natural-Immunogenics Corp.
27             (NTG020088)                           Defendant
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               110
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 112 of 224 Page ID
                                        #:84489



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, E-mail
3              communication chain dated
               6/05/2013, from Ryan Ferrell to
4       1248
               J. Jerzy re Penich v. Historical
         (*)
5              Remedies/ Nilon vs. Natural
               Immunogenics Corp.
6              (NTG020095)                          Defendant
7              Daniel White expert, E-mail
               communication dated 6/13/2013
8       1249   from Ryan Ferrell to C. Negrete,
9        (*)   J. Jerzy, cc'd Victoria Knowles,
               Nilon vs. Natural-Immunogenics
10             Corp. (NTG020097)                    Defendant
11             Daniel White expert, Letter dated
               9/25/2013, from Carlos F.
12
        1250   Negrete to Scott Ferrell and Ryan
13       (*)   Ferrell re Ni/on vs. Natural-
               Immunogenics Corp.
14
               (NTG020099)                          Defendant
15             Daniel White expert, E-mail
               communication chain from Ryan
16
               Ferrell to J. Jerzy, cc'd Carlos
        1251
17             Negrete, Amy Shimada, Dave
         (*)
18
               Reid, Victoria Knowles re Nilon
               vs. Natural-Immunogenics Corp.
19             (NTG020100)                          Defendant
20             Daniel White expert, E-mail
               communication chain dated
21             9/26/2013, from Carlos Negrete
22      1252   to Ryan Ferrell, J. Jerzy, cc'd
         (*)   Amy Shimada, Dave Reid,
23             Victoria Knowles re Nilon vs.
24             Natural-Immunogenics Corp.
               (NTG020101)                          Defendant
25
26
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28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              111
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 113 of 224 Page ID
                                        #:84490



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, E-mail
3              communication chain dated
               9/26/2013, from Carlos Negrete
4       1253   to Ryan Ferrell, J. Jerzy, cc'd
5        (*)   Amy Shimada, Dave Reid re
               Nilon vs. Natural-Immunogenics
6              Corp. - Status Conference.
7              (NTG020103)                          Defendant
               Daniel White expert, Email
8              communication chain dated
9              9/26/2013, from Jennifer L. Jerzy
        1254   to Ryan Ferrell, cc'd Carlos
10       (*)   Degrete, Amy Shimada, Dave
11             Reid, Victoria Knowles re: Nilon
               vs. Natural-Immunogenics Corp.
12
               (NTG020105)                          Defendant
13             Daniel White expert, E-mail
               communication chain dated
14
               9/27/2013, from Ryan Ferrell to
15      1255   J. Jerzy, cc'd to Carlos Negrete,
         (*)   Amy Shimada, Dave Reid,
16
               Victoria Knowles re Ni/on vs.
17             Natural-Immunogenics Corp.
               (NTG020107)                          Defendant
18
               Daniel White expert, E-mail
19             communication chain dated
20             9/27/2013, from Carlos Negrete
        1256   to Ryan Ferrell, Jennifer Gerzy,
21       (*)   cc'd Amy Shimada, Dave Reid,
22             Victoria Knowles, Nilon vs.
               Natural-Immunogenics Corp.
23             (NTG020109)                          Defendant
24
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                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              112
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 114 of 224 Page ID
                                        #:84491



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              Daniel White expert, E-mail
3              communication chain dated
               7/14/2017, from Ryan Ferrell to
4       1257   Carlos Negrete, Jennifer Jerzy,
5        (*)   cc'd Amy Shimada, Dave Reid,
               Victoria Knowles re Nilon vs.
6              Natural-Immunogenics Corp.
7              (NTG020113)                           Defendant
               Daniel White expert, E-mail
8              chain communication dated
9              9/27/2013, from Carlos Negrete
        1258
               to Ryan Ferrell, Dave Reid,
10       (*)
               Victoria Knowles re Nilon vs.
11             Natural-Immunogenics Corp.
               (NTG020117)                           Defendant
12
               Daniel White expert, Email
13             communication chain dated
        1259   9/30/2014, from Ryan Ferrell, to
14
         (*)   Carlos Negrete, Jennifer Jerzy.re:
15             Nilon vs. Natural-Immunogenics
               Corp. (NTG020123)                     Defendant
16
               Daniel White expert, E-mail
17             communication chain dated
18
               9/30/2014, from Ryan Ferrell to
        1260   Carlos Negrete, Jennifer Jerzy,
19       (*)   cc'd Amy Shimada, Dave Reid,
20             Victoria Knowles re Ni/on vs.
               Natural-Immunogenics Corp.
21             (NTG020128)                           Defendant
22             Daniel White expert, E-mail
               communication chain dated
23             10/02/2013, from Jennifer Jerzy
24      1261   to Ryan Ferrell, Carlos Negrete,
         (*)   cc'd Amy Shimada, Dave Reid,
25             Victoria Knowles re Nilon vs.
26             Natural-Immunogenics Corp.
               (NTG020133)                           Defendant
27
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               113
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 115 of 224 Page ID
                                        #:84492



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, E-mail
3              communication chain dated
               10/02/2013 from Ryan Ferrell to
4       1262   J. Jerzy, Carlos Negrete, cc;d
5        (*)   Amy Shimada, Dave Reid,
               Victoria Knowles re Nilon vs.
6              Natural-lmmunogenics Corp.
7              (NTG020139)                          Defendant
               Daniel White expert, Letter dated
8              10/30/2013 from Carlos Negrete
9       1263   to Scott Ferrell and Ryan Ferrell
         (*)   re Nilon vs. Natural-
10             lmmunogenics Corp., request for
11             conference. (NTG020146)              Defendant
               Daniel White expert, Letter dated
12
               12/11/2013 from Carlos Negrete
13      1264   to Scott Ferrell and Ryan Ferrell
         (*)   re Nilon vs. Natural-
14
               Immunogenics Corp., request for
15             Conference.(NTG020515)               Defendant
               Daniel White expert, E-mail
16
               communication dated 4/21/2014,
17             from Ryan Ferrell to C. Negrete,
        1265
18
               cc'd Victoria Knowles re Nilon
         (*)
               vs. Natural-Immunogenics Corp.,
19             Status report and discovery plan.
20             (NTG020154)                          Defendant
               Daniel White expert, Joint Status
21             Report and Discovery Plan dated
22      1266   4/29/2013, unsigned copy, Nilon
               vs. Natural-Immunogenics Corp.
23             (NTG020155)                          Defendant
24             Daniel White expert, Joint Status
               Report and Discovery Plan,
25      1267   served 4/24/2014, and digitally
26       (*)   signed, Nilon vs. Natural-
               Immunogenics Corp.
27             (NTG020188)                          Defendant
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              114
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 116 of 224 Page ID
                                        #:84493



1       Exh.
        No.    Description                            Offered By:   Objection(s):   Admitted:
2              Daniel White expert, E-mail
3              communication chain dated
               4/27/2014, from Carlos Negrete
4       1268   to Ryan Ferrell, cc'd J. Werner,
5        (*)   Amy, Marla Nilon vs. Natural-
               Immunogenics Corp. (Sovereign
6              Silver) Status Conference.
7              (NTG020198)                            Defendant
               Daniel White expert, Newport
8              Trial Group letter dated
9              5/12/2014 from Ryan M. Ferrell
        1269
               to Carlos Negrete, Nilon vs.
10       (*)
               Natural-Immunogenics Corp.,
11             scheduling conflicts.
               (NTG020204)                            Defendant
12
               Daniel White expert, Plaintiff's
13             Objection to the Notice of
               Deposition and Concurrent
14
        1270   Request for Production of
15       (*)   Documents to Andrew Nilon,
               served 5/12/2014, Nilon vs.
16
               Natural-Immunogenics
17             Corp.(NTG020207)                       Defendant
18
               Daniel White expert, Letter dated
               6/13/2014 from Carlos F. Negrete
19      1271   to Ryan Ferrell, Victoria Knowles
20       (*)   (Newport Trial Group), re Nilon
               vs. Natural-Immunogenics Corp.
21             (NTG020211)                            Defendant
22             Daniel White expert, E-mail
               communication chain dated
23             7/02/2014, from Carlos Negrete
24             to Scott Ferrell, Ryan Ferrell, cc'd
        1272   to David, Marla and Amy
25       (*)   Shimada (Negrete Law), Victoria
26             Knowles re Resendez vs. Green
               Meet and Confer/ Penich vs.
27             Historical Remedies.
28             (NTG020529)                            Defendant
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               115
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 117 of 224 Page ID
                                        #:84494



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, E-mail
3              communication chain dated
               7/17/2014, from David Boyer, to
4              Ryan Ferrell, cc'd Marla
        1273
5              Shulman, C. Negrete, Amy
         (*)
               Shimada re Nilon vs. Natural-
6              Immunogenics Corp. Meet and
7              Confer, Dr. Wong letter.
               (NTG020292)                          Defendant
8              Daniel White expert, Expert
9              Report of Andrew Saxon, M.D. in
        1274
               the matter of Nilon vs. Natural-
10       (*)
               lmmunogenitics, dated
11             01/02/2015. (NTG030976)              Defendant
               Daniel White expert, Class
12
               Action Complaint, Nilon vs.
        1275
13             Natural-Immunogenics Corp.,
               filed 3/05/2012. (NTG057951)         Defendant
14
               Daniel White expert, Notice and
15             Certificate of Interested Parties,
        1276
               Nilon vs. Natural-Immunogenics
16       (*)
               Corp., served 4/16/2012.
17             (NTG057979)                          Defendant
18
               Daniel White expert, Notice of
               Removal, filed United States
19      1277
               District Court, dated 4/16/2012,
         (*)
20             Nilon vs. Natural-Immunogenics
               Corp. (NTG057983)                    Defendant
21             Daniel White expert, Notice of
22             Motion and Motion to Dismiss,
               or, in the Alternative, Transfer
23             Venue Pursuant to 28 U.S.C.
24      1278   §1406 and FED.R.CIV.P. Rule
         (*)   12(b )(3); or to Transfer for
25             Convenience of the Parties
26             Pursuant to 28 U.S.C., Nilon vs.
               Natural-Immunogenics Corp.,
27             4/23/12. (NTG0508016)                Defendant
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              116
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 118 of 224 Page ID
                                        #:84495



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Amended
3              Notice and Certificate of
        1279   Interested Parties, dated
4        (*)   4/25/2012, Nilon vs. Natural-
5              Immunogenics Corp.
               (NTG058086)                          Defendant
6              Daniel White expert, Order re:
7       1280   Oral Argument, dated 5/07/2012,
         (*)   Nilon vs. Natural-Immunogenics
8              Corp. (NTG058094)                    Defendant
9              Daniel White expert, Plaintiff's
               Opposition to Motion to Dismiss,
10             or, in the Alternative, Transfer
11             Venue Pursuant to 28 U.S.C.
        1281   §1404 and Fed.R.Civ.P .. Rule
12
         (*)   12(b)(3); or to Transfer for
13             Convenience of the Parties.,
               Nilon vs. Natural-Immunogenics
14
               Corp., dated
15             6/04/2012.(NTG058095)                Defendant
               Daniel White expert, Reply in
16
               Support of Defendant's Motion to
17             Dismiss, or, in the Alternative,
18
        1282   Transfer Venue Pursuant to 28
         (*)   U.S.C. §1406 and Fed.R.Civ.P.
19             Rule 12(b)(3), Nilon vs. Natural-
20             Immunogenics Corp., dated
               6/11/2012. (NTG058106)               Defendant
21             Daniel White expert, Order
22             Denying Motion to Dismiss or to
        1283   Transfer to The Southern District
23       (*)   of Florida, dated 7/12/2012,
24             Nilon vs. Natural-Immunogenics
               Corp. (NTG058115)                    Defendant
25
26
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              117
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 119 of 224 Page ID
                                        #:84496



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Defendant
3              Natural-lmmunogenics Corp.'s
        1284   Anser to Class Action Complaint,
4        (*)   dated 7/26/2012, Nilon vs.
5              Natural-Immunogenics Corp.
               (NTG058122)                         Defendant
6              Daniel White expert, Notice and
7              Order for Attorneys Only Early
        1285   Neutral Evaluation Conference,
8        (*)   dated 7/31/2012, Nilon vs.
9              Natural-Immunogenics Corp.
               (NTG058142)                         Defendant
10             Daniel White expert, E-mail
11             communication dated 9/26/2012
               from efile to Court Mail re Case
12
        1286   3:12-cv-00930-LAB-BGS. Nilon
13             vs. Natural-Immunogenics Corp.,
               Add and terminate judges.
14
               (NTG058163)                         Defendant
15             Daniel White expert, E-mail
               communication dated
16
               10/01//2012 from efile to Court
17      1287   Mail re Case 3:12-cv-00930-
18
         (*)   LAB-BGS. Nilon vs. Natura-
               Immunogenics Corp., Neutral
19             Evaluation Conference
20             (NTG058164)                         Defendant
               Daniel White expert, Order
21             Following Early Neutral
22             Evaluation Conference, Setting
        1288   Rule 26 Compliance and Notice
23       (*)   of Case Management Conference,
24             dated 10/01/2012, Ni/on vs.
               Natural-Immunogenics Corp.
25             (NTG058165)                         Defendant
26
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             118
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 120 of 224 Page ID
                                        #:84497



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Continued
3              CMC Notice from 11 /16/12 to
        1289
               11/16/12, Nilon vs. Natural-
4        (*)
               Immunogenics Corp.
5              (NTG058167)                          Defendant
               Daniel White expert, Case
6              Management Conference Order
7              Regulating Discovery and Other
        1290
               Pre Trial Proceedings, dated
8        (*)
               11/27/2012, Nilon vs. Natural-
9              Immunogenics Corp.
               (NTG058246)                          Defendant
10             Daniel White expert, Order
11             Granting Joint Motion for Entry
        1291   of Protective Order as Modified
12
         (*)   by the Court, dated 12/19/2012,
13             Nilon vs. Natural-Immunogenics
               Corp. (NTG058248)                    Defendant
14
               Daniel White expert, Joint
15             Motion for Entry of Protective
        1292
               Order, dated 12/18/2012, Nilon
16       (*)
               vs. Natural-Immunogenics Corp.
17             (NTG058261)                          Defendant
18
               Daniel White expert, Plaintiff's
               Notice of Motion and Motion for
19             Class Certification Pursuant to
        1293
20             Fed.R.Civ.P.23(b)(2) and
         (*)
               23(b)(3), dated 2/26/2013, Nilon
21             vs. Natural-Immunogenics Corp.
22             (NTG058337)                          Defendant
               Daniel White expert, Defendant,
23             Natural-lmmunogenics Corp.'s
24             Response in Opposition to
        1294   Plaintiff's Motion for Class
25       (*)   Certification, dated 4/22/2013,
26             with supporting papers, Nilon vs.
               Natural-Immunogenics Corp.
27             (NTG058512)                          Defendant
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              119
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 121 of 224 Page ID
                                        #:84498



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Reply Brief
3              in Support of Plaintiff's Motion
        1295   for Class Certification, dated
4        (*)   4/29/2013, Nilon vs. Natural-
5              Immunogenics Corp.
               (NTG058896)                           Defendant
6              Daniel White expert, Defendant
7              Natural-lmmunogenics Corp.'s
        1296   Notice of Deposition of Dr. Lynn
8        (*)   R. Willis, dated 4/18/2013, Nilon
9              vs. Natural-Immunogenics Corp.
               (NTG058925)                           Defendant
10             Daniel White expert, Court
11             Minutes dated 5/01/2013 re
        1297
               motion for certification, Nilon vs.
12       (*)
               Natural-Immunogenics Corp.
13             (NTG058936)                           Defendant
               Daniel White expert, Defendant
14
               Natural lmmunogenics Corp.'s
15             First Supplemental Disclosures
        1298
               Pursuant to F.R.C.P. 26(a)(1 )(A),
16       (*)
               dated 5/06/2013, Nilon vs.
17             Natural-Immunogenics Corp.
18
               (NTG058937)                           Defendant
               Daniel White expert, Notice of
19             Change of Hearing, Status
        1299
20             Conference, dated 5/21/2013,
         (*)
               Nilon vs. Natural-Immunogenics
21             Corp. (NTG059029)                     Defendant
22             Daniel White expert, Notice of
               Change of Status Conference to
23      1300
               8/26/13, dated 6/26/2013, Nilon
         (*)
24             vs. Natural-Immunogenics Corp.
               (NTG059049)                           Defendant
25
26
27
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               120
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 122 of 224 Page ID
                                        #:84499



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Order
3              Denying Motion for Class
        1301   Certification Without Prejudice,
4        (*)   dated 9/30/2013, Nilon vs.
5              Natural-Immunogenics Corp.
               (NTG059051)                           Defendant
6              Daniel White expert, First
7              Amended Class Action
        1302
               Complaint, dated 10/11/2013,
8        (*)
               Nilon vs. Natural-Immunogenics
9              Corp. (NTG059057)                     Defendant
               Daniel White expert, First
10             Amended Class Action
        1303
11             Complaint, dated 10/15/2013,
         (*)
               Nilon vs. Natural-Immunogenics
12
               Corp. (NTG059073)                     Defendant
13             Daniel White expert, Defendant
               Natural-lmmunogenics, Corp.'s
14
               Notice of Motion and Motion to
15             Dismiss First Amended
        1304
               Complaint, or, in the Alternative,
16       (*)
               Motion for More Definitive
17             Statement, dated 11/04/2013,
18
               Nilon vs. Natural-Immunogenics
               Corp. (NTG059099)                     Defendant
19             Daniel White expert, Notice of
20             Change of Status Conference,
        1305
               dated 11/07/2013, Nilon vs.
21       (*)
               Natural-Immunogenics Corp.
22             (NTG059113)                           Defendant
               Daniel White expert, Scheduling
23      1306   Order dated 11/12/2013, Nilon
24       (*)   vs. Natural-Immunogenics Corp.
               (NTG059114)                           Defendant
25             Daniel White expert, Minute
26             Order re Motion to Dismiss,
        1307
               12/10/2010, Nilon vs. Natural-
27       (*)
               Immunogenics Corp.
28             (NTG059115)                           Defendant
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               121
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 123 of 224 Page ID
                                        #:84500



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Order on
3              Ni's Motion to Dismiss and
        1308   Nilon's Motion for Class
4        (*)   Certification, Nilon vs. Natural-
5              Immunogenics Corp.
               (NTG059116)                          Defendant
6              Daniel White expert, Joint Status
7              Report and Discovery Plan, dated
        1309
               4/24/14, Nilon vs. Natural-
8        (*)
               Immunogenics Corp.
9              (NTG059131)                          Defendant
               Daniel White expert, Case
10             Management Conference Order
11             Regulating Discovery and Other
        1310
               Pretrial Proceedings, dated
12       (*)
               4/29/2014, Nilon vs. Natural-
13             Immunogenics Corp.
               (NTG059139)                          Defendant
14
               Daniel White expert, Order
15             Vacating Conference, dated
        1311
               6/18/2014, Nilon vs. Natural-
16       (*)
               Immunogenics Corp.
17             (NTG059214)                          Defendant
18
               Daniel White expert, Notice of
               Motion and Motion for Order
19             Compelling Class Representative
20             Plaintiff Andrew Nilon to Attend
               and Testify at Deposition and
21             Produce Documents and/or
22             Things Described in the Second
        1312   Amended Notice of Deposition,
23       (*)   and Imposing Monetary
24             Sanctions; Memorandum of
               Points and Authorities;
25             Declaration of Carlos F. Negrete
26             in Support Thereof, Juen 30,
               2014, Nilon vs. Natural-
27             Immunogenics Corp.
28             (NTG059248)                          Defendant
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              122
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 124 of 224 Page ID
                                        #:84501



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Plaintiff's
3              Opposition to Defendant's Motion
               to Compel Discovery and the
4       1313
               Imposition of Sanctions, dated
         (*)
5              7/09/2014, Nilon vs. Natural-
               Immunogenics Corp.
6              (NTG059421)                          Defendant
7              Daniel White expert, Defendant's
               Designation of Expert Witness
8              Pursuant to Federal Rule of Civil
        1314
9              Procedure 26(A)(2), dated
         (*)
               7/24/2014, Nilon vs. Natural-
10             Immunogenics Corp.
11             (NTG059460)                          Defendant
               Daniel White expert, Defendant
12
               Natural lmmunogenics, Corp.'s
13             Response in Opposition to
               Plaintiff's Motion to Substitute
14
               Class Representative and Modify
15      1315   Scheduling Order; Memorandum
         (*)   of Points and Authorities;
16
               Declaration of Carlos F. Negrete
17             in Support Thereof, dated
               8/04/2014, Nilon vs. Natural-
18
               Immunogenics Corp.
19             (NTG059481)                          Defendant
20             Daniel White expert, Reply ISO
               Motion to Substitute Party Class
21             Representative and Modify
22      1316   Scheduling Order, dated
         (*)   8/11/2014, with supporting
23             documents, Nilon vs. Natural-
24             Immunogenics Corp.
               (NTG059521)                          Defendant
25
26
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28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              123
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 125 of 224 Page ID
                                        #:84502



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Notice of
3              Motion A to Withdraw as
               Counsel for Plaintiff Andrew
4       1317
               Nilon, with supporting
         (*)
5              documents, dated 8/15/2014,
               Nilon vs. Natural-Immunogenics
6              Corp, (NTG059578)                    Defendant
7              Daniel White expert, Order on
               Plaintiff's Motion to Substitute
8       1318   Class Representative, dated
9        (*)   8/20/2014, Nilon vs. Natural-
               Immunogenics Corp.
10             (NTG059595)                          Defendant
11             Daniel White expert, Second
               Amended Class Action
12      1319
               Complaint, dated 8/25/2014,
         (*)
13             Nilon vs. Natural-Immunogenics
               Corp. (NTG059603)                    Defendant
14
               Daniel White expert, Expert
15      1320   Report Dr. Brit Ferrell 9/5/2014,
         (*)   Nilon vs. Natural-Immunogenics
16
               Corp. (NTG059629)                    Defendant
17             Daniel White expert, Preliminary
18
               Expert Report of Eric A. Lee,
        1321
               CFE, September 8, 2014, Nilon
19       (*)
               vs. Natural-Immunogenics Corp.
20             (NTG059640)                          Defendant
               Daniel White expert, Defendant's
21             Expert Witness Report Disclosure
22             and Request for Modification of
        1322
               Scheduling Order, dated
23       (*)
               9/08/2014, Nilon vs. Natural-
24             Immunogenics Corp.
               (NTG059658)                          Defendant
25
26
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              124
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 126 of 224 Page ID
                                        #:84503



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Defendant's
3              Expert Witness Dislcosure and
               Request for Modification of
4       1323
               Scheduling Order, dated
         (*)
5              9/08/2014, Nilon vs. Natural-
               Immunogenics Corp.
6              (NTG059710)                          Defendant
7              Daniel White expert, Order: (1)
               Granting Defendant's Ex Parte
8              Request for Modification of
9              Scheduling order; and (2) Issuing
        1324
               First Amended Case Management
10       (*)
               Conference Order, dated
11             9/11/2014, Nilon vs. Natural-
               Immunogenics Corp.
12
               (NTG059763)                          Defendant
13             Daniel White expert, Motion for
               Contempt, and Imposing
14
               Monetary Sanctions;
15             Memorandum of Points and
        1325   Authorities; Declaration of Carlos
16
               F. Negrete in Support Thereof,
17             9/19/2014, Nilon vs. Natural-
               Immunogenics Corp.
18
               (NTG059783)                          Defendant
19             Daniel White expert, Plaintiff's
20             Notice of Motion and Motion to
               Compel Defendant's Production
21             of Documents; Memorandum of
        1326
22             Points and Authorities; Request
         (*)
               for Monetary Sanctions, dated
23             9/29/2014, Nilon vs. Natural-
24             Immunogenics Corp.
               (NTG059806)                          Defendant
25             Daniel White expert, Court Order
26             Vacating Hearing (email only),
        1327
               dated 10/14/2014, Nilon vs.
27       (*)
               Natural-Immunogenics Corp.
28             (NTG060081)                          Defendant
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              125
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 127 of 224 Page ID
                                        #:84504



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Report and
3              Recommendation re: Denial of
        1328   Defendant's Motion for Contempt
4        (*)   and Sanctions, dated 10/30/2014,
5              Nilon vs. Natural-Immunogenics
               Corp. (NTG060096)                    Defendant
6              Daniel White expert, Defendant's
7              Supplemental Designation of
               Expert Witness Pursuant to
8       1329
               Federal Rule of Civil Procedure
         (*)
9              26(A)(2), dated 12/04/2014,
               Nilon vs. Natural-Immunogenics
10             Corp. (NTG060106)                    Defendant
11             Daniel White expert, Defendant's
               Supplemental Designation of
12
               Expert Witness Pursuant to
        1330
13             Federal Rule of Civil Procedure
         (*)
               26(A)(2), dated 12/04/2014,
14
               Nilon vs. Natural-Immunogenics
15             Corp. (NTG060106)                    Defendant
               Daniel White expert, Referral
16
        1331   Order, dated 12/16/2014, Nilon
17       (*)   vs. Natural-Immunogenics Corp.
18
               (NTG060118)                          Defendant
               Daniel White expert, Briefing
19             Schedule re Plaintiff's Motion for
        1332
20             Contempt, dated 12/18/2014,
         (*)
               Nilon vs. Natural-Immunogenics
21             Corp. (NTG060120)                    Defendant
22
23
24
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28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              126
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 128 of 224 Page ID
                                        #:84505



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Plaintiff's
3              Reply in Support of Plaintiff's
               Motion: For Terminating
4              Sanctions, to Hold Defendant's
5              Counsel Carlos Negrete in
        1333   Contempt of Court, and For
6        (*)   Monetary Sanctions Against
7              Defendant's Counsel Carlos
               Negrete, dated 1/05/2015, with
8              supporting documents, Nilon vs.
9              Natural-Immunogenics Corp.
               (NTG060135)                         Defendant
10             Daniel White expert, Defendant's
11             Supplemental Expert Witness
        1334   Report Disclosure, dated
12
         (*)   1/09/2015, Sandoval vs. Natural-
13             Immunogenics Corp.
               (NTG060284)                         Defendant
14
               Daniel White expert, Defendant's
15             Expert Witness Report
        1335
               Disclosure, Sandoval v. Natural-
16       (*)
               Immunogenics, Corp., dated
17             1/09/2015 (NTG060309)               Defendant
18
               Daniel White expert, Notice of
               Errata re: Defendant's Expert
19      1336   Witness Report Disclosure, dated
20       (*)   1/13/2015, Nilon vs. Natural-
               Immunogenics Corp.
21             (NTG060334)                         Defendant
22             Daniel White expert, Order
               Adopting Report and
23      1337   Recommendation, dated
24       (*)   1/14/2015, Nilon vs. Natural-
               Immunogenics Corp.
25             (NTG060380)                         Defendant
26
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             127
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 129 of 224 Page ID
                                        #:84506



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Order
3              denying Plaintiffs Motion for
        1338   Contempt and Monetary
4        (*)   Sanctions, dated 2/03/2015, Nilon
5              vs. Natural-Immunogenics Corp.
               (NTG060382)                          Defendant
6              Daniel White expert, Defendant's
7              Application for Substitution of
        1339
               Counsel, dated 2/09/2015, Nilon
8        (*)
               vs. Natural-Immunogenics Corp.
9              (NTG060387)                          Defendant
               Daniel White expert, Notice of
10             Change of Hearing (email), dated
        1340
11             2/17/2015, Nilon vs. Natural-
         (*)
               Immunogenics Corp.
12
               (NTG060392)                          Defendant
13             Daniel White expert, Plaintiff
               Giovanni Sandoval's Notice of Ex
14
               Parle Application to Strike
15      1341   Defendant's Application to
         (*)   Substitute Counsel, dated
16
               2/18/2015, Nilon vs. Natural-
17             Immunogenics Corp.
18
               (NTG060394)                          Defendant
               Daniel White expert, Defendant's
19             Opposition to Plaintiff's Ex Parle
20             Application to Strike Defendant's
        1342   Application to Substitute
21       (*)   Counsel, with supporting
22             documents, dated 2/20/2015,
               Nilon vs. Natural-Immunogenics
23             Corp. (NTG060444)                    Defendant
24
25
26
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28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              128
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 130 of 224 Page ID
                                        #:84507



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Defendant's
3              Ex Parle Application to Modify
               Rule 16(b) Scheduling Order and
4       1343   Leave to Take Plaintiff's
5        (*)   Deposition, with supporting
               documents, dated 2/20/2015,
6              Nilon vs. Natural-Immunogenics
7              Corp. (NTG060480)                    Defendant
               Daniel White expert, Plaintiff's
8              Opposition to Defendant's Ex
9              Parle Application to Modify Rule
        1344   16(b) Scheduling Order and for
10       (*)   Leave to Take Deposition, dated
11             2/24/2015, Nilon vs. Natural-
               Immunogenics Corp.
12
               (NTG060571)                          Defendant
13             Daniel White expert, Defendant's
               Reply to Plaintiff's Opposition to
14
               Defendant's Ex Parte Application
15             to Modify Rule 16(b) Scheduling
        1345
               Order and Leave to Take
16       (*)
               Plaintiff's Deposition, dated
17             2/25/2015, Nilon vs. Natural-
               Immunogenics Corp.
18
               (NTG060587)                          Defendant
19             Daniel White expert, Notice of
20             Briefing Schedule (email only),
        1346
               dated 3/20/2015, Nilon vs.
21       (*)
               Natural-Immunogenics Corp.
22             (NTG060601)                          Defendant
               Daniel White expert, Notice of
23             Hearing and Defendant's Rule 56
24             Motion for Summary Judgment,
        1347
               with supporting documents, dated
25       (*)
               4/02/2015, Nilon vs. Natural-
26             Immunogenics Corp.
               (NTG060710)                          Defendant
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              129
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 131 of 224 Page ID
                                        #:84508



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Minute
3              Order Granting Ex Parte to Take
        1348   Deposition of Plaintiff, dated
4        (*)   4/06/2015, Nilon vs. Natural-
5              Immunogenics Corp.
               (NTG060848)                           Defendant
6              Daniel White expert, Plaintiff
7              Giovanni Sandoval's Opposition
               to Defendant's Motion to Strike
8       1349   Plaintiff's Expert Report of Dr.
9        (*)   Andrew Saxon, with supporting
               documents, dated 4/06/2015,
10             Nilon vs. Natural-Immunogenics
11             Corp. (NTG060849)                     Defendant
               Daniel White expert, Defendant's
12
               Reply to Plaintiff Giovanni
13             Sandoval's Opposition to
        1350   Defendant's Motion to Strike
14
         (*)   Plaintiff's Expert Saxon's Report,
15             dated 4/10/2015, Nilon vs.
               Natural-Immunogenics Corp.
16
               (NTG060913)                           Defendant
17             Daniel White expert, Pro Hae
        1352
18
               Vice Application for Stensvad,
         (*)
               dated 4/03/2015. (NTG060943)          Defendant
19             Daniel White expert, Order
20             Approving Furman PHV, filed
        1353
               4/13/2015, Nilon vs. Natural-
21       (*)
               Immunogenics Corp.
22             (NTG060952)                           Defendant
               Daniel White expert, Defendant's
23             Reply to Plaintiff's Opposition to
24             Defendant's Rule 56 Motion for
        1354
               Summary Judgment, dated
25       (*)
               5/04/2015, Nilon vs. Natural-
26             Immunogenics Corp.
               (NTG060952)                           Defendant
27
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               130
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 132 of 224 Page ID
                                        #:84509



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2            Daniel White expert, Plaintiff
3            Giovanni Sandoval's Evidentiary
             Objections to Defendant's Reply
4            in Support of Defendant's Motion
        1355
5            for Summary Judgment and
         (*)
             Motion to Strike, dated
6            5/06/2015, Nilon vs. Natural-
7            Immunogenics Corp.
             (NTG061133)                           Defendant
8       1356
9        (*)  [Number not used]                    Defendant
        1357
10       (*)  [Number not used]                    Defendant
11           Daniel White expert, Defendant's
             Response to Plaintiff's Motion to
12      1358
             Strike, and Evidentiary
         (*)
13           Objections to Defendant's Reply
             in Support of                         Defendant
14
             Defendant's Motion for Summary
15           Judgment, dated 5/07/2015, with
        1359
             supporting documents, Nilon vs.
16       (*)
             Natural-Immunogenics Corp.
17           (NTG061142)                           Defendant
18           Daniel White expert, Order
             Tentatively Vacating Class
19           Certification and Dismissing Case
        1360
20           Without Prejudice, dated
         (*)
             5/11/2015, Nilon vs. Natural-
21           Immunogenics Corp.
22           (NTG061158)                           Defendant
23      1361
         (*)  [Number not used]                    Defendant
24
             Daniel White expert, Plaintiff's
25           Repsonse re Tentative Decision
26
        1362 Decertifying Class Action, dated
         (*) 5/15/2015, Nilon vs. Natural-
27           Immunogenics Corp.
28           (NTG061164)                           Defendant

                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             131
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 133 of 224 Page ID
                                        #:84510



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Order of
3       1363   Dismissal, dated 5/20/2015,
         (*)   Nilon vs. Natural-Immunogenics
4              Corp.(NTG061168)                     Defendant
5              Daniel White expert, Declaration
               of Peter A. Arhangelsky in
6              Support of Defendant's Reply to
7       1364   Plaintiff's Response to Tentative
         (*)   Order Dismissing Case Without
8              Prejudice, dated 5/18/2015, Nilon
9              vs. Natural-Immunogenics Corp.
               (NTG061170)                          Defendant
10             Daniel White expert, Letter dated
11             5/28/2015 from Peter
        1365
               Arhangelsky to Ryan M. Ferrell,
12       (*)
               Nilon vs. Natural-Immunogenics
13             Corp. (NTG061285)                    Defendant
               Daniel White expert, Defendant's
14
               Reply to Plaintiff's Response to
15             Tentative Order Dismissing Case
        1366
               Without Prejudice and Request
16       (*)
               for Sanctions, dated, 5/18/2015,
17             Nilon vs. Natural-Immunogenics
18
               Corp. (NTG061287)                    Defendant
               Daniel White expert, Notice of
19             Hearing and Defendant's Motion
20             for Rule 11 and Other Monetary
        1367
               Sanctions, with supporting
21       (*)
               documents, dated 6/24/2015,
22             Nilon vs. Natural-Immunogenics
               Corp. (NTG061300)                    Defendant
23             Daniel White expert, Order
24             Denying Defendant's Motion for
        1368
               Sanctions, dated 10/28/2015,
25       (*)
               Nilon vs. Natural-Immunogenics
26             Corp. (NTG061545)                    Defendant
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              132
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 134 of 224 Page ID
                                        #:84511



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              Daniel White expert, Plaintiff's
3              Rico Case Statement, Natural-
        1369
               Imunogencis Corp. vs. Newport
4        (*)
               Trial Group, et al., dated
5              11/14/2016.                          Defendant
               Daniel White expert, Plaintiff's
6              Second Amended Complaint for
7       1370   Damages and Injunctive Relief,
         (*)   Natural-Immunogencis Corp. Vs.
8              Newport Trial Group,. et al.,
9              dated 5/10/2016.                     Defendant
               Daniel White expert, Expert
10             Report of Andrew Saxon, M.D.,
        1371
11             Natural-Immunogencis Corp. Vs.
         (*)
               Newport Trial Group, et al., dated
12
               7/11/2017.                           Defendant
13             Daniel White expert, Saxon-
        1372
               Attachment A CV, dated March
14       (*)
               2017.                                Defendant
15      1373   Daniel White expert, Saxon-
16
         (*)   Attachment B Literature.             Defendant
               Daniel White expert, Saxon-
17      1374
               Attachment C -Saxon Testimony,
         (*)
18             6/21/13-6/20/17.                     Defendant
               Daniel White expert, Order
19             Denying Defendant's Motion for
20      1375   Partial Summary Judgment as to
         (*)   First Cause of Action for
21             Malicious Prosecution, dated
22             4/19/2017. 00340662. WPD             Defendant
               Daniel White expert, The July 17,
23      1376
               2017 Rule 26 Report of Grant D.
         (*)
24             Stiefel and attachments.             Defendant
               Daniel White expert, Summary
25      1377
               spreadsheet of August 4, 2017 by
         (*)
26             Callahan & Blaine                    Defendant
               Daniel White expert, Sandoval
27      1378
               only spreadsheet of August 4,
         (*)
28             2017 by Callahan & Blaine            Defendant
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              133
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 135 of 224 Page ID
                                        #:84512



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2            Daniel White expert, Sandoval
        1379
3            only spreadsheet of August 4,
         (*)
             2017 by Callahan & Blaine             Defendant
4            Daniel White expert, Reductions
5       1380 and exclusions spreadsheet of
         (*) August 4, 2017 by Callahan &
6            Blaine                                Defendant
7            Daniel White expert, Monthly
        1381
             breakdown spreadsheet of August
8        (*)
             4, 2017 by Callahan & Blaine.         Defendant
9            David Queen expert, Transcript
             of 2004 Examination of Clark W.
10
             Baker, Individually, and as PMK
        1382
11           for Office of Medical and
         (*)
             Scientific Justice, Inc. taken by
12
             Veritext Legal Solutions on
13           9/18/15, no Doc. Number               Defendant
             David Queen expert, Declaration
14
             of Clark Baker in Support of
        1383
15           NIC’s Consolidated Opposition
         (*)
16
             to NTG’s Special Motions to
             Strike filed 3/14/16, Doc. 54‐1       Defendant
17           David Queen expert, James
18           Murtagh v. Clark W. Baker, Adv.
             No. 2:15‐AP‐01535 BB, Joint
19      1384
             Appendix of Evidence for
         (*)
20           Multiple Motions in Adversary
             Proceeding, Dkt. 70 and
21           Accompanying s, No. 1 to 420.         Defendant
22           David Queen expert, Declaration
        1385 of Clark Baker in Support of
23       (*) NIC’s Crime‐Fraud Motion dated
24           12/13/16                              Defendant
25
26
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             134
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 136 of 224 Page ID
                                        #:84513



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              David Queen expert, Letter from
3              Sheri Bluebond, Chief
               Bankruptcy Judge, dated 1/18/17
4       1386   to Eileen M. Decker, Esq., U.S.
5        (*)   Attorney’s Office, re: Referral of
               Clark Warren Baker for
6              Investigation for Witness
7              Tampering, Doc. 200                  Defendant
               David Queen expert, Declaration
8       1387
               of David Bender Re: Sanctions
         (*)
9              filed 1/31/17, Doc. 122‐4            Defendant
               David Queen expert, B to
10      1388   Declaration of Andrew Nilon re:
11       (*)   Electric Family Scam Website
               dated 4/14/17                        Defendant
12
               David Queen expert, Condensed
13      1389   Transcript of Deposition of Clark
         (*)   Baker taken on 4/21/17 by HG
14
               Litigation.com                       Defendant
15             David Queen expert, NTG
        1390
               Defendants’ Motion for Sanctions
16       (*)
               filed 5/15/17, Doc. 311              Defendant
17             David Queen expert, RJN in
18      1391   Support of NTG Defendants’
         (*)   Motion for Sanctions filed
19             5/15/17, Doc. 312                    Defendant
20             David Queen expert, James M.
               Sabovich’s Declaration in
        1392
21             Support of NTG Defendants’
         (*)
22             Motion for Sanctions filed
               5/15/17, Doc. 311‐1                  Defendant
23             David Queen expert, NIC
24             Plaintiffs’ Opposition to Motion
        1393
               for Sanctions filed 5/22/17, Doc.
25       (*)
               320 and associated s, Dkt. 320‐4
26             to 320‐12.                           Defendant
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              135
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 137 of 224 Page ID
                                        #:84514



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2              David Queen expert, NTG
3       1394   Defendants’ Reply in Support of
         (*)   Motion for Sanctions filed
4              5/30/17, Doc. 328                     Defendant
5              David Queen expert, Andrew
               Nilon’s Declaration in Support of
        1395
6              NTG Defendants’ Reply in
         (*)
7              Support of Motion for Sanctions
               filed 5/30/17, Doc. 328‐1             Defendant
8              David Queen expert, Declaration
9              of James M. Sabovich in Support
        1396   of NTG Defendants’ Reply in
10       (*)   Support of Motion for Sanctions
11             filed 5/30/17, and associated s,
               Doc. 328‐2                            Defendant
12
               David Queen expert, Invoices
13      1397   from Clark Baker
         (*)   (BAKER0000508 -
14
               BAKER0000522)                         Defendant
15      1398   [Records produced by Verizon
16
         (*)   for phone number 925-785-0902]        Defendant
               Thomas Blackburn expert,
17      1399   06/01/2016 letter from Plaintiff to
18       (*)   Verizon re Verizon Wireless Case
               #160085930                            Defendant
19      1400   Thomas Blackburn expert, Phone
20       (*)   Record Chart                          Defendant
               Thomas Blackburn expert,
21             Plaintiff’s Second Supplemental
        1401
22             Memorandum in Support of
         (*)
               Production of Documents, Dkt.
23             355-3.                                Defendant
24      1402   08/27/2010 Trycia’s Blog
         (*)   (NTG0071384-0071392)                  Defendant
25
        1403   12/24/2011 Photo and file info
26       (*)   (NTG0071393-0071394)                  Defendant
        1404   12/24/2011 Email from Scott
27
         (*)   Ferrell (NTG0071395-0071396)          Defendant
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               136
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 138 of 224 Page ID
                                        #:84515



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2            2011 Tryicia Carlberg
        1405
3            background (NTG0071397-
         (*)
             0071400)                              Defendant
4       1406
5        (*) Enter Stage 4 (NTG0071401)            Defendant
             06/29/2017 Article titled “Best-
        1407
6            selling ‘pH Miracle’ author heads
         (*)
7            to jail” (NTG0071421-0071431)         Defendant
             06/29/2017 Article titled “Best-
8       1408
             selling ‘pH Miracle’ author heads
         (*)
9            to jail” (NTG0071432-0071434)         Defendant
             11/02/2018 Article titled “Jury
10
             awards $105 million to terminal
        1409
11           cancer patient in suit against ‘pH
         (*)
             Miracle’ author (NTG0071435-
12
             0071440)                              Defendant
13      1410 Search result re “p.h. miracle
         (*) homeopathic” (NTG0071441)             Defendant
14
             Article titled “The pH Miracle
15      1411 Whole Body Cleanse: ‘The
16       (*) Liquid Feast’” (NTG0071442-
             0071445)                              Defendant
17           05/25/2011-11/08/2011 Facebook
18      1412 Messenger thread between Erin
         (*) Ferrell and Trycia Carlberg
19           (NTG0071446-0071468)                  Defendant
20      1413 11/28/2011 Card from Trycia
         (*) Carlberg (NTG0071469)                 Defendant
21      1414 02/14/2012 Facebook post by
22       (*) Trycia Carlberg (NTG0071470)          Defendant
             02/19/2012 Facebook post by
23      1415
             Erin Ferrell (NTG0071471-
         (*)
24           0071472)                              Defendant
             03/06/2012 Email between Trycia
25      1416
             Carlberg and Charlotte Carlberg
         (*)
26           (NTG0071473-0071475)                  Defendant
27
        1417 03/28/2012 Card from Trycia
         (*) Carlberg (NTG0071476)                 Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             137
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 139 of 224 Page ID
                                        #:84516



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2       1418 05/05/2012 Email from Erin
3        (*) Ferrell (NTG0071477)             Defendant
        1419 05/05/2013 Facebook post
4        (*) (NTG0071478-0071479)             Defendant
5            List of photo and video names
        1420
             with corresponding date metadata
6        (*)
             (NTG0071480)                     Defendant
7       1421
         (*) Photo (NTG0071481)               Defendant
8       1422
9        (*) Photo (NTG0071482)               Defendant
        1423
10
         (*) Video (NTG0071483)               Defendant
11      1424
         (*) Photo (NTG0071484)               Defendant
12
        1425
13       (*) Photo (NTG0071485)               Defendant
14      1426
         (*) Photo (NTG0071486)               Defendant
15      1427
16       (*) Photo (NTG0071487)               Defendant
        1428
17       (*) Photo (NTG0071488)               Defendant
18      1429
         (*) Photo (NTG0071489)               Defendant
19
        1430 Google Maps directions
20       (*) (NTG0071490)                     Defendant
        1431 03/26/2012 Email string
21
         (*) (NTG0071491)                     Defendant
22      1432 01/27/2012 Email string
         (*) (NTG0071492)                     Defendant
23
        1433 02/01/2012 Email string
24       (*) (NTG0071493)                     Defendant
25      1434 03/10/2012 Facebook notification
         (*) (NTG0071494)                     Defendant
26      1435
27       (*) 03/09/2012 Email (NTG0071495) Defendant
        1436 04/28/2012 Email string
28       (*) (NTG0071496)                     Defendant
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            138
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 140 of 224 Page ID
                                        #:84517



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2       1437   05/07/2012 Email string
3        (*)   (NTG0071497-0071500)                Defendant
        1438   05/07/2012 Facebook notification
4        (*)   (NTG0071501)                        Defendant
5       1439   03/12/2012 Email string
         (*)   (NTG0071502-0071503)                Defendant
6       1440   03/19/2012 Email string
7        (*)   (NTG0071504-0071505)                Defendant
        1441   03/13/2012 Email string
8        (*)   (NTG0071506-0071510)                Defendant
9       1442   Duties of a Class Representative
         (*)   (NTG0071516)                        Defendant
10
        1443   06/24/2010 Email from Scott
11       (*)   Ferrell (NTG09980)                  Defendant
12
        1444   06/28/2010 Receipt for Magna-
         (*)   RX (NTG011063)                      Defendant
13      1445   02/27/2013 Email from Andrew
14       (*)   Nilon (NILON00016)                  Defendant
        1446   12/24/2011 Photo of Sovereign
15       (*)   Silver supplement (NTG022156)       Defendant
16      1447   08/24/2012 Email from Randal
         (*)   Harris (NTG06175)                   Defendant
17      1448   iMessage at 6:46 p.m
18       (*)   (DEC_00001)                         Defendant
        1449   iMessage at 11:55 a.m. re
19
         (*)   Declaration (DEC_00002)             Defendant
20      1450   iMessage at 11:55 a.m. re
         (*)   Declaration part 2 (DEC_00003)      Defendant
21
        1451   iMessage at 11:55 a.m. re
22       (*)   Declaration part 3 (DEC_00004)      Defendant
23
        1452   iMessage at 11:55 a.m. re
         (*)   Declaration part 4 (DEC_00005)      Defendant
24      1453   iMessage at 11:55 a.m. re
25       (*)   Declaration part 5 (DEC_00006)      Defendant
        1454   iMessage at 11:55 a.m. re
26       (*)   Declaration part 6 (DEC_00007)      Defendant
27      1455   iMessage at 11:55 a.m. re
         (*)   Declaration part7 (DEC_00008)       Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             139
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 141 of 224 Page ID
                                        #:84518



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2       1456   iMessage at 11:55 a.m. re
3        (*)   Declaration part 8 (DEC_00009)       Defendant
        1457   iMessage at 1:49 p.m. re lawsuit
4        (*)   re perjury (DEC_00010)               Defendant
5       1458   iMessage at 1:49 p.m. re lawsuit
         (*)   re perjury (DEC_00011)               Defendant
6       1459   iMessage at 1:49 p.m. re lawsuit
7        (*)   re perjury (DEC_00012)               Defendant
        1460   iMessages between 10/1/2019 –
8        (*)   3/19/2020 (DEC_00013-00055)          Defendant
9       1461
         (*)   Photo (DEC_00056)                    Defendant
10
               Email from J. Fernandes dated
        1462
11             8/10/2019 at 4:37 p.m.
         (*)
               (DEC_00057-00058)                    Defendant
12
               Email from J. Fernandes dated
13
        1463
               8/10/2019 at 3:17 p.m.
         (*)
14
               (DEC_00059-00060)                    Defendant
               Email from J. Fernandes dated
15      1464
               8/10/2019 at 12:46 p.m.
         (*)
16             (DEC_00061)                          Defendant
               Email from Peter Arhangelsky
17      1465
               dated August 12, 2019
         (*)
18             (DEC_00062-00064)                    Defendant
        1466   Email from J. Fernandes dated
19       (*)   8/12/2019 (DEC_00065)                Defendant
20      1467   Email from J. Fernandes dated
         (*)   8/12/2019 (DEC_00066-00068)          Defendant
21
        1468   Email from J. Fernandes dated
22       (*)   8/12/2019 (DEC_00069)                Defendant
        1469   Email from J. Buc dated
23
         (*)   8/19/2021 (DEC_00070-00075)          Defendant
24      1470   Email from J. Buc dated
25
         (*)   8/16/2021 (DEC_00076-00079)          Defendant
        1471   Email from P. Arhangelsky dated
26       (*)   8/18/2019 (DEC_00080-00084)          Defendant
27      1472   Email from P. Arhangelsky dated
         (*)   8/19/2019 (DEC_00085-00090)          Defendant
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              140
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 142 of 224 Page ID
                                        #:84519



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2       1473   Email from J. Buc dated
3        (*)   8/21/2019 (DEC_00091-00093)         Defendant
        1474   Email from J. Buc dated
4        (*)   8/22/2019 (DEC_00094)               Defendant
5       1475   Email from M. Buc dated
         (*)   8/21/2019 (DEC_00095)               Defendant
6       1476   Email from J. Fernandes dated
7        (*)   8/21/2019 (DEC_00097)               Defendant
        1477   Email from J. Fernandes dated
8        (*)   8/21/2019 (DEC_00098)               Defendant
9       1478   Email from J. Fernandes dated
         (*)   8/21/2019 (DEC_00099)               Defendant
10
        1479   Email from C. Carlberg dated
11       (*)   8/22/2019 (DEC_00100)               Defendant
12
        1480   Email from J. Fernandes dated
         (*)   8/22/2019 (DEC_00101-00102)         Defendant
13      1481   Email from J. Fernandes dated
14       (*)   8/22/2019 (DEC_00103-00105)         Defendant
        1482   Email from J. Fernandes dated
15       (*)   8/22/2019 (DEC_00106-00107)         Defendant
16      1483   Email from J. Buc dated
         (*)   8/24/2019 (DEC_00108-00113)         Defendant
17      1484   Email from J. Buc dated
18       (*)   8/23/2019 (DEC_00114-00118)         Defendant
        1485   Email from J. Buc dated
19
         (*)   8/23/2019 (DEC_00119-00121)         Defendant
20      1486   Email from J. Fernandes dated
         (*)   8/23/2019 (DEC_00122-00125)         Defendant
21
        1487   Email from J. Fernandes dated
22       (*)   8/23/2019 (DEC_00126-00131)         Defendant
23
        1488   Email from J. Fernandes dated
         (*)   8/23/2019 (DEC_00132-00134)         Defendant
24      1489   Email from J. Fernandes dated
25       (*)   8/23/2019 (DEC_00135-00140)         Defendant
        1490   Email from J. Fernandes dated
26       (*)   8/23/2019 (DEC_00141-00146)         Defendant
27      1491   Email from J. Fernandes dated
         (*)   8/23/2019 (DEC_00147-00150)         Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             141
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 143 of 224 Page ID
                                        #:84520



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2       1492   Email from C. Carlberg dated
3        (*)   8/23/2019 (DEC_00151)                Defendant
        1493   Email from J. Fernandes dated
4        (*)   8/09/2019 (DEC_00152-00153)          Defendant
5       1494   Email from J. Fernandes dated
         (*)   9/19/2019 (DEC_00154)                Defendant
6       1495   Email from J. Fernandes dated
7        (*)   9/27/2019 (DEC_00155)                Defendant
        1496   Email from J. Fernandes dated
8        (*)   9/30/2019 (DEC_00156)                Defendant
9              Photo of Personal Information
        1497
               (DEC_00157)
10       (*)
               (CONFIDENTIAL)                       Defendant
11      1498   Text Messages dated 8/10/2019-
         (*)   9/30/2019 (DEC_00158-00167)          Defendant
12
        1499   Email from J. Fernandes dated
13       (*)   8/24/2019 (DEC_00168-00173)          Defendant
14      1500   Photo of Signed Declaration
         (*)   dated 8/22/2019 (DEC_00174)          Defendant
15      1501   Photo of Signed Declaration
16       (*)   dated 8/22/2019 (DEC_00175)          Defendant
        1502
17       (*)   Group photo (DEC_00176)              Defendant
18      1503
         (*)   Photo (DEC_00177)                    Defendant
19
        1504   Photo of handwritten note
20       (*)   (DEC_00178)                          Defendant
        1505   Photo of handwritten note
21
         (*)   (DEC_00179)                          Defendant
22      1506   Photo of handwritten note
         (*)   (DEC_00180)                          Defendant
23
        1507   Photo of handwritten note
24       (*)   (DEC_00181)                          Defendant
25      1508
         (*)   Facebook photo (DEC_00182)           Defendant
26      1509
27       (*)   Facebook photo (DEC_00183)           Defendant
        1510
28       (*)   Facebook post (DEC_00184)            Defendant
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              142
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 144 of 224 Page ID
                                        #:84521



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2       1511
3        (*)   Facebook photo (DEC_00185)         Defendant
        1512
4        (*)   Facebook photo (DEC_00186)         Defendant
5       1513
         (*)   Facebook photo (DEC_00187)         Defendant
6       1514
7        (*)   Facebook photo (DEC_00188)         Defendant
        1515
8        (*)   Facebook photo (DEC_00189)         Defendant
9       1516
         (*)   Facebook photo (DEC_00190)         Defendant
10
        1517
11       (*)   Facebook photo (DEC_00191)         Defendant
12
        1518
         (*)   Facebook photo (DEC_00192)         Defendant
13      1519   Appointment Notice dated
14       (*)   3/29/2011 (DEC_00193)              Defendant
               Pain Management Medication &
15      1520
               Opiod Therapy Agreement Dated
         (*)
16             3/8/2011 (DEC_00194)               Defendant
        1521   Letter from Case Manager dated
17       (*)   3/8/2011 (DEC_00195)               Defendant
18      1522   Enrollment Form dated 2/4/2011
         (*)   (DEC_00196)                        Defendant
19
        1523   Medicare Summary Notice Dated
20       (*)   5/18/2012 (DEC_00197)              Defendant
        1524   Letter from LSW dated 4/6/2011
21
         (*)   (DEC_00198)                        Defendant
22      1525   Email from J. Buc dated
         (*)   8/22/2019 (DEC_00199)              Defendant
23
        1526   Declaration of J. Buc
24       (*)   (DEC_00200-00203)                  Defendant
25      1527   Email from J. Buc dated
         (*)   8/22/2019 (DEC_00204)              Defendant
26      1528   Email from J. Fernandes dated
27       (*)   8/10/2019 (DEC_00205)              Defendant
        1529   Declaration of C. Carlberg
28       (*)   (DEC_00206-00210)                  Defendant
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            143
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 145 of 224 Page ID
                                        #:84522



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2       1530   Email from J. Fernandes dated
3        (*)   8/21/2019 (DEC_00211)                 Defendant
        1531   Declaration of C. Carlberg
4        (*)   (DEC_00212-00215)                     Defendant
5       1532   Email from J. Fernandes dated
         (*)   8/21/2019 (DEC_00216)                 Defendant
6       1533   Declaration of M. Buc
7        (*)   (DEC_00217-00222)                     Defendant
        1534   Email from J. Fernandes dated
8        (*)   8/12/2019 (DEC_00223)                 Defendant
9       1535   Declaration of M. Buc
         (*)   (DEC_00224-00228)                     Defendant
10
        1536   Declaration of C. Carlberg
11       (*)   (DEC_00229-00232)                     Defendant
12
        1537   Declaration of J. Buc
         (*)   (DEC_00233-00237)                     Defendant
13      1538   Email from J. Fernandes dated
14       (*)   9/19/2019 (DEC_00238)                 Defendant
               Plaintiff’s Notice of Motion &
15      1539   Motion for Sanctions re S.
16       (*)   Farrell’s False Declaration Filed
               9/19/2019 (DEC_00239-00392)           Defendant
17      1540   Email from C. Carlberg dated
18       (*)   8/22/2019 (DEC_00393-00394)           Defendant
        1541   Email from M. Buc dated
19       (*)   8/22/2019 (DEC_00395-00396)           Defendant
20      1542   Email from C. Carlberg dated
         (*)   8/22/2019 (DEC_00397-00399)           Defendant
21
        1543   Email from C. Carlberg dated
22       (*)   8/22/2019 (DEC_00400)                 Defendant
        1544   Email from C. Carlberg dated
23
         (*)   8/10/2019 (DEC_00403-00404)           Defendant
24      1545   Email from J. Fernandes dated
25       (*)   8/10/2019 (DEC_00405-00406)           Defendant
        1546   Email from J. Fernandes dated
26       (*)   8/10/2019 (DEC_00407-00408)           Defendant
27      1547   Email from C. Carlberg dated
         (*)   8/12/2019 (DEC_00409-00412)           Defendant
28
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               144
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 146 of 224 Page ID
                                        #:84523



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2       1548   Email from C. Carlberg dated
3        (*)   8/12/2019 (DEC_00413-00416)        Defendant
        1549   Email from J. Fernandes dated
4        (*)   8/12/2019 (DEC_00417-00419)        Defendant
5       1550   Declaration of C. Carlberg
         (*)   (DEC_00420-00423)                  Defendant
6       1551   Email from J. Fernandes dated
7        (*)   8/22/2019 (DEC_00424-00426)        Defendant
        1552   Email from J. Fernandes dated
8        (*)   8/22/2019 (DEC_00427-000428)       Defendant
9       1553   Declaration of C. Carlberg
         (*)   (DEC_00429-00432)                  Defendant
10
        1554   Email from J. Fernandes dated
11       (*)   823/2019 (DEC_00433-00436)         Defendant
12
        1555   Declaration of C. Carlberg
         (*)   (DEC_00437-00441)                  Defendant
13      1556   Email from M. Buc dated
14       (*)   8/21/2019 (DEC_00442-00443)        Defendant
        1557   Email from C. Carlberg dated
15       (*)   8/22/2019 (DEC_00444-00446)        Defendant
16      1558   Email from C. Carlberg dated
         (*)   8/23/2019 (DEC_00447-00450)        Defendant
17      1559   Email from J. Fernandes dated
18       (*)   8/23/2019 (DEC_00451-00455)        Defendant
        1560   Declaration of M. Buc
19
         (*)   (DEC_00456-00461)                  Defendant
20      1561   Declaration of J. Buc
         (*)   (DEC_00462-00466)                  Defendant
21
        1562   Email from J. Fernandes dated
22       (*)   8/23/2019 (DEC_00467-00470)        Defendant
23
        1563   Declaration of C. Carlberg
         (*)   (DEC_00471-00475)                  Defendant
24      1564   Email from J. Fernandes dated
25       (*)   8/22/2019 (DEC_00476-00478)        Defendant
        1565   Declaration of J. Buc
26       (*)   (DEC_00479-00482)                  Defendant
27      1566   Declaration of C. Carlberg
         (*)   (DEC_00483-00486)                  Defendant
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            145
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 147 of 224 Page ID
                                        #:84524



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2       1567   Declaration of M.
3        (*)   Buc(DEC_00487-00492)                Defendant
        1568   Email from J. Buc dated
4        (*)   8/23/2019 (DEC_00493-00495)         Defendant
5       1569   Email from J. Buc dated
         (*)   8/16/2019 (DEC_00496-00499)         Defendant
6       1570   Email from J. Fernandes dated
7        (*)   8/23/2019 (DEC_00500-00505)         Defendant
        1571   Email from J. Fernandes dated
8        (*)   8/23/2019 (DEC_00506-00511)         Defendant
9       1572   Email from J. Fernandes dated
         (*)   8/23/2019 (DEC_00512-00518)         Defendant
10
        1573   Email from M. Buc dated
11       (*)   8/23/2019 (DEC_00519-00524)         Defendant
12
        1574   Email from J. Fernandes dated
         (*)   8/23/2019 (DEC_00525-00530)         Defendant
13      1575   Email from J. Buc dated
14       (*)   8/24/2019 (DEC_00531-00535)         Defendant
        1576   Declaration of M. Buc
15       (*)   (DEC_00536-00541)                   Defendant
16      1577   Email from J. Fernandes dated
         (*)   9/27/2019 (DEC_00542)               Defendant
17             NTG’s Opposition to Motion for
        1578
18             Sanctions filed 9/27/2019
         (*)
               (DEC_00543-00708)                   Defendant
19
        1579   Email from J. Buc dated
20       (*)   8/23/2019 (DEC_00709-00712)         Defendant
        1580   Declaration of M. Buc
21
         (*)   (DEC_00713-00718)                   Defendant
22      1581   Declaration of J. Buc
         (*)   (DEC_00719-00722)                   Defendant
23
        1582   Email from J. Fernandes dated
24       (*)   8/9/2019 (DEC_00723-00724)          Defendant
25             Declaration Signature of T.
        1583
               Carlberg dated 3/22/2012
26       (*)
               (DEC_00725)                         Defendant
27      1584   Declaration of S. Ferrell filed
         (*)   7/3/2019 (DEC_00726-00731)          Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             146
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 148 of 224 Page ID
                                        #:84525



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2       1585 Email from J. Fernandes dated
3        (*) 9/30/2019 (DEC_00732)                Defendant
             Notice of Withdrawal of
4       1586 Plaintiff’s motion for sanctions
5        (*) filed 9/30/2019 (DEC_00733-
             00736)                               Defendant
6       1587
7        (*) Photo (DEC_00737)                    Defendant
        1588 Email from J. Fernandes dated
8        (*) 8/9/2019 (DEC_00738-00739)           Defendant
9       1589 Email from P. Arhangelsky dated
         (*) 8/22/2019 (DEC_00740-00741)          Defendant
10
        1590 Email from P. Arhangelsky dated
11       (*) 8/22/2019 (DEC_00742-00744)          Defendant
        1591 Email from P. Arhangelsky dated
12
         (*) 8/22/2019 (DEC_00745-00746)          Defendant
13      1592 Email from P. Arhangelsky dated
14
         (*) 8/20/2019 (DEC_00761-00762)          Defendant
        1593 Email from J. Buc dated
15       (*) 8/19/2019 (DEC_00763-00764)          Defendant
16      1594 T. Carlberg Passport
         (*) (DEC_00765)                          Defendant
17      1595 Executed T. Carlberg Declaration
18       (*) dated 3/22/2012 (DEC_00766)          Defendant
        1596 Email from E. Ferrell dated
19       (*) 3/9/2012 (DEC_00767)                 Defendant
20      1597 Email from S. Ferrell dated
         (*) 3/9/2012 (DEC_00768)                 Defendant
21
        1598 iMessage dated 9/30
22       (*) (DEC_00772)                          Defendant
        1599 iMessage dated 10/1
23
         (*) (DEC_00773)                          Defendant
24      1600 iMessage dated 10/3/2019
25       (*) (DEC_00774)                          Defendant
        1601 Letter dated 10/7/2019 to J. Buc
26       (*) (DEC_00775)                          Defendant
27      1602 Text Message (DEC_00776-
         (*) 00778)                               Defendant
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            147
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 149 of 224 Page ID
                                        #:84526



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2       1603   Text Message (DEC_00779-
3        (*)   00781)                             Defendant
        1604   Text Message (DEC_00782-
4        (*)   00784)                             Defendant
5       1605   Text Message (DEC_00785-
         (*)   00787)                             Defendant
6       1606
7        (*) Facebook Post (DEC_00788)            Defendant
             Email from the
8       1607
             Rosensword@gmail.com dated
         (*)
9            11/19/2019 (DEC_00789)               Defendant
        1608
10
         (*) Facebook Post (DEC_00790)            Defendant
11      1609 Email to J. Fernandes dated
         (*) 11/12/2019 (DEC_00791)               Defendant
12
        1610 Declaration of C. Carlberg
13       (*) (DEC_00792-00795)                    Defendant
14      1611 Email from C. Carlberg dated
         (*) 8/10/2019 (DEC_00796-00797)          Defendant
15      1612 Email from C. Carlberg dated
16       (*) 8/22/2019 (DEC_00798)                Defendant
        1613 Email from C. Carlberg dated
17       (*) 8/22/2019 (DEC_00799-00800)          Defendant
18      1614 NATIVE DOCUMENT
         (*) HOLDER (DEC_00801.m4a)               Defendant
19
        1615 Email from P. Arhangelsky dated
20       (*) 8/12/2019 (DEC_00802-00804)          Defendant
             Executed Declaration of J. Buc
21      1616
             dated 11/12/2019 (DEC_00805-
         (*)
22           00806)                               Defendant
        1617 Email from J. Fernandes dated
23
         (*) 1/30/2020 (DEC_00807-00810)          Defendant
24      1618 Email from C. Carlberg dated
25       (*) 8/20/2019 (DEC_00811)                Defendant
        1619 Email from C. Carlberg dated
26       (*) 8/20/2019 (DEC_00812)                Defendant
27      1620 Email from C. Carlberg dated
         (*) 8/20/2019 (DEC_00813)                Defendant
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            148
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 150 of 224 Page ID
                                        #:84527



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2       1621 Email from C. Carlberg dated
3        (*) 8/20/2019 (DEC_00814-00815)          Defendant
        1622 Email from C. Carlberg dated
4        (*) 8/20/2019 (DEC_00816-00817)          Defendant
5            NTG’s Reply in Support of
        1623 Request for OSC regarding
6        (*) Sanctions filed 11/4/2019
7            (DEC_00818-00928)                    Defendant
        1624 Email from C. Carlberg dated
8        (*) 8/23/2019 (DEC_00928)                Defendant
9            Executed Declaration of C.
        1625
             Carlberg dated 8/22/2019
10       (*)
             (DEC_00929)                          Defendant
11      1626
         (*) iMessage (DEC_00930)                 Defendant
12
        1627
13       (*) iMessage (DEC_00931)                 Defendant
14
        1628 iMessage dated 8/12
         (*) (DEC_00932)                          Defendant
15      1629 iMessage dated 8/12
16       (*) (DEC_00933)                          Defendant
        1630
17       (*) iMessage (DEC_00934)                 Defendant
18      1631
         (*) iMessage dated 9/5 (DEC_00935)       Defendant
19      1632 iMessage dated 10/3
20       (*) (DEC_00936)                          Defendant
        1633 iMessage dated 11/5
21
         (*) (DEC_00937)                          Defendant
22      1634
         (*) iMessage (DEC_00938)                 Defendant
23
        1635
24       (*) iMessage (DEC_00939)                 Defendant
25      1636
         (*) iMessage (DEC_00940)                 Defendant
26      1637
27       (*) iMessage (DEC_00941)                 Defendant
        1638
28       (*) Text Message (DEC_00942)             Defendant
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            149
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 151 of 224 Page ID
                                        #:84528



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2       1639
3        (*)   iMessage (DEC_00943)               Defendant
        1640
4        (*)   iMessage (DEC_00944)               Defendant
5       1641
         (*)   Text Message (DEC_00945)           Defendant
6       1642
7        (*)   iMessage (DEC_00946)               Defendant
        1643
8        (*)   iMessage (DEC_00947)               Defendant
9       1644
         (*)   iMessage (DEC_00948)               Defendant
10
        1645
11       (*)   iMessage (DEC_00949)               Defendant
12
        1646
         (*)   iMessage (DEC_00950)               Defendant
13      1647
14       (*)   iMessage (DEC_00951)               Defendant
        1648
15       (*) iMessage dated 2/9 (DEC_00952)       Defendant
16      1649 iMessage dated 2/12
         (*) (DEC_00953)                          Defendant
17      1650 iMessage dated 2/12
18       (*) (DEC_00954)                          Defendant
        1651 Email from J. Fernandes dated
19
         (*) 11/4/2019 (DEC_00955)                Defendant
20           Reply in Support of Plaintiff’s
        1652 Motion for Sanctions re Witness
21
         (*) Tampering filed 11/4/19
22           (DEC_00956-00997)                    Defendant
        1653 Text Message dated 8/12/2019
23
         (*) (DEC_00998)                          Defendant
24      1654
25       (*) Text Message (DEC_00999)             Defendant
        1655 Text Message dated 8/23/2019
26       (*) (DEC_01000)                          Defendant
27      1656 Text Message dated 8/23/2019
         (*) (DEC_01001)                          Defendant
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            150
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 152 of 224 Page ID
                                        #:84529



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2       1657   Text Message dated 9/5/2019
3        (*)   (DEC_01002)                          Defendant
        1658   Text Message dated 9/27/2019
4        (*)   (DEC_01003)                          Defendant
5       1659   Text Message dated 9/28/2019
         (*)   (DEC_01004)                          Defendant
6       1660
7        (*)   iMessage (DEC_01005)                 Defendant
        1661
8        (*)   iMessage (DEC_01006)                 Defendant
9       1662
         (*)   iMessage (DEC_01007)                 Defendant
10
        1663
11       (*)   iMessage (DEC_01008)                 Defendant
12
        1664
         (*)   iMessage (DEC_01009)                 Defendant
13      1665
14       (*)   iMessage (DEC_01010)                 Defendant
        1666
15       (*)   Text Message (DEC_01011)             Defendant
16      1667
         (*)   Text Message (DEC_01012)             Defendant
17      1668
18       (*)   Text Message (DEC_01013)             Defendant
        1669
19
         (*)   Text Message (DEC_01014)             Defendant
20      1670   Text Message dated 12/21/2011
         (*)   with Photo (DEC_01015)               Defendant
21
        1671   Undated text messages
22       (*)   (DEC_01016)                          Defendant
23
        1672   Undated text messages
         (*)   (DEC_01017)                          Defendant
24      1673   Undated text messages
25       (*)   (DEC_01018)                          Defendant
        1674   Undated text messages
26       (*)   (DEC_01019)                          Defendant
27      1675   August 10 text messages
         (*)   (DEC_01020)                          Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                              151
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 153 of 224 Page ID
                                        #:84530



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2       1676   Undated text messages
3        (*)   (DEC_01021)                          Defendant
        1677   August 2019 text messages
4        (*)   (DEC_01022)                          Defendant
5       1678   August 2019 text messages
         (*)   (DEC_01023)                          Defendant
6       1679   Undated text messages
7        (*)   (DEC_01024)                          Defendant
        1680   Undated text messages
8        (*)   (DEC_01025)                          Defendant
9       1681   August 2019 text messages
         (*)   (DEC_01026)                          Defendant
10
        1682   Undated text messages
11       (*)   (DEC_01027)                          Defendant
12
        1683   August 19 text message
         (*)   (DEC_01028)                          Defendant
13      1684   August text messages
14       (*)   (DEC_01029)                          Defendant
        1685   Undated text messages
15       (*)   (DEC_01030)                          Defendant
16      1686   August 2019 text messages
         (*)   (DEC_01031)                          Defendant
17      1687   August 2019 text messages
18       (*)   (DEC_01032)                          Defendant
        1688   August 23 text message
19
         (*)   (DEC_01033)                          Defendant
20             September 2019 text messages
        1689
               with signature page
21       (*)
               (DEC_01034)                          Defendant
22      1690   September 2019 text messages
         (*)   (DEC_01035)                          Defendant
23
        1691   September 2019 text messages
24       (*)   (DEC_01036)                          Defendant
25      1692   September 2019 text messages
         (*)   (DEC_01037)                          Defendant
26      1693   2019 SMS conversation
27       (*)   (DEC_01038-01046)                    Defendant
        1694   August 2019 email thread
28       (*)   (DEC_01047-01052)                    Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                              152
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 154 of 224 Page ID
                                        #:84531



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2       1695   03/22/2017 Demulder declaration
3        (*)   (NTG056405)                          Defendant
        1696   05/12/2017 Demulder declaration
4        (*)   (NTG062373-062374)                   Defendant
5       1697   03/07/2017 Nilon declaration
         (*)   (NTG055778-055779)                   Defendant
6              03/07/2017 Schoonover
        1698
7              declaration (NTG052572-
         (*)
               052573)                              Defendant
8       1699   02/01/2017 Torres declaration
9        (*)   (NTG055696-055697)                   Defendant
               08/13/2014 Email from Jarrod
10
        1700   Bentley providing media testing
11       (*)   updates for Glutia and 2-Minute
               Booty (NTG063389-063390)             Defendant
12
               08/14/2014 Email from Scott
        1701
13             Ferrell re media testing
         (*)
14
               (NTG063391-063392)                   Defendant
               08/14/2014 Email from James
15             Hardin in response to Scott
        1702
16             Ferrell’s follow up on media
         (*)
               testing updates (NTG063393-
17             063395)                              Defendant
18             08/19/2014 Email from Scott
        1703   Ferrell to Jarrod Bentley on
19       (*)   media testing updates
20             (NTG063396-063398)                   Defendant
               08/20/2014 Email from Jarrod
21      1704   Bentley in response to Scott
22       (*)   Ferrell re media testing updates
               (NTG063399-063401)                   Defendant
23
               08/20/2021 Email from Scott
24      1705   Ferrell to Jarrod Bentley re media
         (*)   testing updates (NTG063402-
25
               063404)                              Defendant
26             09/11/2014 Email from Jarrod
        1706
               Bentley to Dave Reid re 2 minute
27       (*)
               booty commercial (NTG063405)         Defendant
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              153
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 155 of 224 Page ID
                                        #:84532



1       Exh.
        No.    Description                            Offered By:   Objection(s):   Admitted:
2              09/25/2014 Email from Jarrod
3       1707   Bentley re initial updates for
         (*)   Glutia commercial testing
4              (NTG063406)                            Defendant
5              09/30/2014 Email from Jarrod
        1708   Bentley re initial updates for
6        (*)   Glutia and 2 minute booty
7              (NTG063407)                            Defendant
               10/03/2014 Email from Jarrod
8       1709
               Bentley re initial updates from
         (*)
9              Glutia (NTG063408)                     Defendant
               10/03/2014 Email from Scott
10      1710
               Ferrell to Jarrod Bentley re initial
         (*)
11             updates (NTG063409)                    Defendant
               10/03/2014 Email from Jarrod
12      1711
               Bentley re initial updates
         (*)
13             (NTG063410-063411)                     Defendant
               10/06/2014 Email from Jarrod
14
        1712   Bentley re weekend results of
15       (*)   commercial testing for 2 minute
16
               booty (NTG063412)                      Defendant
               10/07/2014 Email from Chris
17      1713
               Silva to Dave Reid re weekend
         (*)
18             results (NTG063413-063414)             Defendant
               10/16/2014 Email from Jarrod
19             Bentley re initial results of
        1714
20             commercial testing for 2 minute
         (*)
               booty and feedback for a
21             cholesterol pill (NTG063415)           Defendant
22             11/14/2014 Email from Jarrod
        1715
               Bentley re 2 minute booty update
23       (*)
               (NTG063416-063417)                     Defendant
24             11/14/2014 Email from Scott
        1716   Ferrell in response to Jarrod
25
         (*)   Bentley’s email re 2 minute booty
26             update (NTG063418-063419)              Defendant
               12/17/2014 Email from Josh
27      1717
               Weiss re lunch? for meeting on
         (*)
28             EverSilk (NTG063420)                   Defendant
                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               154
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 156 of 224 Page ID
                                        #:84533



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2            12/17/2014 Email from Scott
        1718
3            Ferrell in response to Josh Weiss
         (*)
             re lunch? (NTG063421)                 Defendant
4            12/17/2014 Email from Josh
        1719
5            Weiss to Scott Ferrell re lunch?
         (*)
             (NTG063422-063423)                    Defendant
6            03/06/2015 Email from Jarrod
        1720
7            Bentley re EverSilk
         (*)
             (NTG063425-063426)                    Defendant
8            05/26/2015 Email from Scott
        1721
9            Ferrell re Male Enhancement
         (*)
             product (NTG063429)                   Defendant
10
             05/30/2015 Email from Scott
11      1722 Ferrell re Male Enhancement
         (*) Spot, providing feedback on
12
             ProMaxal (NTG063430)                  Defendant
13           05/30/2015 Email from Jarrod
        1723 Bentley in response to Scott
14
         (*) Ferrell re Male Enhancement
15           Spot (NTG063431-063432)               Defendant
16           07/07/2015 Email from Jarrod
        1724
             Bentley to Dave Reid re Diet Pill
17       (*)
             concept (NTG063456)                   Defendant
18           07/01/2015 Email from Jarrod
        1725
             Bentley with updates on Strataluz
19       (*)
             projects (NTG063457-063458)           Defendant
20           07/16/2015 Notice of Voluntary
        1726 Dismissal Natural Products
21       (*) Solution v. Strataluz
22           (NTG063488-063491)                    Defendant
             08/07/2015 Email from Jarrod
23      1727
             Bentley to Dave Reid re Delete
         (*)
24           Diet Pill (NTG063492)                 Defendant
             08/07/2015 Email from Jarrod
25      1728
             Bentley to Dave Reid re
         (*)
26           ProMaxal Spot (NTG063494)             Defendant
             01/11/2016 Email from Scott
27      1729
             Ferrell re Quintogos
28
         (*)
             (NTG063496-063497)                    Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             155
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 157 of 224 Page ID
                                        #:84534



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2            05/06/2014 Email from Jarrod
        1730
3            Bentley on Glutia spot with
         (*)
             attachments (NTG063499)               Defendant
4            05/06/2014 Email from Scott
5       1731 Ferrell in response to Jarrod
         (*) Bently on Glutia spot
6            (NTG063501)                           Defendant
7            05/06/2014 Email from Jarrod
        1732
             Bentley in response to Scott
8        (*)
             Ferrell (NTG063502-063503)            Defendant
9            05/20/2014 Email from Scott
        1733
             Ferrell re Glutia spot
10       (*)
             (NTG063504)                           Defendant
11           05/21/2014 Email from Josh
        1734
             Weiss re Glutia spot
12       (*)
             (NTG063505)                           Defendant
13           05/28/2014 Email from Jarrod
        1735 Bentley with
14
         (*) 2minuteBootyBooklet attachment
15           (NTG063506-063507)                    Defendant
16      1736 2 Minute Booty Booklet
         (*) (NTG063508-063522)                    Defendant
17           05/28/2014 Email from Scott
18      1737 Ferrell in response to Jarrod
         (*) Bentley re 2minuteBootyBooklet
19           (NTG063523-063524)                    Defendant
20           05/28/2014 Email from Scott
        1738 Ferrell in response to Jarrod
21       (*) Bentley re 2minuteBootyBooklet
22           (NTG063540-063541)                    Defendant
             06/07/2014 Email from Scott
23      1739
             Ferrell FW: 2 minute booty spot
         (*)
24           (NTG063542)                           Defendant
             06/08/2014 Email from James
25
        1740 Hardin in response to Scott Ferrel
26       (*) re 2 minute booty spot
             (NTG063543)                           Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             156
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 158 of 224 Page ID
                                        #:84535



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2            06/11/2014 Email from Jarrod
        1741
3            Bentley re 2 minute booty spot
         (*)
             (NTG063545)                            Defendant
4            07/03/2014 Email from Scott
        1742
5            Ferrell re Commercial update
         (*)
             (NTG063546-063547)                     Defendant
6            07/04/2014 Email from Scott
        1743
7            Ferrell re Commercial update
         (*)
             (NTG063548-063549)                     Defendant
8            07/05/2014 Email from Jarrod
        1744
9            Bentley re Commercial update
         (*)
             (NTG063550-063551)                     Defendant
10
             07/21/2014 Email from Scott
        1745
11           Ferrell for additional $50,000 for
         (*)
             Strataluz (NTG063552-063554)           Defendant
12
             07/24/2014 Email from Jarrod
        1746
13           Bentley re Glutia and 2 Minute
         (*)
             Booty (NTG063555)                      Defendant
14
             07/25/2014 Email from Jarrod
15           Bentley re Glutia and 2 Minute
        1747
16           booty with 2 Minute Booty
         (*)
             Schedule attachment
17           (NTG063557)                            Defendant
18           07/28/2014 – 08/03/2014 2
        1748
             Minute Booty schedule
19       (*)
             (NTG063559)                            Defendant
20           09/04/2014 Email from Jarrod
             Bentley re Update, on Strataluz
21      1749 products including 2 minute
22       (*) booty, Glutia, Excite, and
             cholesterol pill with attachment
23           (NTG063560-063561)                     Defendant
24      1750 Excite Male Pill attachment
         (*) (NTG063562)                            Defendant
25
             06/06/2014 Email from Jarrod
        1751
26           Bentley re 2 minute booty spot
         (*)
             (NTG063563)                            Defendant
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              157
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 159 of 224 Page ID
                                        #:84536



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2            09/11/2014 Email from Jarrod
        1752
3            Bentley re New 2 minute booty
         (*)
             spot (NTG063564)                      Defendant
4            09/17/2014 Email from Jarrod
        1753
5            Bentley re Completed spots –
         (*)
             2MB x2, Glutia (NTG063565)            Defendant
6            10/29/2014 Email from Jarrod
        1754
7            Bentley FW: 2 minute booty logs
         (*)
             10.28 (NTG063566)                     Defendant
8       1755 2 Minute Booty logs
9        (*) (NTG063568-063569)                    Defendant
             11/14/2014 Email from Jarrod
10      1756
             Bentley in response to license
         (*)
11           approval (NTG063570-063571)           Defendant
             12/08/2014 Email from Jarrod
12      1757
             Bently re New Cellulite Spot
         (*)
13           (NTG063572)                           Defendant
14
             12/08/2014 Email from Jarrod
             Bentley re Updates, on
15
        1758
             commercials for 2 Minute Booty,
         (*)
16           EverSilk, and CardiaTrol
             (NTG063573)                           Defendant
17           05/4/2015 Email from Jarrod
        1759
18           Bentley with updates on Strataluz
         (*)
             products (NTG063574-063575)           Defendant
19           05/29/2015 Email from Jarrod
        1760
20           Bentley re ProMaxal Rough spot
         (*)
             (NTG063576)                           Defendant
21           05/29/2015 Email from Jarrod
        1761
22           Bentley re Male Enhancement
         (*)
             Spot (NTG063577)                      Defendant
23
             06/05/2015 Email from Jarrod
        1762
24           Bentley re PromMaxal Spot
         (*)
             (NTG063578)                           Defendant
25
             01/05/2016 Email from Jarrod
        1763
26           Bentley re Strataluz Update
         (*)
             (NTG063579)                           Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             158
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 160 of 224 Page ID
                                        #:84537



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            12/20/2013 Email from Scott
        1764
3            Ferrell re Business Plan
         (*)
             (NTG063580)                          Defendant
4            09/17/2014 Email from Dave
        1765
5            Reid re New 2 minute booty spot
         (*)
             (NTG063581)                          Defendant
6            10/06/2014 Email from Dave
        1766
7            Reid re weekend results for 2
         (*)
             minute booty (NTG063583)             Defendant
8            03/05/2015 Email from Dave
9       1767 Reid in response to re Lunch
         (*) Wednesday or Friday
10
             (NTG063584)                          Defendant
11           07/02/2015 Email from Dave
        1768 Reid re Update, for further
12
         (*) funding of Strataluz
13           (NTG063586-063588)                   Defendant
             05/06/2014 Email from Dave
14      1769
             Reid in response to Glutia spot
         (*)
15           (NTG063595)                          Defendant
16           05/28/2014 Email from Dave
        1770 Reid in response to Update on
17       (*) Strataluz products (NTG06396-
18           063597)                              Defendant
             06/09/2014 Email from Dave
19      1771
             Reid in response to 2 minute
         (*)
20           booty spot (NTG063598)               Defendant
             08/14/2014 Email from Dave
21      1772 Reid response to Update on
22       (*) media testing (NTG063599-
             063601)                              Defendant
23
             08/14/2014 Email from Dave
24      1773 Reid with further follow up to
         (*) Update on media testing
25
             (NTG063602-063604)                   Defendant
26           09/11/2014 Email from Dave
        1774
             Reid to Chris Silva FW New 2
27       (*)
             minute booty spot (NTG063605)        Defendant
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            159
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 161 of 224 Page ID
                                        #:84538



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2            09/11/2014 Email from Dave
        1775
3            Reid re New 2 minute booty spot
         (*)
             (NTG063606)                           Defendant
4            09/25/2014 Email from Dave
5       1776 Reid re Commercials testing for 2
         (*) minute booty and Glutia
6            (NTG063607)                           Defendant
7            10/03/2014 Email from Dave
        1777
             Reid re initial updates
8        (*)
             (NTG063608)                           Defendant
9            10/03/2014 Email from Dave
        1778
             Reid re initial updates
10       (*)
             (NTG063609-063610)                    Defendant
11           05/18/2015 Email from Dave
        1779 Reid re letter to Mio Skincare
12
         (*) dated 05/11/2015 (NTG063611-
13           063612)                               Defendant
             05/29/2015 Email from Dave
14      1780
             Reid re ProMaxal Rough spot
         (*)
15           (NTG063613)                           Defendant
16           05/29/2015 Email from Dave
        1781
             Reid re Male Enhancement spot
17       (*)
             (NTG063614)                           Defendant
18           06/02/2015 Email from Dave
             Reid follow up re letter to Mio
19      1782
             Skincare date 05/11/2015 with
         (*)
20           NDA attachment (NTG063615-
             063617)                               Defendant
21           Confidentiality agreement btw.
22      1783 Strataluz and Mama Mio USA re
         (*) Mio Skincare (NTG063618-
23           063623)                               Defendant
24           Email from Dave Reid re Natural
        1784 Prodcut Solutions v Strataluz
25
         (*) with attachments (NTG063924-
26           063625)                               Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             160
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 162 of 224 Page ID
                                        #:84539



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              07/16/2015 Email from Dave
3       1785   Reid re Natural Product Solutions
         (*)   v. Strataluz (NTG063632-
4              063635)                              Defendant
5       1786   01/11/2016 Email from Dave
         (*)   Reid re Quintogos (NTG063636)        Defendant
6              05/20/2014 Email from Dave
        1787
7              Reid re Glutia Spot
         (*)
               (NTG063637)                          Defendant
8              06/08/2014 Email from Dave
        1788
9              Reid re 2 minute booty spot
         (*)
               (NTG063639-063640)                   Defendant
10
               07/24/2014 Email from Dave
        1789
11             Reid re Glutia and 2 Minute
         (*)
               Booty (NTG063641-063642)             Defendant
12
               02/24/2014 Email from Scott
        1790
13             Ferrell re Quintigos Final
         (*)
               Approval (NTG063643)                 Defendant
14
               04/17/2015 Email from Jarrod
        1791
15             Bentley re Update – Strataluz
         (*)
16             (NTG063645)                          Defendant
               07/20/2015 Email from Alan
17      1792   Petlak re Settlement btw.
18       (*)   Strataluz and Nip+Fab with
               settlement attached (NTG063651)      Defendant
19             Settlement agreement between
        1793
20             Strataluz and Nip+Fab
         (*)
               (NTG063657-063662)                   Defendant
21             02/05/2014 Email from Dave
22      1794   Reid re Quintogos LLC
         (*)   Information (NTG063667-
23
               063670)                              Defendant
24             01/26/2014 Email from Josh
        1795   Weiss re
25
         (*)   “Quintigos”(NTG063679-
26             063680)                              Defendant
               01/26/2014 Email from Josh
27      1796
               Weiss re “Quintigos”
28
         (*)
               (NTG063681)                          Defendant
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              161
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 163 of 224 Page ID
                                        #:84540



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              12/20/2013 Email from Scott
3       1797   Ferrell re Infomercial Products
         (*)   with attachments (NTG063683-
4              063684)                             Defendant
5              Attachments from re Infomercial
               Products, article entitled TV
6       1798
               Millions including spreadsheets
         (*)
7              of financial projections
               (NTG063686-063691)                  Defendant
8              Attachments from re Infomercial
9       1799   Products, spreadsheets of
         (*)   financial projections
10             (NTG063692-063699)                  Defendant
11             02/27/2014 Email from Scott
        1800
               Ferrell re “Quintigos” Lunch
12       (*)
               Thursday (NTG063700-063703)         Defendant
13             02/12/2014 Email from Scott
        1801
               Ferrell re Initial Wire to
14       (*)
               Quintogos (NTG0636705)              Defendant
15      1802   Photo of Initial Wire to
16
         (*)   Quintogos (NTG063707)               Defendant
               Email from Scott Ferrell re Bank
17      1803   Accounts, gives approval to open
18       (*)   Quintogos WF account
               (NTG063708-063713)                  Defendant
19             01/28/2014 Email from Scott
        1804
20             Ferrell re “Quintigos”
         (*)
               (NTG063722-NTG063723)               Defendant
21             01/22/2014 Email from Scot
        1805
22             Ferrell re signature and spousal
         (*)
               consent pages (NTG063725)           Defendant
23
               01/21/2014 Email from Scott
24      1806   Ferrell re Update, of TummyTuck
         (*)   and Dazzle Dry (NTG063726-
25
               063727)                             Defendant
26             03/25/2014 Email from Sariah
        1807
               Para re Binary Resource Mgmt
27       (*)
               (NTG063730-063732)                  Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             162
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 164 of 224 Page ID
                                        #:84541



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2            Attachment from Binary
        1808
3            Resource Mgmt email thread
         (*)
             (NTG063735)                           Defendant
4            03/17/2014 Email from
5       1809 crowdSPRING to join Gluten
         (*) Reducing Pill project to Scott
6            Ferrell (NTG063736)                   Defendant
7            03/10/2014 Email from Josh
        1810
             Weiss re Dazzle Dry
8        (*)
             (NTG063745)                           Defendant
9            03/12/2014 Email from Josh
        1811 Weiss re Dazzle Dry in response
10
         (*) to Scott Ferrell (NTG063737-
11           063738)                               Defendant
             03/10/2014 Email from Josh
12
        1812 Weiss re Dazzle Dry to Sariah
13       (*) Para with refence to Binary
             Resource (NTG063739-063740)           Defendant
14
             03/10/2014 Email from Dave
        1813
15           Reid re Dazzle Dry
         (*)
16
             (NTG063741)                           Defendant
             02/27/2014 Email from Dave
        1814
17           Reid follow-up re “Quintigos”
         (*)
18           Lunch Thursday (NTG063746)            Defendant
             02/13/2014 Email from Josh
19      1815
             Weiss re Initial Wire to
         (*)
20           Quintogos (NTG063767)                 Defendant
             02/12/2014 Email from Dave
21      1816
             Reid re Initial Wire to Quintogos
         (*)
22           (NTG063769)                           Defendant
             02/11/2014 Email from Joshua
23
        1817 Weiss re Bank Accounts, gives
24       (*) approval to open WF bank
             account (NTG063771)                   Defendant
25
             01/28/2014 Wells Fargo Business
26      1818 Account Application for
         (*) Quintogos LLC (NTG063785-
27
             063789)                               Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             163
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 165 of 224 Page ID
                                        #:84542



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            01/28/2014 Wells Fargo Business
        1819
3            Account Application for
         (*)
             Quintogos LLC (NTG063790)            Defendant
4            01/21/2014 Email from Jarrod
5       1820 Bentley re signature and spousal
         (*) consent pages with attachments
6            (NTG063791)                          Defendant
7            Attachments from signature and
        1821
             spousal consent pages email
8        (*)
             (NTG063792-063793)                   Defendant
9            01/21/2014 Email from Josh
        1822 Weiss re Update, on Dazzle Dry
10
         (*) and TummyTuck (NTG063794-
11           063796)                              Defendant
             01/21/2014 Email from Dave
12
        1823 Reid re Update on Dazzle Dry
13       (*) and Tummy Tuck (NTG063797-
             063798)                              Defendant
14
             12/21/2013 Email from Jarrod
        1824
15           Bentley re Timeframe, for
         (*)
16
             products (NTG063802-063803)          Defendant
             12/20/2013 Email from James
17      1825
             Hardin re Business Plan
         (*)
18           (NTG063804)                          Defendant
             12/20/2013 Email from Dave
19      1826
             Reid re Business Plan
         (*)
20           (NTG063805)                          Defendant
             12/20/2013 Email from Jarrod
21      1827
             Bentley re Infomercial Products
         (*)
22           (NTG063806)                          Defendant
             12/20/2013 Email from Jarrod
23      1828
             Bentley re Infomercial Products
         (*)
24           with attachments (NTG063808)         Defendant
             08/07/2015 Email from Jarrod
25      1829
             Bentley to James Hardin re
         (*)
26           Delete Diet Pill (NTG063823)         Defendant
             09/17/2014 Email from Jarrod
27      1830
             Bentley re Completed spots –
28
         (*)
             2MB x2, Glutia (NTG063825)           Defendant
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            164
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 166 of 224 Page ID
                                        #:84543



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            9/11/2014 Email from Jarrod
        1831
3            Bently re New 2 minute booty
         (*)
             spot (NTG063826)                     Defendant
4            07/25/2014 Email from Dave
        1832
5            Reid re Glutia and 2 Minute
         (*)
             Booty (NTG063827-063828)             Defendant
6            04/15/2014 Email from Scott
7       1833 Ferrell re Strataluz LLC –
         (*) Banking Information
8            (NTG063829-063832)                   Defendant
9            12/23/2013 Email from Scott
        1834
             Ferrell FW Infomercial Products
10       (*)
             to James Hardin (NTG063834)          Defendant
11           02/06/2014 Email from James
        1835 Hardin re FW Quintogos LLC
12
         (*) Information to Michael Hardin
13           (NTG063852-063854)                   Defendant
             02/05/2014 Email from James
14
        1836 Hardin re FW Quintogos LLC
15       (*) Information to Michael Hardin
16
             (NTG063855)                          Defendant
             08/21/2015 Email from Scott
17      1837 Ferrell re TwinLab Settlement –
18       (*) Executed, with attachments
             (NTG063856)                          Defendant
19      1838 TwinLab Settlement Agreement
20       (*) (NTG063857-063860)                   Defendant
             04/20/2015 Email from Scott
21      1839
             Ferrell re Update – Strataluz
         (*)
22           (NTG06875)                           Defendant
             06/04/2015 Email from Jarrod
23      1840
             Bentley re Strataluz v.
         (*)
24           truDERMA (NTG063876)                 Defendant
             06/05/2015 Email from Jarrod
25      1841
             Bentley re ProMaxal Spot
         (*)
26           (NTG063877)                          Defendant
             07/03/2015 Email from Jarrod
27      1842
             Bentley re Update, on Strataluz
28
         (*)
             products (NTG063993-063995)          Defendant
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            165
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 167 of 224 Page ID
                                        #:84544



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            07/04/2015 Email from Sariah
        1843
3            Para re Update, on Strataluz
         (*)
             products (NTG063996-063998)          Defendant
4            07/02/2015 Email from Jarrod
        1844
5            Bentley re Update (NTG063999-
         (*)
             064001)                              Defendant
6            07/06/2015 Email from Jarrod
        1845
7            Bentley re Diet Pill concept
         (*)
             (NTG064002-064003)                   Defendant
8            07/06/2015 Email from Sariah
        1846
9            Para re Quintogos Account
         (*)
             (NTG064005)                          Defendant
10
        1847 08/07/2015 Email Jarrod Bentley
11       (*) re delete diet pill (NTG064053)      Defendant
             03/09/2015 Email from Scott
12      1848
             Ferrell re Quintogos, LLC
         (*)
13           (NTG064099-064100)                   Defendant
14
             06/04/2015 Email from Scott
        1849
             Ferrell re Strataluz v. truDERMA
15
         (*)
             (NTG064113)                          Defendant
16           06/05/2015 Email from Scott
        1850
             Ferrell re ProMaxal Spot
17       (*)
             (NTG064114)                          Defendant
18           05/22/2015 License Agreement
        1851
             btw. Harcol Research and
19       (*)
             Strataluz (NTG064256-0642562)        Defendant
20      1852 05/01/2015 Email from Dave
         (*) Reid re Update (NTG064335)           Defendant
21
             03/03/2016 Email from Josh
        1853
22           Weiss re Quintogos, LLC
         (*)
             (NTG064338-064340)                   Defendant
23
             03/03/2016 Email from Sariah
        1854
24           Para re Quintogos, LLC
         (*)
             (NTG064341-064343)                   Defendant
25
             09/11/2014 Email from Jarrod
        1855
26           Bentley re New 2 minute booty
         (*)
27
             spot (NTG064344)                     Defendant

28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            166
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 168 of 224 Page ID
                                        #:84545



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            08/14/2014 Email from Dave
        1856
3            Reid re Update (NTG064350-
         (*)
             064352)                              Defendant
4            08/14/2014 Email from Dave
        1857
5            Reid re Update, follow up
         (*)
             (NTG064353-064355)                   Defendant
6            10/06/2014 Email from Scott
        1858
7            Ferrell re weekend results
         (*)
             (NTG064361)                          Defendant
8            04/17/2014 Email from Loren
        1859
9            Crannell re credit application,
         (*)
             follow up (NTG064381)                Defendant
10
             04/15/2014 Email from Loren
        1860
11           Crannell re CreditApp 110512,
         (*)
             with attachments (NTG064382)         Defendant
12
        1861 Credit Application for Moulton
13       (*) Mgmt.(NTG064383-064384)              Defendant
14
             04/25/2014 Email from Loren
        1862
             Crannell re Follow up to VM
15
         (*)
             (NTG06385)                           Defendant
16           11/04/2014 Email from Sylvester
        1863
             Molski re FREIGHT
17       (*)
             (NTG064386)                          Defendant
18      1864 08/18/2014 Email from Sylvester
         (*) Molski re freight (NTG064387)        Defendant
19           05/16/2014 Email from Loren
20      1865 Carnnell re FW Moulton contract
         (*) documents: Strataluz
21           (NTG064388-NTG064391)                Defendant
22           10/10/2014 Email from Sylvester
        1866
             Molski re STLZ – PAST DUE,
23       (*)
             with attachments (NTG064392)         Defendant
24      1867 12/10/2014 Strataluz Acct.
         (*) Balance (NTG064393)                  Defendant
25
             02/09/2015 Email from Sylvester
        1868
26           Molski re STLZ – SHUT DOWN
         (*)
27
             (NTG064394)                          Defendant

28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            167
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 169 of 224 Page ID
                                        #:84546



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            01/28/2015 Email from Darryl
        1869
3            Joynt re STLZ – SHUT DOWN
         (*)
             (NTG064395-064396)                   Defendant
4            02/13/2015 Email from Sylvester
        1870
5            Molski re FW stlz invoice, with
         (*)
             attachments (NTG064397)              Defendant
6       1871 02/13/2015 Strataluz Invoice
7        (*) (NTG064398)                          Defendant
             10/29/2014 Email from Sylvester
8       1872 Molski re FW STLZ test program
9        (*) extension, with attachments
             (NTG064400)                          Defendant
10
             10/28/2014 Pricing Addendum
        1873
11           from Moulton Logistics Mgmt.
         (*)
             (NTG064401)                          Defendant
12
             04/15/2014 Email from Loren
        1874
13           Crannell re Introduction, Mojo
         (*)
             (NTG064402)                          Defendant
14
             05/23/2014 Email from Trina
15      1875 Slade re Moulton New Client
16       (*) Packet, with attachments
             (NTG064403-064404)                   Defendant
17           Moulton Logistics Mgmt. New
        1876
18           Client Packet Section 1:
         (*)
             (NTG064450-064457)                   Defendant
19           Moulton Logistics Mgmt. New
        1877
20           Client Packet Section 2:
         (*)
             (NTG064433-064449)                   Defendant
21           Moulton Logistics Mgmt. New
        1878
22           Client Packet Section 3:
         (*)
             (NTG064458-064482)                   Defendant
23
             Moulton Logistics Mgmt. New
        1879
24           Client Packet Section 4:
         (*)
             (NTG064414-064424)                   Defendant
25
             Moulton Logistics Mgmt. New
        1880
26           Client Packet Section 5:
         (*)
             (NTG064405-064410)                   Defendant
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            168
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 170 of 224 Page ID
                                        #:84547



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            Moulton Logistics Mgmt. New
        1881
3            Client Packet Section 6:
         (*)
             (NTG064411-064413)                   Defendant
4            Moulton Logistics Mgmt. New
        1882
5            Client Packet Section 7:
         (*)
             (NTG064483-064492)                   Defendant
6       1883 Shipment Notification form
7        (*) (blank) (NTG064425-064428)           Defendant
        1884 Shipment Notification form
8        (*) (blank) (NTG064429-064432)           Defendant
9       1885 Shipment Notification form
         (*) (blank) (NTG064493-064496)           Defendant
10
             04/10/2014 Email from Loren
11      1886 Crannell re pricing & pro forma,
         (*) with five attachments
12
             (NTG064497)                          Defendant
13      1887 Moulton System Overview
14
         (*) (NTG064498-064532)                   Defendant
        1888 Moulton pricing sample (product
15       (*) unclear) (NTG064533-064545)          Defendant
16           Moulton pricing sample (product
        1889
             unclear) (NTG064546-
17       (*)
             NTG064558)                           Defendant
18           04/10/2014 Moulton Proposed
        1890
             Fee Schedule for Strataluz
19       (*)
             (NTG064559-NTG064572)                Defendant
20           04/10/2014 Moulton Proposed
        1891
             Fee Schedule for Strataluz
21       (*)
             (NTG064573-064586)                   Defendant
22           01/15/2015 Email from Slyvester
        1892 Molski re BATCH 1041 – STLZ,
23
         (*) requests order shutdown
24           (NTG064589-64590)                    Defendant
             04/07/2014 Email from Loren
25      1893
             Crannell re credit application
         (*)
26           (NTG064591)                          Defendant
27           11/21/2014 Email from Sylvester
        1894
             Molski re FREIGHT
28       (*)
             (NTG064592-064593)                   Defendant
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            169
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 171 of 224 Page ID
                                        #:84548



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            11/05/2014 Email from Sylvester
        1895
3            Molski re FREIGHT
         (*)
             (NTG04595)                           Defendant
4            08/18/2014 Email from Sylvester
        1896
5            Molski re freight (NTG064596-
         (*)
             064597)                              Defendant
6            11/05/2014 Email from Sylvester
        1897
7            Molski re Glutia Customer
         (*)
             Service (NTG064598)                  Defendant
8            04/15/2014 Email from Loren
        1898
9            Crannell re Introduction, Mojo
         (*)
             (NTG06599)                           Defendant
10
             01/15/2015 Email from Sylvester
        1899
11           Molski re Moulton (NTG064603-
         (*)
             064609)                              Defendant
12
             06/04/2014 Email from Sylvest
13      1900 Molski re Moulton New Client
         (*) Packet (STLZ) (NTG064610-
14
             064612)                              Defendant
15           06/04/2014 Email from Trina
16      1901 Slade re Moulton New Client
         (*) Packet (STLZ) (NTG064613-
17           064615)                              Defendant
18           05/27/2014 Email from Trina
        1902
             Slade re Moulton New Client
19       (*)
             Packet (NTG064616-064617)            Defendant
20      1903 01/05/2015 Email from Sylvester
         (*) Molski re Moulton (NTG064618)        Defendant
21           01/13/2015 Email from Sylvester
        1904
22           Molski re Moulton (NTG064319-
         (*)
             064624)                              Defendant
23
             01/12/2015 Email from Sylvester
        1905
24           Molski re Moulton (NTG064625-
         (*)
             064629)                              Defendant
25
             01/12/2015 Email from Sylvester
        1906
26           Molski re Moulton (NTG064630-
         (*)
             064634)                              Defendant
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            170
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 172 of 224 Page ID
                                        #:84549



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            01/12/2015 Email from Sylvester
        1907
3            Molski re Moulton (NTG064635-
         (*)
             064639)                              Defendant
4            01/12/2015 Email from Sylvester
        1908
5            Molski re Moulton (NTG064640-
         (*)
             064643)                              Defendant
6            01/09/2015 Email from Sylvester
        1909
7            Molski re Moulton (NTG064644-
         (*)
             064647)                              Defendant
8            01/07/2015 Email from Sylvester
        1910
9            Molski re Moulton (NTG064648-
         (*)
             064651)                              Defendant
10
             01/06/2015 Email from Sylvester
        1911
11           Molski re Moulton (NTG064652-
         (*)
             064654)                              Defendant
12
             01/20/2015 Email from Sylvester
        1912
13           Molski re shutdown
         (*)
             (NTG064658-064661)                   Defendant
14
             01/20/2015 Email from Sylvester
15
        1913
             Molski re shutdown with
         (*)
16           attachment (NTG064662-064664)        Defendant
        1914 01/13/2015 Strataluz Sales
17       (*) (NTG064665-064667)                   Defendant
18      1915 01/20/2015 Sylvester Molski re
         (*) shutdown (NTG064668-064670)          Defendant
19      1916 09/03/2014 Sylvester Molski re
20       (*) Slimming Cream (NTG064776)           Defendant
             08/25/2015 Email from Sylvester
21      1917
             Molski re STLZ – account
         (*)
22           update, (NTG064677-064678)           Defendant
             01/19/2015 Email from Sylvester
23
        1918 Molski re STLZ – Freight
24       (*) Balance Snapshot – 01/16/2015
             (NTG064679-064680)                   Defendant
25
             01/28/2015 Email from Sylvester
26      1919 Molski re STLZ – Freight
27
         (*) Balance Snapshot – 01/27/2015
             (NT064681-064682)                    Defendant
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            171
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 173 of 224 Page ID
                                        #:84550



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2       1921 01/13/2015 Strataluz Sales
3        (*) (NTG064683)                          Defendant
             01/27/2015 Email from Sylvester
4            Molski re STLZ – Freight
        1922
5            Balance Snapshot – 01/27/2015
         (*)
             with attachments (NTG064686-
6            064687)                              Defendant
7            01/30/2015 Email from Sylvester
        1923
             Molski re STLZ- Inventory
8        (*)
             pickup (NTG064688)                   Defendant
9            11/24/2014 Email from Sylvester
        1924
             Molski re STLZ – New offer
10       (*)
             (NTG064689-064690)                   Defendant
11           02/09/2015 Email from Sylvester
        1925
             Molski re STLZ – SHUT DOWN
12       (*)
             (NTG064693-064694)                   Defendant
13           12/23/2014 Email from Sylvester
        1926 Molski re STLZ Freight Balance
14
         (*) Detail – 12/01-23/2014
15           (NTG064695-064697)                   Defendant
16           02/13/2015 Email from Sylvester
        1927
             Molski re stlz invoice
17       (*)
             (NTG064703-064704)                   Defendant
18           01/26/2015 Email from Sylvester
        1928 Molski re STLZ INVOICE, with
19       (*) attachments (NTG064705-
20           064708)                              Defendant
             01/21/2015 Final Strataluz
21      1929
             invoice from Moulton
         (*)
22           (NTG064713)                          Defendant
             02/03/2015 Email from Slyvester
23
        1930 Molski re Your FreightCenter
24       (*) Shipment Paperwork
             (NTG064715-064178)                   Defendant
25
             01/09/2015 Email from Sylvester
26      1931 Molski re STLZ – Freight
         (*) Balance Snapshot – 01/07/2015
27
             (NTG064728)                          Defendant
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            172
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 174 of 224 Page ID
                                        #:84551



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              01/09/2015 Email from Sylvester
3       1932   Molski re STLZ – Freight
         (*)   Balance Snapshot – 01/09/2015
4              (NTG064729)                         Defendant
5              01/12/2015 Email from Sylvester
        1933   Molski re STLZ – Freight
6        (*)   Balance Snapshot – 01/12/2015
7              (NTG064730)                         Defendant
               01/13/2015 Email from Sylvester
8       1934   Molski re STLZ –Freight Balance
9        (*)   Snapshot – 01/13/2015
               (NTG064731)                         Defendant
10
               01/14/2015 Email from Sylvester
11      1935   Molski re STLZ –Freight Balance
         (*)   Snapshot – 01/14/2015
12
               (NTG064732)                         Defendant
13             01/16/2015 Email from Sylvester
        1936   Molski re STLZ –Freight Balance
14
         (*)   Snapshot – 01/16/2015
15             (NTG064733)                         Defendant
16
               01/19/2015 Email from Sylvester
        1937   Molski re STLZ –Freight Balance
17       (*)   Snapshot – 01/19/2015
18             (NTG064734)                         Defendant
               01/20/2015 Email from Sylvester
19      1938   Molski re STLZ –Freight Balance
20       (*)   Snapshot – 01/20/2015
               (NTG064735)                         Defendant
21             01/21/2015 Email from Sylvester
22      1939   Molski re STLZ –Freight Balance
         (*)   Snapshot – 01/21/2015
23             (NTG064736)                         Defendant
24             01/23/2015 Email from Sylvester
        1940   Molski re STLZ –Freight Balance
25
         (*)   Snapshot – 01/23/2015
26             (NTG064737)                         Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             173
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 175 of 224 Page ID
                                        #:84552



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              01/23/2015 Email from Sylvester
3       1941   Molski re STLZ –Freight Balance
         (*)   Snapshot – 01/23/2015
4              (NTG064737)                         Defendant
5              01/26/2015 Email from Sylvester
        1942   Molski re STLZ –Freight Balance
6        (*)   Snapshot – 01/26/2015
7              (NTG064738)                         Defendant
               01/27/2015 Email from Sylvester
8       1943   Molski re STLZ –Freight Balance
9        (*)   Snapshot – 01/27/2015
               (NTG064739)                         Defendant
10
               02/02/2015 Email from Sylvester
11      1944   Molski re STLZ –Freight Balance
         (*)   Snapshot – 02/02/2015
12
               (NTG064740)                         Defendant
13             02/03/2015 Email from Sylvester
        1945   Molski re STLZ –Freight Balance
14
         (*)   Snapshot – 02/03/2015
15             (NTG064741)                         Defendant
16
               02/04/2015 Email from Sylvester
        1946   Molski re STLZ –Freight Balance
17       (*)   Snapshot – 02/04/2015
18             (NTG064742)                         Defendant
               02/05/2015 Email from Sylvester
19      1947   Molski re STLZ –Freight Balance
20       (*)   Snapshot – 02/05/2015
               (NTG064743)                         Defendant
21             02/11/2015 Email from Sylvester
22      1948   Molski re STLZ –Freight Balance
         (*)   Snapshot – 02/11/2015
23             (NTG064744)                         Defendant
24             02/12/2015 Email from Sylvester
        1949   Molski re STLZ –Freight Balance
25
         (*)   Snapshot – 02/12/2015
26             (NTG064745)                         Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             174
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 176 of 224 Page ID
                                        #:84553



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              02/13/2015 Email from Sylvester
3       1950   Molski re STLZ –Freight Balance
         (*)   Snapshot – 02/13/2015
4              (NTG064746)                         Defendant
5              02/16/2015 Email from Sylvester
        1951   Molski re STLZ –Freight Balance
6        (*)   Snapshot – 02/16/2015
7              (NTG064747)                         Defendant
               02/17/2015 Email from Sylvester
8       1952   Molski re STLZ –Freight Balance
9        (*)   Snapshot – 02/17/2015
               (NTG064748)                         Defendant
10
               02/18/2015 Email from Sylvester
11      1953   Molski re STLZ –Freight Balance
         (*)   Snapshot – 02/18/2015
12
               (NTG064749)                         Defendant
13             02/25/2015 Email from Sylvester
        1954   Molski re STLZ –Freight Balance
14
         (*)   Snapshot – 02/25/2015
15             (NTG064750)                         Defendant
16
               10/24/2014 Email from Sylvester
        1955   Molski re STLZ –Freight Balance
17       (*)   Snapshot – 10/24/2014
18             (NTG064751)                         Defendant
               10/28/2014 Email from Sylvester
19      1956   Molski re STLZ –Freight Balance
20       (*)   Snapshot – 10/28/2014
               (NTG064752)                         Defendant
21             10/29/2014 Email from Sylvester
22      1957   Molski re STLZ –Freight Balance
         (*)   Snapshot – 10/29/2014
23             (NTG064753)                         Defendant
24             11/03/2014 Email from Sylvester
        1958   Molski re STLZ –Freight Balance
25
         (*)   Snapshot – 11/03/2014
26             (NTG064754)                         Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             175
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 177 of 224 Page ID
                                        #:84554



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              11/04/2014 Email from Sylvester
3       1959   Molski re STLZ –Freight Balance
         (*)   Snapshot – 11/04/2014
4              (NTG064755)                         Defendant
5              11/05/2014 Email from Sylvester
        1960   Molski re STLZ –Freight Balance
6        (*)   Snapshot – 11/05/2014
7              (NTG064756)                         Defendant
               11/06/2014 Email from Sylvester
8       1961   Molski re STLZ –Freight Balance
9        (*)   Snapshot – 11/06/2014
               (NTG064757)                         Defendant
10
               11/07/2014 Email from Sylvester
11      1962   Molski re STLZ –Freight Balance
         (*)   Snapshot – 11/07/2014
12
               (NTG064758)                         Defendant
13             11/10/2014 Email from Sylvester
        1963   Molski re STLZ –Freight Balance
14
         (*)   Snapshot – 11/10/2014
15             (NTG064759)                         Defendant
16
               11/11/2014 Email from Sylvester
        1964   Molski re STLZ –Freight Balance
17       (*)   Snapshot – 11/11/2014
18             (NTG064760)                         Defendant
               11/12/2014 Email from Sylvester
19      1965   Molski re STLZ –Freight Balance
20       (*)   Snapshot – 11/12/2014
               (NTG064761)                         Defendant
21             11/14/2014 Email from Sylvester
22      1966   Molski re STLZ –Freight Balance
         (*)   Snapshot – 11/14/2014
23             (NTG064762)                         Defendant
24             11/17/2014 Email from Sylvester
        1967   Molski re STLZ –Freight Balance
25
         (*)   Snapshot – 11/17/2014
26             (NTG064763)                         Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             176
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 178 of 224 Page ID
                                        #:84555



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              11/19/2014 Email from Sylvester
3       1968   Molski re STLZ –Freight Balance
         (*)   Snapshot – 11/19/2014
4              (NTG064764)                         Defendant
5              11/21/2014 Email from Sylvester
        1969   Molski re STLZ –Freight Balance
6        (*)   Snapshot – 11/21/2014
7              (NTG064765)                         Defendant
               11/24/2014 Email from Sylvester
8       1970   Molski re STLZ –Freight Balance
9        (*)   Snapshot – 11/24/2014
               (NTG064766)                         Defendant
10
               12/02/2014 Email from Sylvester
11      1971   Molski re STLZ –Freight Balance
         (*)   Snapshot – 12/02/2014
12
               (NTG064767)                         Defendant
13             12/03/2014 Email from Sylvester
        1972   Molski re STLZ –Freight Balance
14
         (*)   Snapshot – 12/03/2014
15             (NTG064768)                         Defendant
16
               12/04/2014 Email from Sylvester
        1973   Molski re STLZ –Freight Balance
17       (*)   Snapshot – 12/04/2014
18             (NTG064769)                         Defendant
               12/05/2014 Email from Sylvester
19      1974   Molski re STLZ –Freight Balance
20       (*)   Snapshot – 12/05/2014
               (NTG064770)                         Defendant
21             12/08/2014 Email from Sylvester
22      1975   Molski re STLZ –Freight Balance
         (*)   Snapshot – 12/08/2014
23             (NTG064771)                         Defendant
24             12/09/2014 Email from Sylvester
        1976   Molski re STLZ –Freight Balance
25
         (*)   Snapshot – 12/09/2014
26             (NTG064772)                         Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             177
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 179 of 224 Page ID
                                        #:84556



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              12/10/2014 Email from Sylvester
3       1977   Molski re STLZ –Freight Balance
         (*)   Snapshot – 12/10/2014
4              (NTG064773)                         Defendant
5              12/12/2014 Email from Sylvester
        1978   Molski re STLZ –Freight Balance
6        (*)   Snapshot – 12/12/2014
7              (NTG064774)                         Defendant
               12/16/2014 Email from Sylvester
8       1979   Molski re STLZ –Freight Balance
9        (*)   Snapshot – 12/16/2014
               (NTG064775)                         Defendant
10
               12/19/2014 Email from Sylvester
11      1980   Molski re STLZ –Freight Balance
         (*)   Snapshot – 12/19/2014
12
               (NTG064776)                         Defendant
13             12/22/2014 Email from Sylvester
        1981   Molski re STLZ –Freight Balance
14
         (*)   Snapshot – 12/22/2014
15             (NTG064777)                         Defendant
16
               12/24/2014 Email from Sylvester
        1982   Molski re STLZ –Freight Balance
17       (*)   Snapshot – 12/24/2014
18             (NTG064778)                         Defendant
               12/29/2014 Email from Sylvester
19      1983   Molski re STLZ –Freight Balance
20       (*)   Snapshot – 12/29/2014
               (NTG064779)                         Defendant
21             12/30/2014 Email from Sylvester
22      1984   Molski re STLZ –Freight Balance
         (*)   Snapshot – 12/30/2014
23             (NTG064780)                         Defendant
24             01/13/2015 Email from Sylvester
        1985   Molski re STLZ Freight Balance
25
         (*)   Detail – 01/01-13/2015 with
26             attachment (NTG064781)              Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             178
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 180 of 224 Page ID
                                        #:84557



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              01/27/2015 Email from Sylvester
3       1986   Molski re STLZ Freight Balance
         (*)   Detail – 01/01-27/2015 with
4              attachment (NTG064783-064784)       Defendant
5              02/03/2015 Email from Sylvester
               Molski re STLZ Freight Balance
        1987
6              Detail – 01/01/2015 – 02/03/2015
         (*)
7              with attachment (NTG064786-
               064787)                             Defendant
8              02/03/2015 Email from Sylvester
9       1988   Molski re STLZ Freight Balance
         (*)   Detail – 02/01/2015 – 02/10/2015
10             with attachment (NTG064789)         Defendant
11             02/17/2015 Email from Sylvester
        1989   Molski re STLZ Freight Balance
12
         (*)   Detail – 02/01/2015 – 02/17/2015
13             with attachment (NTG064791)         Defendant
               10/28/2014 Email from Sylvester
14
        1990   Molski re STLZ Freight Balance
15       (*)   Detail – 10/01/2014 – 10/28/2014
16
               with chart (NTG064793-064794)       Defendant
               11/04/2014 Email from Sylvester
17      1991   Molski re STLZ Freight Balance
18       (*)   Detail – 10/01/2014 – 11/04/2014
               with chart (NTG064795-064796)       Defendant
19             11/11/2014 Email from Sylvester
20      1992   Molski re STLZ Freight Balance
         (*)   Detail – 11/01/2014 – 11/11/2014
21             with attachment (NTG064797)         Defendant
22             11/18/2014 Email from Sylvester
               Molski re STLZ Freight Balance
23      1993
               Detail – 11/01/2014 – 11/18/2014
         (*)
24             with attachment (NTG064798-
               064799)                             Defendant
25
               11/25/2014 Email from Sylvester
26             Molski re STLZ Freight Balance
        1994
               Detail – 11/01/2014 – 11/25/2014
27       (*)
               with attachment (NTG064801-
28             064802)                             Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             179
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 181 of 224 Page ID
                                        #:84558



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              12/02/2014 Email from Sylvester
3              Molski re STLZ Freight Balance
        1995
               Detail – 11/01/2014 – 12/02/2014
4        (*)
               with attachment (NTG064804-
5              064805)                             Defendant
               01/06/2015 Email from Sylvester
6              Molski re STLZ Freight Balance
        1996
7              Detail – 12/01/2014 – 01/06/2015
         (*)
               with attachment (NTG064807-
8              064808)                             Defendant
9              12/09/2014 Email from Sylvester
        1997   Molski re STLZ Freight Balance
10       (*)   Detail – 12/01/2014 – 12/09/2014
11             with attachment (NTG064810)         Defendant
               12/16/2014 Email from Sylvester
12
        1998   Molski re STLZ Freight Balance
13       (*)   Detail – 12/01/2014 – 12/16/2014
               with attachment (NTG064812)         Defendant
14
               12/23/2014 Email from Sylvester
15             Molski re STLZ Freight Balance
        1999
               Detail – 12/01/2014 – 12/23/2014
16       (*)
               with attachment (NTG064814-
17             064815)                             Defendant
18             01/26/2015 Email from Minerva
        2000
               Castro re stlz invoice and aging
19       (*)
               with attachments (NTG064817)        Defendant
20      2001   01/26/2015 Invoice for Strataluz
         (*)   shutdown (NTG064818)                Defendant
21      2002   01/26/2015 Aging Report for
22       (*)   Strataluz (NTG064819)               Defendant
               01/21/2015 Email from Minerva
23      2003
               Castro re STLZ INVOICE with
         (*)
24             attachments (NTG064820)             Defendant
               01/21/2015 Invoice from
25      2004
               Moulton Mgmt. (NTG064821-
         (*)
26             064822)                             Defendant
               12/12/2014 Email from Minerva
27      2005
               Castro re stlz invoice with
         (*)
28             attachment (NTG064823)              Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             180
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 182 of 224 Page ID
                                        #:84559



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            12/12/2014 Invoice from
        2007
3            Moulton Mgmt. (NTG064824-
         (*)
             064825)                              Defendant
4       2008 11/12/2014 Email from Minerva
5        (*) Castro                               Defendant
        2009 re stlz invoice with attachment
6        (*) (NTG064826)                          Defendant
7            11/12/2014 Invoice from
        2010
             Moulton Mgmt. (NTG064827-
8        (*)
             064828)                              Defendant
9            04/15/2014 Email from Loren
        2011
             Crannell re test program
10       (*)
             (NTG064829)                          Defendant
11           02/18/2015 Email from Vicki
        2012
             King re 2 Minute Booty order
12       (*)
             (NTG064831)                          Defendant
13           02/09/2015 Email from Vicki
        2013
14
             King re 2 minute booty
         (*)
             (NTG064832)                          Defendant
15      2014 02/12/2015 Email from Vicki
16       (*) King re boxes (NTG064833)            Defendant
             03/04/2015 Email from Vicki
17      2015
             King re Confirmation emails
         (*)
18           (NTG064834)                          Defendant
             02/19/2015 Email from Vicki
19      2016
             King re Customer issue
         (*)
20           (NTG064835)                          Defendant
             03/05/2015 Email from Vicki
21      2017
             King re Eversilk jars
         (*)
22           (NTG064836)                          Defendant
             02/18/2015 Email from Vicki
23      2018
             King re Eversilk Order
         (*)
24           (NTG064837)                          Defendant
             02/05/2015 Email from Vicki
25      2019
             King re EVSK1000012
         (*)
26           (NTG064838)                          Defendant
27           04/10/2015 Email from Vicki
        2020
             King re EVSK1000074
28       (*)
             (NTG064839)                          Defendant
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            181
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 183 of 224 Page ID
                                        #:84560



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            03/05/2015 Email from Vicki
        2021
3            King re EVSK1000096
         (*)
             (NTG064840)                          Defendant
4            03/12/2015 Email from Vicki
        2022
5            King re EVSK1000148
         (*)
             (NTG064841)                          Defendant
6            02/13/2015 Email from Vicki
        2023
7            King re B – Two Minute Booty
         (*)
             with attachment (NTG064842)          Defendant
8       2024 B – Two Minute Booty
9        (*) (NTG064843-064844)                   Defendant
             03/26/2015 Email from Vicki
10      2025
             King re FW 2 Minute Returns
         (*)
11           (NTG064845-064846)                   Defendant
             01/30/2015 Email from Vicki
12      2026
             King re FW EVSK Test orders
         (*)
13           with attachments (NTG64847           Defendant
14
             PMG Fulfillment document re
        2028 File Creation and Transfer
15       (*) Documentation (NTG064848-
16           064880)                              Defendant
             02/26/2015 Email from Vicki
17      2029
             King re Issue resolved
         (*)
18           (NTG064881)                          Defendant
             02/23/2015 Email from Vicki
19      2030
             King re canceled order
         (*)
20           (NTG064882)                          Defendant
             02/10/2015 Email from Vicki
21      2031
             King re Phone call to Eversilk
         (*)
22           line (NTG064883)                     Defendant
        2032 01/23/2015 Email from Vicki
23
         (*) King re PMA FF (NTG064884)           Defendant
24           03/16/2015 Email from Vicki
        2033
             King re Quotes for box sizes
25       (*)
             (NTG064885)                          Defendant
26           02/12/2015 Email from Vicki
        2034
27
             King re boxes (NTG064886-
         (*)
             064887)                              Defendant
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            182
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 184 of 224 Page ID
                                        #:84561



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            01/14/2015 Email from Vicki
        2035
3            King re creds (NTG064888-
         (*)
             064889)                              Defendant
4            02/19/2015 Email from Vicki
        2036
5            King re Customer issue
         (*)
             (NTG064890-064892)                   Defendant
6            02/19/2015 Email from Vicki
        2037
7            King re Customer issue
         (*)
             (NTG064893-064894)                   Defendant
8            02/19/2015 Email from Vicki
        2038
9            King re Customer issue
         (*)
             (NTG064895-064896)                   Defendant
10
             02/19/2015 Email from Vicki
        2039
11           King re Customer issue
         (*)
             (NTG064897-064898)                   Defendant
12
             01/08/2015 Email from Vicki
13      2040 King re EverSilk with
         (*) attachments (NTG064899-
14
             064902)                              Defendant
15           PMA Fulfilment Credit Card
        2041
16           Authorization form
         (*)
             (NTG064903)                          Defendant
17           PMA Fulfilment Dire Wire
        2042
18           Transfer Instructions
         (*)
             (NTG064904)                          Defendant
19           01/08/2015 Email from Vicki Kin
        2043
20           re EverSilk with attachments
         (*)
             (NTG064905-064907)                   Defendant
21      2044 Service Agreement – Eversilk
22       (*) (NTG064908-064916)                   Defendant
             03/12/2015 Email from Vicki
23      2045
             King re EVSK1000148
         (*)
24           (NTG064928-064929)                   Defendant
             02/18/2015 Email from
25      2046
             Integration with UltraCart
         (*)
26           (NTG0649330-064931)                  Defendant
27
             02/17/2015 re Integration with
        2047
             UltraCart with attachments
28
         (*)
             (NTG064933)                          Defendant
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            183
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 185 of 224 Page ID
                                        #:84562



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2       2048 Customer Service FAQ questions
3        (*) (NTG064934)                          Defendant
             02/26/2015 Email from Vicki
4       2049
             King re Issue Resolved
         (*)
5            (NTG064936-064937)                   Defendant
             03/13/2015 Email from Vicki
6       2050
             King re Mailed order
         (*)
7            (NTG064938-064939)                   Defendant
             02/17/2015 Email from Vicki
8       2051
             King re Phone Line
         (*)
9            (NTG064940-064941)                   Defendant
             02/17/2015 Email from Vicki
10      2052
             King re Phone Line
         (*)
11           (NTG064942)                          Defendant
             03/16/2015 Email from Vicki Kin
12      2053
             re Quotes for box sizes
         (*)
13           (NTG064943-064944)                   Defendant
14
        2054 01/13/2015 Email from Vicki
         (*) King re Returns (NTG064947)          Defendant
15           01/13/2015 Email from Vicki
        2055
16           King re Returns (NTG064948-
         (*)
             064949)                              Defendant
17           01/07/2015 Email from Vicki
        2056
18           King re spots for fulfillment
         (*)
             (NTG064952-064956)                   Defendant
19           01/13/2015 Email from Vicki
        2057
20           King re “Stratraluz” LLC Setup
         (*)
             (NTG064959-064960)                   Defendant
21
             01/13/2015 Email from Vicki
        2058
22           King re “Stratraluz” LLC Setup
         (*)
             (NTG064961-064962)                   Defendant
23
             02/26/2015 Email from Vicki
        2059
24           King re Two Minute Booty
         (*)
             (NTG064964-064965)                   Defendant
25
             02/26/2015 Email from Vicki
        2060
26           King re Two Minute Booty
         (*)
27
             (NTG064966-064967)                   Defendant

28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            184
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 186 of 224 Page ID
                                        #:84563



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            02/13/2015 Email from Two
        2061
3            Minute booty with attachment
         (*)
             (NTG064968-064969)                   Defendant
4       2062 Client New Product Form
5        (*) (NTG064970-064971)                   Defendant
             03/13/2015 Email from Vicki
6       2063
             King re Voicemail (NTG064972-
         (*)
7            064974)                              Defendant
             01/12/2015 Email from Vicki
8       2064
             King re Returns with attachments
         (*)
9            (NTG064975)                          Defendant
             PiMA – PMA Web Services
10      2065
             Client Guide (NTG064976-
         (*)
11           065011)                              Defendant
             PMA Fulfillment document re
12
        2066 File Creation and Transfer
13       (*) Documentation (NTG065012-
             065044)                              Defendant
14
        2067 Sample Script for Order Status
15       (*) Requests (NTG065045)                 Defendant
16      2069 Order import through PiMA
         (*) (NTG065046)                          Defendant
17      2070 Sample code for PHP Interface
18       (*) (NTG065051-065052)                   Defendant
             02/17/2015 Email from Vicki
19      2071
             King re B – Two Minute Booty
         (*)
20           with attachment (NTG065053)          Defendant
             01/28/2015 Email from Vicki
21      2072
             King re Ship methods
         (*)
22           (NTG065056)                          Defendant
             03/06/2015 Email from Vicki
23      2073
             King re TMB1000054
         (*)
24           (NTG065058)                          Defendant
             03/05/2015 Email from Jessica
25
        2074 Voelpel re 2 Min Booty Daily
26       (*) Results 3.04 with attachments
27
             (NTG065061)                          Defendant

28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            185
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 187 of 224 Page ID
                                        #:84564



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            03/02/2015 to 03/04/2015 Spot
        2075
3            Detail Report Daily
         (*)
             (NTG065062-065063)                   Defendant
4            03/06/2015 Email from Jessica
5       2076 Voelpel re 2 Min Booty Daily
         (*) Results 3.05 with attachments
6            (NTG065064-065065)                   Defendant
7            03/02/2015 to 03/05/2015 Spot
        2077
             Detail Report Daily
8        (*)
             (NTG065066-065067)                   Defendant
9            03/11/2015 Email from Jessica
        2078 Voelpel re 2 Min Booty Final
10
         (*) w.o. 3.02 with attachments
11           (NTG065068-065069)                   Defendant
             03/02/2015 to 03/08/2015 Spot
12      2079
             Detail Report Daily
         (*)
13           (NTG065070-065072)                   Defendant
             03/03/2015 Email from Jessica
14
        2080 Voelpel re 2 Min Booty Logs
15       (*) 3.03 with attachments
16
             (NTG065073)                          Defendant
        2081 03/02/2015 to 03/04/2015 2 Min
17       (*) Booty Log (NTG065074-065075)         Defendant
18           03/04/2015 Email from Jessica
        2082 Veolpel re 2 Min Booty Logs
19       (*) 3.04 with attachments
20           (NTG065076-065077)                   Defendant
        2083 03/02/2015 to 03/08/2015 2 Min
21       (*) Booty Log (NTG065078-065079)         Defendant
22           03/05/2015 Email from Jessica
        2084 Voelpel re 2 Min Booty Prelogs
23
         (*) 3.05 with attachments
24           (NTG065085)                          Defendant
             03/02/2015 to 03/08/2015 2 Min
25      2085
             Booty PreLog (NTG065086-
         (*)
26           065087)                              Defendant
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            186
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 188 of 224 Page ID
                                        #:84565



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              03/06/2015 Email from Jessica
3       2086   Voelpel re 2 Min Booty Prelogs
         (*)   3.06 with attachments
4              (NTG065088-065089)                  Defendant
5              03/02/2015 to 03/08/2015 2 Min
        2087
               Booty PreLog (NTG065090-
6        (*)
               065091)                             Defendant
7              01/22/2016 Email from Brandy
        2088
               Seward re 2MB & EverSilk Tests
8        (*)
               (NTG065092)                         Defendant
9              01/09/2015 Email from Emilie
        2089
               Bowman re EverSilk & 2 Minute
10       (*)
               Booty (NTG065093)                   Defendant
11      2090   Product Description for 2 Minute
         (*)   Booty (NTG065094)                   Defendant
12
        2091   Product Description for EverSilk
13       (*)   (NTG065095)                         Defendant
14
               02/27/2015 Email from Jessica
        2092
               Voelpel re Eversilk 800 #s
15
         (*)
               (NTG065096-065097)                  Defendant
16             02/11/2016 Email from Matthew
        2093
               Nadel re Eversilk Final w.o. 2.1
17       (*)
               with attachments (NTG065098)        Defendant
18      2094   02/01/2016 to 02/05/2016
         (*)   Eversilk logs (NTG065099)           Defendant
19      2095   02/12/2015 Email from Brandy
20       (*)   Seward re FTP (NTG065101)           Defendant
               02/25/2015 Email from Brandy
21
        2096   Seward re FW EverSilk & 2
22       (*)   Minute Booty with attachments
               (NTG065102-065108)                  Defendant
23
        2097   Additional Phone Numbers for
24       (*)   EverSilk (NTG065109)                Defendant
               02/25/2015 Email from Brandy
25
        2098   Seward re FW EverSilk & 2
26       (*)   Minute Booty with attachments
27
               (NTG065110-065111)                  Defendant
        2099   Additional Phone Numbers for 2
28       (*)   Minute Booty (NTG065112)            Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             187
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 189 of 224 Page ID
                                        #:84566



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2       2100 Two Minute Booty Schedule and
3        (*) Script (NTG065113-065118)            Defendant
             09/18/2014 Email from Matthew
4       2101
             Nadel re 2 x 2mb 120 spots,
         (*)
5            glutia 60 (NTG065121-065122)         Defendant
             02/03/2015 Email from Brandy
6       2102
             Seward re EverSilk & 2 Minute
         (*)
7            Booty (NTG065123-065126)             Defendant
             02/03/2015 Email from Brandy
8       2103 Seward re EverSilk & 2 Minute
9        (*) booty with attachments
             (NTG065127-065129)                   Defendant
10
        2104 02/03/2015 Phone numbers for
11       (*) EverSilk (NTG065130)                 Defendant
        2105 EverSilk Schedule and Script
12
         (*) (NTG065131-065137)                   Defendant
13           02/03/2015 Email from Brandy
        2106
14
             Seward re EverSilk & 2 Minute
         (*)
             Booty (NTG065138-065140)             Defendant
15           01/09/2015 Email from Brandy
        2107
16           Seward re EverSilk & 2 Minute
         (*)
             Booty (NTG065141-065142)             Defendant
17           03/02/2015 Email from Jessica
        2108
18           Voelpel re Eversilk 800 #s
         (*)
             (NTG065143-065144)                   Defendant
19           12/10/2014 Email from Christian
        2109
20           Navarro re EverSilk 800-885-775
         (*)
             (NTG065145-065146)                   Defendant
21
             02/12/2015 Email from Brandy
        2110
22           Seward re FTP (NTG065147-
         (*)
             065148)                              Defendant
23
             02/16/2015 Email from Brandy
        2111
24           Seward re Media update
         (*)
             (NTG065149-065150)                   Defendant
25
             02/16/2015 Email from Jessica
        2112
26           Voelpel re Strataluz logs 2.16-
         (*)
27
             2.22 (NTG065151-065152)              Defendant

28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            188
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 190 of 224 Page ID
                                        #:84567



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              02/23/2015 Email from Jessica
3       2113   Voelpel re Strataluz Prelim
         (*)   Report 2.16 (NTG065153-
4              065154)                              Defendant
5              02/13/2015 Email from Jessica
        2114
               Voelpel re Strataluz Schedule
6        (*)
               w.o. 2.16 (NTG065155-065156)         Defendant
7              02/18/2015 Email from Jessica
        2115   Voelpel re Strataluz Daily Results
8        (*)   2.17 with attachments
9              (NTG065157-065158)                   Defendant
               02/16/2015 to 02/17/2015 Spot
10      2116
               Detail Report Daily for 2 Minute
         (*)
11             Booty (NTG065159)                    Defendant
               02/16/2015 to 02/17/2015 Spot
12      2117
               Detail Report Daily for EverSilk
         (*)
13             (NTG065160)                          Defendant
               02/19/2015 Email from Jessica
14
        2118   Veolpel re Stataluz Daily Results
15       (*)   2.18 with attachments
16
               (NTG065161-065162)                   Defendant
               02/16/2015 to 02/18/2015 Spot
17      2119
               Detail Report Daily for 2 Minute
         (*)
18             Booty (NTG065163-065164)             Defendant
               02/16/2015 to 02/18/2015 Spot
19      2120
               Detail Report Daily for EverSilk
         (*)
20             (NTG065165)                          Defendant
               02/20/2015 Email from Jessica
21      2121   Veolpel re 2 Strataluz Daily
22       (*)   Results 2.19 with attachments
               (NTG065166-NTG065168)                Defendant
23
               02/16/2015 to 02/19/2015 Spot
        2122
24             Detail Report Daily for 2 Minute
         (*)
               Booty (NTG065169-065170)             Defendant
25
               02/16/2015 to 02/19/2015 Spot
        2123
26             Detail Report Daily for 2 Minute
         (*)
               Booty (NTG065171)                    Defendant
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              189
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 191 of 224 Page ID
                                        #:84568



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2            02/26/2015 Email from Jessica
        2124
3            Voelpel re Strataluz Final 2.16
         (*)
             with attachments (NTG065172)          Defendant
4            02/16/2015 to 02/22/2015 Station
        2126
5            Performance Report 2 Minute
         (*)
             Booty (NTG065173-065174)              Defendant
6            02/16/2015 to 02/22/2015 Station
        2128
7            Performance Report EverSilk
         (*)
             (NTG065175)                           Defendant
8            01/29/2016 Email from Matthew
        2130
9            Nadel re Strataluz Logs 1.25-2.7
         (*)
             (NTG065176-NTG065178)                 Defendant
10
        2131 1/25/2016 to 2/04/2016 Strataluz
11       (*) Logs (NTG065179-065180)               Defendant
             01/27/2016 Email from Matthew
12      2132
             Nadel re Strataluz Logs 1.27 with
         (*)
13           attachments (NTG065181)               Defendant
14
             1/25/2016 to 1/31/2016 2
        2133
             Strataluz Logs (NTG065182-
15
         (*)
             065183)                               Defendant
16           02/01/2016 Email from Matthew
        2134
             Nadel re Strataluz Logs 2.1 with
17       (*)
             attachments (NTG065184)               Defendant
18           02/01/2016 to 02/05/2016
        2135
             Strataluz log (NTG065185-
19       (*)
             065186)                               Defendant
20           02/16/2015 Email from Jessica
        2136
             Veolpel Strataluz logs 2.16-2.22
21       (*)
             with attachments (NTG065187)          Defendant
22           02/16/2015 to 2/22/2015 2
        2137
             Minute Booty Logs
23       (*)
             (NTG065188-0651889)                   Defendant
24           02/16/2015 to 02/22/2015
        2138
             Eversilk Logs (NTG065190-
25       (*)
             065191)                               Defendant
26           02/02/2016 Email from Matthew
27
        2139 Nadel re Strataluz Logs 2.2 with
         (*) attachments (NTG065192-
28           065193)                               Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             190
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 192 of 224 Page ID
                                        #:84569



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2            02/01/2016 to 02/05/2016
        2140
3            Eversilk Logs (NTG065194-
         (*)
             065195)                               Defendant
4            02/03/2016 Email from Matthew
5       2141 Nadel re Strataluz Logs 2.3 with
         (*) attachments (NTG065196-
6            065198)                               Defendant
7            02/01/2016 to 02/05/2016
        2142
             Eversilk Logs (NTG065199-
8        (*)
             065200)                               Defendant
9            02/23/2015 Email from Jessica
        2143 Voelpel re Strataluz Prelim
10
         (*) Reports 2.16 with attachments
11           (NTG065201)                           Defendant
             02/16/2015 to 02/22/2015 Station
12      2144
             Performance Report for 2 Minute
         (*)
13           Booty (NTG065202-065203)              Defendant
             02/16/2015 to 02/22/2015 Station
14      2145
             Performance Report for Eversilk
         (*)
15           (NTG065204)                           Defendant
16           02/13/2015 Email from Jessica
        2146 Voelpel re Strataluz prelogs w.o.
17       (*) 2.16-2.22 with attachments
18           (NTG065205)                           Defendant
             02/16/2015 to 02/22/2015 2
19      2147
             Minute Booty PreLogs
         (*)
20           (NTG065206-065207)                    Defendant
             02/16/2015 to 02/22/2015
21      2148
             EverSilk PreLogs (NTG065208-
         (*)
22           065209)                               Defendant
             01/27/2016 Email from Matthew
23
        2149 Nadel re Strataluz Schedule w.o.
24       (*) 1.25 with attachments
             (NTG065210)                           Defendant
25
        2150 01/25/2016 to 01/31/2016
26       (*) Strataluz Schedule (NTG065211)        Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             191
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 193 of 224 Page ID
                                        #:84570



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              02/13/2015 Email from Jessica
3       2151   Voepel re Strataluz Schedule w.o
         (*)   2.16 with attachments
4              (NTG065212)                          Defendant
5              02/16/2015 to 02/22/2015
        2152
               Strataluz Schedule for 2 Minute
6        (*)
               Booty (NTG065213)                    Defendant
7              02/16/2015 to 02/22/2015
        2153
               Strataluz Schedule for Eversilk
8        (*)
               (NTG065214)                          Defendant
9              02/17/2015 Email from Jessica
        2154   Voelpel re Updated Stratluz logs
10
         (*)   2.17 with attachments
11             (NTG065215-065216)                   Defendant
               02/16/2015 to 02/22/2015 2
12      2155
               Minute Booty Logs
         (*)
13             (NTG065217-065218)                   Defendant
               02/16/2015 to 02/22/2015
14      2156
               Eversilk Logs (NTG065219-
         (*)
15             065220)                              Defendant
16             02/18/2015 Email from Jessica
        2157   Voelpel re Updated Strataluz logs
17       (*)   2.18 with attachments
18             (NTG065221-065222)                   Defendant
               02/16/2015 to 02/22/2015 2
19      2158
               Minute Booty Logs
         (*)
20             (NTG065223-065224)                   Defendant
               02/16/2015 to 02/23/2015
21      2159
               Eversilk Logs (NTG065225-
         (*)
22             065226)                              Defendant
               02/19/2015 Email from Jessica
23
        2160   Voelpel re Updated Strataluz logs
24       (*)   2.19 with attachments
               (NTG065227-065229)                   Defendant
25
               02/16/2015 to 02/22/2015 2
        2161
26             Minute Booty Logs
         (*)
               (NTG065230-065231)                   Defendant
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              192
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 194 of 224 Page ID
                                        #:84571



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2            02/16/2015 to 02/22/2015
        2162
3            Eversilk Logs (NTG065232-
         (*)
             065233)                               Defendant
4            05/15/2015 Email from Nik
        2163
5            Miller re Creative Update
         (*)
             (NTG065234)                           Defendant
6            04/21/2015 Email from Nik
7       2164 Miller re EverSilk – A&E
         (*) Networks (Lifetime)
8            (NTG065235)                           Defendant
9            05/22/2015 Email from Nik
        2165
             Miller re Eversilk – creative
10       (*)
             approval (NTG065236)                  Defendant
11           04/01/2015 Email from Nik
        2166 Miller re EverSilk – Final Spend
12
         (*) Report Week of 3/23 with
13           attachments (NTG065237)               Defendant
             03/23/2015 to 03/29/2015
14      2167
             EverSilk Post Log Report
         (*)
15           (NTG0656238-065239)                   Defendant
16           05/15/2015 Email from Nik
             Miller re EverSilk – Media
        2168
17           Proposal 5/26 – 5/31 with
         (*)
18           attachments (NTG065240-
             065241)                               Defendant
19           Media Proposal from Media
        2169
20           Design Group (NTG065242-
         (*)
             065243)                               Defendant
21           05/13/2015 Email from Nik
22      2170 Miller re EverSilk – Networks for
         (*) Approval – 4.6.15 with
23           attachments (NTG065244)               Defendant
24      2171 Spreadsheet for Networks for
         (*) Approval (NTG065245-065246)           Defendant
25
             03/26/2015 Email from Nik
        2172
26           Miller re EverSilk – Pixel
         (*)
             Implementation (NTG065247)            Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             193
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 195 of 224 Page ID
                                        #:84572



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              03/12/2015 Email from Nik
3       2173   Miller re EverSilk – Pre Pay
         (*)   Request and Client Service
4              Agreement (NTG065248)               Defendant
5              Client Service Agreements btw.
        2174
               Strataluz and Media Design
6        (*)
               Group (NTG065249-065252)            Defendant
7              Prepay Request for Strataluz;
        2175
               EverSilk media test
8        (*)
               (NTG065253)                         Defendant
9       2176   Wire Instructions for MDG
         (*)   (NTG065254)                         Defendant
10
               03/16/2015 Email from Nik
11      2177   Miller re EverSilk –
         (*)   Tracking/Conversion Pixel with
12
               attachments (NTG065255)             Defendant
13      2178   JavaScript Tracking Code –
         (*)   Sample (NTG065256-065257)           Defendant
14
               05/06/2015 Email from Nik
15
        2179
               Miller re Eversilk - Website
         (*)
16             (NTG065258)                         Defendant
               05/08/2015 Email from Nik
17             Miller re EverSilk Final
        2180
18             Reporting – Thursday 4/30 –
         (*)
               Sunday 5/3 with attachments
19             (NTG065259-065260)                  Defendant
20             04/30/2015 to 5/03/2015
        2181
               Tracking Profitability for
21       (*)
               EverSilk (NTG065261)                Defendant
22             04/30/2015 to 5/03/2015 Results
        2182
               by Daypart for EverSilk
23       (*)
               (NTG065262)                         Defendant
24             04/30/2015 to 5/03/2015 Results
        2183
               by Station for EverSilk
25       (*)
               (NTG065263)                         Defendant
26             04/30/2015 to 05/03/2015 Media
        2184
               Results Summary for EverSilk
27       (*)
               (NTG065264)                         Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             194
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 196 of 224 Page ID
                                        #:84573



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              06/05/2015 Email from Nik
3              Miller re EverSilk Final
        2185
               Reporting – Thursday 5/26 –
4        (*)
               Sunday 5/31 with attachments
5              (NTG065265-065266)                  Defendant
               05/25/2015 to 5/31/2015
6       2186
               Tracking Profitability for
         (*)
7              EverSilk (NTG065267-065269)         Defendant
               05/25/2015 to 5/31/2015 Results
8       2187
               by Daypart for EverSilk
         (*)
9              (NTG065270)                         Defendant
               05/25/2015 to 5/31/2015 Results
10      2188
               by Station for EverSilk
         (*)
11             (NTG065271)                         Defendant
               05/25/2015 to 05/31/2015 Media
12      2189
               Results Summary for EverSilk
         (*)
13             (NTG065272)                         Defendant
               05/29/2015 Email from Nik
14
               Miller re EverSilk Preliminary
        2190
15             Reporting – Thursday 5/26 –
         (*)
16
               Sunday 5/28 with attachments
               (NTG065273-065274)                  Defendant
17             05/25/2015 to 5/28/2015 Results
        2191
18             by Daypart for EverSilk
         (*)
               (NTG065275)                         Defendant
19             05/25/2015 to 5/28/2015 Results
        2192
20             by Station for EverSilk
         (*)
               (NTG065276)                         Defendant
21             05/25/2015 to 05/28/2015 Media
        2193
22             Results Summary for EverSilk
         (*)
               (NTG065277)                         Defendant
23
               05/25/2015 to 5/28/2015
        2194
24             Tracking Profitability for
         (*)
               EverSilk (NTG065278-065279)         Defendant
25
               06/01/2015 Email from Nik
26             Miller re EverSilk Preliminary
        2195
               Reporting – Thursday 5/26 –
27       (*)
               Sunday 5/31 with attachments
28             (NTG065280-065281)                  Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             195
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 197 of 224 Page ID
                                        #:84574



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2            05/25/2015 to 5/31/2015
        2196
3            Tracking Profitability for
         (*)
             EverSilk (NTG065282-065284)           Defendant
4            05/25/2015 to 5/31/2015 Results
        2197
5            by Station for EverSilk
         (*)
             (NTG065285)                           Defendant
6            05/25/2015 to 5/31/2015 Results
        2198
7            by Daypart for EverSilk
         (*)
             (NTG065286)                           Defendant
8            05/25/2015 to 05/31/2015 Media
        2199
9            Results Summary for EverSilk
         (*)
             (NTG065287)                           Defendant
10
             05/28/2015 Email from Nik
11           Miller re EverSilk Preliminary
        2200 Reporting – Tuesday 5/26 –
12
         (*) Wednesday 5/27 with
13           attachments (NTG065288-
             065289)                               Defendant
14
             05/25/2015 to 5/27/2015 Results
        2201
15           by Daypart for EverSilk
         (*)
16
             (NTG065290)                           Defendant
             05/25/2015 to 5/27/2015
17      2202
             Tracking Profitability for
         (*)
18           EverSilk (NTG065291-065292)           Defendant
             05/25/2015 to 5/27/2015 Results
19      2203
             by Station for EverSilk
         (*)
20           (NTG065293)                           Defendant
             05/25/2015 to 05/27/2015 Media
21      2204
             Results Summary for EverSilk
         (*)
22           (NTG065294)                           Defendant
             05/27/2015 Email from Nik
23
             Miller re EverSilk Preliminary
        2205
24           Reporting – Tuesday 5/26 with
         (*)
             attachments (NTG065295-
25
             065296)                               Defendant
26      2206 05/26/2015 Results by Daypart
         (*) for EverSilk (NTG065297)              Defendant
27
        2207 05/26/2015 Tracking Profitability
28       (*) for EverSilk (NTG065298)              Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             196
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 198 of 224 Page ID
                                        #:84575



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2       2208 05/26/2015 Results by Station for
3        (*) EverSilk (NTG065299)                  Defendant
             05/26/2015 Media Results
4       2209
             Summary for EverSilk
         (*)
5            (NTG065300)                           Defendant
             05/01/2015 Email from Nik
6            Miller re EverSilk Preliminary
        2210
7            Reporting – Week of 4/27 with
         (*)
             attachments (NTG065301-
8            065302)                               Defendant
9       2211 04/30/2015 Results by Daypart
         (*) for EverSilk (NTG065303)              Defendant
10
        2212 04/30/2015 Tracking Profitability
11       (*) for EverSilk (NTG065304)              Defendant
             04/30/2015 Media Results
12      2213
             Summary for EverSilk
         (*)
13           (NTG065305)                           Defendant
14
        2214 04/30/2015 Results by Station for
         (*) EverSilk (NTG065306)                  Defendant
15           04/03/2015 Email from Nik
16           Miller re EverSilk Final
        2215
             Reporting – Week of 3/23 with
17       (*)
             attachments (NTG065307-
18           065308)                               Defendant
             03/23/2015 to 04/01/2015 Media
19      2216
             Results Summary for EverSilk
         (*)
20           (NTG065309)                           Defendant
             03/23/2015 to 04/01/2015 Results
21      2217
             by Daypart for EverSilk
         (*)
22           (NTG065310)                           Defendant
             03/23/2015 to 04/01/2015 Results
23      2218
             by Station for EverSilk
         (*)
24           (NTG065311)                           Defendant
             03/23/2015 to 04/01/2015
25      2219
             Tracking Profitability for
         (*)
26           EverSilk (NTG065312-065313)           Defendant
27
             03/23/2015 to 03/29/2015
        2220
             Eversilk Station by Daypart
28
         (*)
             Report (NTG065314-065316)             Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             197
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 199 of 224 Page ID
                                        #:84576



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              03/26/2015 Email from Nik
3              Miller re EverSilk Preliminary
        2221
               Reporting – Week of 3/23 with
4        (*)
               attachments (NTG065317-
5              065318)                             Defendant
               03/23/2015 to 03/25/2015 Media
6       2222
               Results Summary for EverSilk
         (*)
7              (NTG065319)                         Defendant
               03/23/2015 to 03/25/2015 Results
8       2223
               by Daypart for EverSilk
         (*)
9              (NTG065320)                         Defendant
               03/23/2015 to 03/25/2015 Results
10      2224
               by Station for EverSilk
         (*)
11             (NTG065321)                         Defendant
               03/23/2015 to 03/25/2015
12      2225
               Tracking Profitability for
         (*)
13             EverSilk (NTG065322-065323)         Defendant
               03/25/2015 Email from Nik
14
               Miller re EverSilk Preliminary
        2226
15             Reporting – Week of 3/23 with
         (*)
16
               attachments (NTG065324-
               065325)                             Defendant
17             03/23/2015 to 03/24/2015 Media
        2227
18             Results Summary for EverSilk
         (*)
               (NTG065326)                         Defendant
19             03/23/2015 to 03/24/2015 Results
        2228
20             by Daypart for EverSilk
         (*)
               (NTG065327)                         Defendant
21             03/23/2015 to 03/24/2015 Results
        2229
22             by Station for EverSilk
         (*)
               (NTG065328)                         Defendant
23
               03/23/2015 to 03/24/2015
        2230
24             Tracking Profitability for
         (*)
               EverSilk (NTG065329)                Defendant
25
        2231   04/14/2015 Email from Nik
26       (*)   Miller re EverSilk (NTG065330)      Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             198
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 200 of 224 Page ID
                                        #:84577



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              03/31/2015 Email from Nik
3              Miller re EverSilk Preliminary
        2232
               Reporting – Week of 3/23 with
4        (*)
               attachments (NTG065331-
5              065333)                             Defendant
        2233   TV Media Spending for Strataluz
6        (*)   Products (NTG065457)                Defendant
7              05/21/2015 License Agreement
        2234
               btw. Harcol Research and
8        (*)
               Strataluz (NTG065720-065726)        Defendant
9              06/05/2014 Moulton Logistics
               Mgmt. Contract for Order
10      2235
               Processing and Fulfillment
         (*)
11             Services for Strataluz
               (NTG065783-065879)                  Defendant
12
               06/02/2015 Email from Kate
        2236
13             Griffin re May Invoice with
         (*)
               attachments (NTG065929)             Defendant
14
               05/26/2015 Email from Kate
        2237
15             Griffin re promaxal
         (*)
16
               (NTG065975)                         Defendant
               05/24/2015 Email from Kate
17      2238
               Griffin re promaxal
         (*)
18             (NTG065976)                         Defendant
               08/04/2014 to 12/30/2014
19      2239
               Various Fees for Strataluz
         (*)
20             products (NTG065991-065996)         Defendant
               01/02/2015 to 09/11/2015
21      2240
               Various Fees for Strataluz
         (*)
22             products (NTG065997-066006)         Defendant
               05/15/2015 Email from Jarrod
23      2241
               Bentley re Strataluz idea –
         (*)
24             enhancement pill (NTG066277)        Defendant
               Glutalytic product information
25      2242
               from Deerland Enzymes
         (*)
26             (NTG066313-066314)                  Defendant
               Glutalytic Permissible
27      2243
               Structure/Function Claims
28
         (*)
               document (NTG066315)                Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             199
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 201 of 224 Page ID
                                        #:84578



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            05/19/2015 Email from Scott
        2244
3            Ferrell re Glutia (NTG066316-
         (*)
             066317)                              Defendant
4            05/21/2015 Email from Jarrod
5            Bentley re Male
        2245
             Enhancement/Exclusive
6        (*)
             Rights/AKG Idea (NTG066352-
7            066353)                              Defendant
             05/21/2015 Email from Scott
8            Ferrell re Male
        2246
9            Enhancement/Exclusive
         (*)
             Rights/AKG Idea (NTG066354-
10           066355)                              Defendant
11           05/21/2015 Email from Scott
        2247 Ferrell re Harcol License to
12
         (*) Strataluz with attachments
13           (NTG066356)                          Defendant
             05/21/2015 Email from Mandy
14
        2248 Jung re Harcol License to
15       (*) Strataluz with attachments
16
             (NTG066364-066365)                   Defendant
             05/22/2015 Email from Scott
17      2249 Ferrell re Harcol-Strataluz AKG
18       (*) License with attachments
             (NTG066375)                          Defendant
19           05/21/2015 License Agreement
20      2250 btw. Harcol Research LLC and
         (*) Strataluz LLC (NTG066376-
21           066382)                              Defendant
22           05/22/2015 Email from Jarrod
        2251 Bentley re Harcol-Strataluz AKG
23       (*) License with attachments
24           (NTG066397)                          Defendant
             05/21/2015 License Agreement
25
        2252 btw. Harcol Research LLC and
26       (*) Strataluz LLC, with signatures
             (NTG066398-066404)                   Defendant
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            200
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 202 of 224 Page ID
                                        #:84579



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            05/22/2015 Email from Scott
        2253
3            Ferrell re Harcol-Strataluz
         (*)
             License (NTG066414-066415)           Defendant
4            05/26/2015 Email from Scott
        2254
5            Ferrell re Raspberry Ketones
         (*)
             (NTG066416)                          Defendant
6       2255 Raspberry Ketones description
7        (*) document (NTG066417)                 Defendant
             05/27/2015 Email from Jarrod
8       2256
             Bentley re Male Enhancment
         (*)
9            (NTG066431)                          Defendant
             01/05/2016 Email from Dave
10      2257
             Reid re Strataluz Update
         (*)
11           (NTG067179-067180)                   Defendant
             01/05/2016 Email from Dave
12      2258
             Reid re Strataluz Update
         (*)
13           (NTG067181-067182)                   Defendant
14
             01/29/2014 Email from Sariah
        2259 Para re Remaining Docs with
15       (*) attachments (NTG067512-
16           067514)                              Defendant
             01/29/2014 Written Consent of
17      2260
             the Manger of Strataluz LLC,
         (*)
18           Jarrod Bentley (NTG067522)           Defendant
             01/2014 Promissory Note, to pay
19      2261
             to the order of David Reid
         (*)
20           (NTG067523-067525)                   Defendant
             01/29/2014 Operating Agreement
21      2262 of International Brandery LLC,
22       (*) with signatures (NTG067534-
             067541)                              Defendant
23
             01/29/2014 Operating Agreement
        2263
24           of Binary Resource Management
         (*)
             LLC (NTG067542-067549)               Defendant
25
             01/29/2014 Email from Josh
        2264
26           Weiss re Remaining Docs
         (*)
             (NTG067550-067552)                   Defendant
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            201
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 203 of 224 Page ID
                                        #:84580



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            01/28/2014 Email from Brian
        2265
3            Schusterman re draft operating
         (*)
             agreement (NTG067645-067651)         Defendant
4            12/26/2013 Email from Scott
        2266
5            Ferrell re Corporate Formation
         (*)
             Question (NTG067652-067654)          Defendant
6            02/11/2014 Email from Scott
        2267
7            Ferrell re Engagement letters
         (*)
             (NTG067660-067661)                   Defendant
8            02/11/2014 Email from Scott
        2268
9            Ferrell re Quintogos Items
         (*)
             (NTG067664)                          Defendant
10
             01/14/2014 Email from Scott
        2269
11           Ferrell re Quintogos
         (*)
             (NTG067882-067884)                   Defendant
12
             02/11/2014 Email from Jarrod
        2270
13           Bentley re Quintogos Items
         (*)
             (NTG067952)                          Defendant
14
             02/11/2014 Email from James
15
        2271
             Hardin re Quintogos Items
         (*)
16           (NTG067954)                          Defendant
        2272 07/2014 to 08/2015 Strataluz
17       (*) product sales (NTG071195)            Defendant
18           05/18/2016 Email from Dave
        2273
             Reid re FW Strataluz v. TwinLab
19       (*)
             Settlement (NTG071239-071240)        Defendant
20           05/18/2016 Email from Dave
        2274
             Reid re FW Update
21       (*)
             (NTG071241)                          Defendant
22           05/27/2016 Email from Dave
        2275 Reid re 5 16 16 Draft with
23
         (*) attachments (NTG071262-
24           071264)                              Defendant
        2276 07/2014 to 08/2015 Strataluz
25
         (*) product sales (NTG071265)            Defendant
26           03/23/2015 to 03/26/2015 Media
        2277
27
             Results Summary for EverSilk
         (*)
             (NTG065334)                          Defendant
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            202
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 204 of 224 Page ID
                                        #:84581



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            03/23/2015 to 03/26/2015 Results
        2278
3            by Daypart for EverSilk
         (*)
             (NTG065335)                          Defendant
4            03/23/2015 to 03/26/2015 Results
        2279
5            by Daypart for EverSilk
         (*)
             (NTG065336)                          Defendant
6            03/23/2015 to 03/26/2015
        2280
7            Tracking Profitability for
         (*)
             EverSilk (NTG065337)                 Defendant
8            03/06/2015 Email from Nik
9       2281 Miller re Celulite Proposal 5K
         (*) with attachments (NTG065339-
10
             065343)                              Defendant
11      2282 03/06/2015 Agency of Record for
         (*) EverSilk (NTG065344)                 Defendant
12
             03/06/2015 Email from Nik
        2283
13           Miller re Celulite Proposal 5K
         (*)
             (NTG065345-065347)                   Defendant
14
             Email from Nik Miller re Eversilk
15      2284 – creative approval with
16       (*) attachments (NTG065352-
             065355)                              Defendant
17           05/25/2015 to 05/31/2015 Airings
        2285
18           Report & $$ (NTG065356-
         (*)
             065358)                              Defendant
19           05/26/2015 Email from Nik
        2286
20           Miller re Eversilk – creative
         (*)
             approval (NTG065359-065361)          Defendant
21           05/20/2015 Email from Nik
22      2287 Miller re EverSilk – Media
         (*) Proposal – 5/26- 5/31
23
             (NTG065366-065372)                   Defendant
24           03/17/2015 Email from Nik
             Miller re EverSilk – PrePay
25      2289
             Request and Client Service
         (*)
26           Agreement (NTG065388-
             065390)                              Defendant
27
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            203
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 205 of 224 Page ID
                                        #:84582



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              03/17/2015 Email from Nik
3              Miller re EverSilk – PrePay
        2290
               Request and Client Service
4        (*)
               Agreement (NTG065391-
5              065392)                             Defendant
               03/13/2015 Email from Nik
6              Miller re EverSilk – PrePay
        2291
7              Request and Client Service
         (*)
               Agreement with attachments
8              (NTG065393-065394)                  Defendant
9              Client Services Agreeemtn btw.
        2292
               Strataluz and Media Design
10       (*)
               Group (NTG065395-065398)            Defendant
11             05/07/2015 Email from Nik
        2293
               Miller re EverSilk – Website
12       (*)
               (NTG065399-065400)                  Defendant
13             05/12/2015 Email from Nik
               Miller re EverSilk Final
14      2294
               Reporting – Thursday 4/30 –
         (*)
15             Sunday 5/3 (NTG065401-
16
               065402)                             Defendant
               03/31/2015 Email from Sylvia
17      2295   Duran re EverSilk Preliminary
18       (*)   Reporting – Week of 3/23
               (NTG065406-065408)                  Defendant
19             04/17/2015 Email from Nik
        2296
20             Miller re EverSilk (NTG065412-
         (*)
               065417)                             Defendant
21             04/16/2015 Email from Nik
22      2297   Miller re EverSilk with
         (*)   attachments (NTG065418-
23             065422)                             Defendant
24             04/16/2015 Prepay Request for
        2298
               EverSilk media test
25       (*)
               (NTG065423)                         Defendant
26      2299   Wire Instructions for Media
         (*)   Design Group (NTG065424)            Defendant
27
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             204
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 206 of 224 Page ID
                                        #:84583



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2              04/16/2015 Email from Nik
3       2300   Miller re EverSilk with
         (*)   attachments (NTG065425-
4              065429)                              Defendant
5              Media Proposal for EverSilk from
        2301
               Media Design Group
6        (*)
               (NTG065430)                          Defendant
7              04/16/2015 Email from Nik
        2302
               Miller EverSilk (NTG065432-
8        (*)
               065435)                              Defendant
9              04/15/2015 Email from Nik
        2303   Miller re EverSilk with
10
         (*)   attachments (NTG065436-
11             065438)                              Defendant
        2304   EverSilk: Networks for Approval
12
         (*)   document (NTG065439-065441)          Defendant
13             04/14/2015 Email from Nik
        2305
               Miller re EverSilk (NTG065442-
14       (*)
               065444)                              Defendant
15             04/14/2015 Email from Nik
16      2306   Miller re EverSilk with
         (*)   attachments (NTG065445-
17             065446)                              Defendant
18             04/02/2015 Email from Rhianna
        2307   Sheperd re Strataluz Credit
19       (*)   Memo with attachments
20             (NTG065449)                          Defendant
               04/02/2015 Invoice from Media
21      2308
               Design Group re EverSilk
         (*)
22             (NTG065450-065451)                   Defendant
               03/19/2015 Email from Rhianna
23      2309
               Sheperd re Strataluz Invoice with
         (*)
24             attachments (NTG065452)              Defendant
               03/19/2015 Invoice from Media
25      2310
               Design Group re EverSilk
         (*)
26             (NTG065453-065454)                   Defendant
27
28
                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              205
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 207 of 224 Page ID
                                        #:84584



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2              01/23/2015 Email from Emilie C.
3       2311   Bowman re 2 Minute
         (*)   Booty/Velocity login information
4              with attachments (NTG065459)        Defendant
5       2312   Two Minute Booty Script
         (*)   (NTG065460-065465)                  Defendant
6              01/16/2015 Email from Emilie
        2313
7              Bowman re EverSilk scripting
         (*)
               (NTG065471)                         Defendant
8              01/04/2015 Email from Emilie C.
9              Bowman re Ideas for Diet Pill
        2314
               Name & EverSilk & 2 Minute
10       (*)
               Booty Scripts with attachments
11             (NTG065472)                         Defendant
        2315   Diet Pill Names, suggestions
12
         (*)   (NTG065473-065474)                  Defendant
13      2316   Two Minute Booty Script
         (*)   (NTG065475-065480)                  Defendant
14
        2317   EverSilk Script (NTG065481-
15       (*)   065487)                             Defendant
16             03/07/2016 Email from IMS Data
        2318   Processor re Ignite Media
17       (*)   Solutions Invoice for Strataluz
18             with attachments (NTG065488)        Defendant
               03/07/2016 to 03/17/2016 Invoice
19      2319
               to intake calls re Strataluz
         (*)
20             products (NTG065489)                Defendant
               01/04/2015 Email from Emilie
21      2320   Bowman re customer service
22       (*)   number and hours (NTG065526-
               065528)                             Defendant
23
               01/13/2015 Email from Emilie
24      2321   Bowman re customer service
         (*)   number and hours (NTG065529-
25
               065531)                             Defendant
26             01/09/2015 Email from Emilie
        2322
               Bowman re EverSilk campaign
27       (*)
               (NTG065534-065536)                  Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             206
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 208 of 224 Page ID
                                        #:84585



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            01/08/2015 Email from Emilie
        2323
3            Bowman re EverSilk campaign
         (*)
             (NTG065537-065538)                   Defendant
4            01/15/2015 Email from Emilie
        2324
5            Bowman re EverSilk Script
         (*)
             (NTG065539)                          Defendant
6            01/20/2015 Email from Emilie
7       2325 Bowman re EverSilk scripting
         (*) with attachments (NTG065542-
8            065543)                              Defendant
9       2326 EverSilk Script, Final
         (*) (NTG065544-065550)                   Defendant
10
             01/08/2015 Email from Emilie
11      2327 Bowman re templates with
         (*) attachments (NTG065551-
12
             065554)                              Defendant
13      2328 Product Description chart for 2
         (*) Minute Booty (NTG065555)             Defendant
14
             01/07/2015 Email from Emilie
15
        2329
             Bowman re templates with
         (*)
16           attachments (NTG065556)              Defendant
        2330 Regulation E Sample Wording
17       (*) document (NTG065558)                 Defendant
18      2331 Product Description chart for
         (*) EverSilk (NTG065559)                 Defendant
19           Application Template
        2332
20           Spreadsheet for EverSilk
         (*)
             (NTG065561-065565)                   Defendant
21
             01/06/2015 Email from Emilie
        2333
22           Bowman re Welcome to Ignite
         (*)
             (NTG065566-065569)                   Defendant
23
             01/05/2015 Email from Emilie
24      2334 Bowman re Welcome to Ignite
         (*) with attachments (NTG06577-
25
             065578)                              Defendant
26           04/19/2016 Email from Scott
        2335
27
             Ferrell re Quintogos/Strtaluz
         (*)
             Accounts (NTG065605-065606)          Defendant
28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            207
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 209 of 224 Page ID
                                        #:84586



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            09/21/2015 Eamil from David
        2336
3            Koch re Strataluz v. truDERMA
         (*)
             with attachments (NTG065658)         Defendant
4            Settlement Agreement btw.
        2337
5            Strataluz and truDERMA
         (*)
             (NTG065659-065664)                   Defendant
6            01/2014 Promissory Note to pay
        2338
7            to the order of David Reid
         (*)
             (NTG065681-065683)                   Defendant
8            Settlement Agreement btw.
        2339
9            Natural Products Solutions and
         (*)
             Strataluz (NTG065714-065719)         Defendant
10
             License Agreement btw. Harcol
        2340
11           Research and Strataluz
         (*)
             (NTG065720-065726)                   Defendant
12
        2341 Images of Strataluz products
13       (*) (NTG 065880-065888)                  Defendant
14
             12/28/2014 Email from Kate
        2342
             Griffin re CardiaTrol with
15
         (*)
             attachments (NTG065894)              Defendant
16      2343 Image of CardiaTrol labels,
         (*) mockup (NTG065895)                   Defendant
17           Email from Kate Griffin re
        2344
18           EverSilk with attachments
         (*)
             (NTG065910)                          Defendant
19      2345 Image of EverSilk label, mockup
20       (*) (NTG065911)                          Defendant
        2346 Image of EverSilk label, mockup
21
         (*) (NTG065912)                          Defendant
22           05/12/2015 Email from Kate
        2347
             Griffin re Delete assets
23       (*)
             (NTG065953)                          Defendant
24           04/11/2014 Email from Kate
        2348
             Griffin re Glutia Logo with
25       (*)
             attachments (NTG065961)              Defendant
26      2349 Glutia mockup logos
27       (*) (NTG065962)                          Defendant

28
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            208
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 210 of 224 Page ID
                                        #:84587



1       Exh.
        No.    Description                        Offered By:   Objection(s):   Admitted:
2            04/08/2014 Email from Jarrod
        2350
3            Bentley re Glutia logos
         (*)
             (NTG065963)                          Defendant
4            05/28/2015 Email from Kate
5       2351 Griffin re ProMaxal, mockup of
         (*) product packaging (NTG065973-
6            065974)                              Defendant
7       2352
         (*) [Number not used]                    Defendant
8            05/23/2014 Email from Kate
        2353
9            Griffin re slimming gel with
         (*)
             attachments (NTG065979)              Defendant
10
        2354 Slimming gel mockup (blue)
11       (*) (NTG065980)                          Defendant
        2355 Slimming gel mockup (pink)
12
         (*) (NTG065981)                          Defendant
13      2356 Slimming gel mockup (pink)
14
         (*) (NTG065982)                          Defendant
             08/04/2014 to 12/30/2014
15      2357
             Merchant Fees for Strataluz
         (*)
16           products (NTG065991-065996)          Defendant
             01/02/2014 to 09/11/2014
17      2358
             Merchant Fees for Strataluz
         (*)
18           products (NTG065997-066206)          Defendant
        2359 05/22/2013 Nilon v. Chromadex
19       (*) Complaint                            Defendant
20           11/13/2012 Schoonover v.
        2360
             Himalaya Request for Dismissal,
21       (*)
             Dkt. 11                              Defendant
22      2361 11/16/2009 Vaughn v. Magna
         (*) Complaint and Service of Process     Defendant
23
        2362 12/17/2009 Vaughn v. Magna
24       (*) Answer                               Defendant
25
        2363 02/11/2010 Vaughn v. Magna
         (*) First Amended Complaint              Defendant
26      2364 07/07/2010 Morales v. Magna
27       (*) Notice of Dismissal, Dkt. 41         Defendant
        2365 07/08/2010 Morales v. Magna
28       (*) Notice of Withdrawal, Dkt. 42        Defendant
                               JOINT L.R. 16-6.1 EXHIBIT LIST
                                            209
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 211 of 224 Page ID
                                        #:84588



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2       2366   08/23/2010 Morales v. Magna
3        (*)   Notice of Dismissal                 Defendant
        2367   09/21/2010 Morales v. Magna s
4        (*)   A-H, Dkt. 63-2                      Defendant
5       2368   09/21/2010 Morales v. Magna I,
         (*)   Dkt. 63-3                           Defendant
6       2369   09/21/2010 Morales v. Magna s
7        (*)   J-U, Dkt. 63-4                      Defendant
        2370   12/09/2010 Bobba v. Magna
8        (*)   Notice of Withdrawal, Dkt. 69       Defendant
9       2371   10/25/2012 Torres v. Nutrisystem
         (*)   Notice of Removal, Dkt. 1           Defendant
10
        2372   11/16/2012 Torres v. Nutrisystem
11       (*)   Order, Dkt.                         Defendant
12             11/20/2012 Torres v. Nutrisystem
        2373
               First Amended Complaint, Dkt.
13       (*)
               13                                  Defendant
14      2374   07/02/2013 Torres v. Nutrisystem
         (*)   Stipulation, Dkt. 32                Defendant
15
        2375   07/03/2013 Torres v. Nutrisystem
16       (*)   Order of Dismissal, Dkt. 33         Defendant
17
        2376   04/25/2012 Pfleg v. Nature’s
         (*)   Way Notice of Removal, Dkt .1       Defendant
18             07/06/2012 Pfleg v. Nature’s
        2377
19             Way Request for Dismissal, Dkt.
         (*)
               8                                   Defendant
20      2378   07/10/2012 Pfleg v. Nature’s
21       (*)   Way Order of Dismissal, Dkt. 9      Defendant
        2379   04/16/2012 Nilon v. NIC Notice
22       (*)   of Removal, Dkt. 1                  Defendant
23      2380   04/16/2012 Nilon v. NIC Notice,
         (*)   Dkt. 2                              Defendant
24
        2381   04/23/2012 Nilon v. NIC Notice,
25       (*)   Dkt. 3                              Defendant
        2382   04/24/2012 Nilon v. NIC Notice,
26
         (*)   Dkt. 4                              Defendant
27      2383   04/26/2012 Nilon v. NIC
28
         (*)   Amended Notice, Dkt. 5              Defendant

                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             210
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 212 of 224 Page ID
                                        #:84589



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2       2384   05/07/2012 Nilon v. NIC Order,
3        (*)   Dkt. 6                              Defendant
        2385   06/04/2012 Nilon v. NIC
4        (*)   Opposition, Dkt. 7                  Defendant
5       2386   06/11/2012 Nilon v. NIC Reply,
         (*)   Dkt. 8                              Defendant
6       2387   07/12/2012 Nilon v. NIC Order,
7        (*)   Dkt. 9                              Defendant
        2388   07/26/2012 Nilon v. NIC Answer,
8        (*)   Dkt. 10                             Defendant
9       2389   07/31/2012 Nilon v. NIC Notice,
         (*)   Dkt. 11                             Defendant
10
        2390   09/25/2012 Nilon v. NIC Notice,
11       (*)   Dkt. 12                             Defendant
12
        2391   09/26/2012 Nilon v. NIC Minute
         (*)   Entry, Dkt. 13                      Defendant
13      2392   10/01/2012 Nilon v. NIC Minute
14       (*)   Entry, Dkt. 14                      Defendant
        2393   10/01/2012 Nilon v. NIC Order,
15       (*)   Dkt. 15                             Defendant
16      2394   10/19/2012 Nilon v. NIC Minute
         (*)   Entry, Dkt. 16                      Defendant
17      2395   11/27/2012 Nilon v. NIC CMC
18       (*)   Order, Dkt. 18                      Defendant
        2396   12/18/2012 Nilon v. NIC Joint
19
         (*)   Motion, Dkt. 19                     Defendant
20      2397   12/19/2012 Nilon v. NIC Order,
         (*)   Dkt. 20                             Defendant
21
        2398   02/26/2013 Nilon v. NIC Notice,
22       (*)   Dkt. 21                             Defendant
23
        2399   03/22/2013 Nilon v. NIC Notice,
         (*)   Dkt. 22                             Defendant
24      2400   04/22/2013 Nilon v. NIC
25       (*)   Opposition, Dkt. 23                 Defendant
        2401   04/29/2013 Nilon v. NIC Reply,
26       (*)   Dkt. 25                             Defendant
27      2402   05/01/2013 Nilon v. NIC
         (*)   Minutes, Dkt. 26                    Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             211
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 213 of 224 Page ID
                                        #:84590



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2       2403   05/21/2013 Nilon v. NIC Notice,
3        (*)   Dkt. 27                             Defendant
        2404   06/26/2013 Nilon v. NIC Notice,
4        (*)   Dkt. 28                             Defendant
5       2405   09/30/2013 Nilon v. NIC Order,
         (*)   Dkt. 31                             Defendant
6       2406   10/11/2013 Nilon v. NIC First
7        (*)   Amended Complaint, Dkt. 32          Defendant
        2407   10/15/2013 Nilon v. NIC Notice,
8        (*)   Dkt. 33                             Defendant
9       2408   11/04/2013 Nilon v. NIC Motion
         (*)   to Dismiss, Dkt. 35                 Defendant
10
        2409   11/07/2013 Nilon v. NIC Notice,
11       (*)   Dkt. 36                             Defendant
12
        2410   11/12/2013 Nilon v. NIC
         (*)   Scheduling Order, Dkt. 37           Defendant
13      2411   12/02/2013 Nilon v. NIC
14       (*)   Opposition, Dkt. 38                 Defendant
        2412   12/10/2013 Nilon v. NIC
15       (*)   Minutes, Dkt. 39                    Defendant
16      2413   04/15/2014 Nilon v. NIC Order,
         (*)   Dkt. 41                             Defendant
17      2414   04/24/2014 Nilon v. NIC Joint
18       (*)   Status Report, Dkt. 43              Defendant
        2415   04/29/2014 Nilon v. NIC CMC
19
         (*)   Order, Dkt. 45                      Defendant
20      2416   06/18/2014 Nilon v. NIC Notice,
         (*)   Dkt. 47                             Defendant
21
        2417   06/30/2014 Nilon v. NIC Motion
22       (*)   to Compel, Dkt. 49                  Defendant
23
        2418   07/01/2014 Nilon v. NIC Notice,
         (*)   Dkt. 50                             Defendant
24      2419   07/09/2014 Nilon v. NIC Motion
25       (*)   to Modify, Dkt. 51                  Defendant
        2420   07/09/2014 Nilon v. NIC
26       (*)   Opposition, Dkt. 52                 Defendant
27      2421   07/10/2014 Nilon v. NIC Notice,
         (*)   Dkt. 53                             Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             212
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 214 of 224 Page ID
                                        #:84591



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2       2422   07/24/2014 Nilon v. NIC Expert
3        (*)   Designation, Dkt. 54                Defendant
        2423   08/04/2014 Nilon v. NIC
4        (*)   Opposition, Dkt. 56                 Defendant
5              08/08/2014 Nilon v. NIC
        2424
               Supplemental Declaration, Dkt.
6        (*)
               57                                  Defendant
7       2425   08/11/2014 Nilon v. NIC Reply,
         (*)   Dkt. 58                             Defendant
8       2426   08/11/2014 Nilon v. NIC Order,
9        (*)   Dkt. 59                             Defendant
        2427   08/12/2014 Nilon v. NIC
10
         (*)   Minutes, Dkt. 60                    Defendant
11      2428   09/08/2014 Nilon v. NIC Expert
         (*)   Witness Disclosure, Dkt. 64         Defendant
12
        2429   09/11/2014 Nilon v. NIC Order,
13       (*)   Dkt. 65                             Defendant
14      2430   09/29/2014 Nilon v. NIC Motion
         (*)   to Compel, Dkt. 66                  Defendant
15      2431   09/29/2014 Nilon v. NIC Motion
16       (*)   for Contempt, Dkt. 67               Defendant
        2432   10/10/2014 Nilon v. NIC
17       (*)   Opposition, Dkt. 68                 Defendant
18      2433   10/10/2014 Nilon v. NIC
         (*)   Response, Dkt. 69                   Defendant
19
        2434   10/13/2014 Nilon v. NIC Reply,
20       (*)   Dkt. 70                             Defendant
        2435   10/14/2014 Nilon v. NIC Order,
21
         (*)   Dkt. 71                             Defendant
22      2436   10/27/2014 Nilon v. NIC Order,
         (*)   Dkt. 72                             Defendant
23
        2437   12/08/2014 Nilon v. NIC Motion,
24       (*)   Dkt. 74                             Defendant
25      2438   12/16/2014 Nilon v. NIC Referral
         (*)   Order, Dkt. 75                      Defendant
26      2439   12/18/2014 Nilon v. NIC Briefing
27       (*)   schedule, Dkt. 76                   Defendant
        2440   12/29/2014 Nilon v. NIC
28       (*)   Response, Dkt. 77                   Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             213
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 215 of 224 Page ID
                                        #:84592



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2       2441   01/05/2015 Nilon v. NIC Reply,
3        (*)   Dkt. 78                             Defendant
        2442   01/08/2015 Nilon v. NIC Notice,
4        (*)   Dkt. 79                             Defendant
5       2443   01/09/2015 Sandoval v. NIC
         (*)   Pretrial Disclosure, Dkt. 80        Defendant
6       2444   01/13/2015 Nilon v. NIC Notice,
7        (*)   Dkt. 81                             Defendant
        2445   01/15/2015 Nilon v. NIC Order,
8        (*)   Dkt. 82                             Defendant
9       2446   02/03/2015 Nilon v. NIC Order,
         (*)   Dkt. 83                             Defendant
10
        2447   02/05/2015 Nilon v. NIC Report
11       (*)   and Recommendation, Dkt. 84         Defendant
               02/11/2015 Nilon v. NIC
12      2448
               Application for Substitution of
13
         (*)
               Counsel, Dkt. 85                    Defendant
14      2449   02/13/2015 Nilon v. NIC Notice,
         (*)   Dkt. 86                             Defendant
15      2450   02/17/2015 Nilon v. NIC Notice,
16       (*)   Dkt. 87                             Defendant
        2451   02/18/2015 Nilon v. NIC Ex
17       (*)   Parte MTS, Dkt. 88                  Defendant
18      2452   02/20/2015 Nilon v. NIC Opp. to
         (*)   Ex Parte, Dkt. 89                   Defendant
19
        2453   02/20/2015 Nilon v. NIC Ex
20       (*)   Parte App., Dkt. 90                 Defendant
        2454   02/24/2015 Nilon v. NIC Opp. to
21
         (*)   Ex Parte, Dkt. 91                   Defendant
22      2455   02/25/2015 Nilon v. NIC Reply,
         (*)   Dkt. 92                             Defendant
23
        2456   03/20/2015 Nilon v. NIC Notice,
24       (*)   Dkt. 93                             Defendant
25      2457   03/24/2015 Nilon v. NIC Def.
         (*)   MTS, Dkt. 94                        Defendant
26      2458   04/02/2015 Nilon v. NIC Notice,
27       (*)   Dkt. 95                             Defendant
        2459   04/01/2015 Nilon v. NIC Minute
28       (*)   Order, Dkt. 96                      Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             214
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 216 of 224 Page ID
                                        #:84593



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2       2460   04/06/2015 Nilon v. NIC Order,
3        (*)   Dkt. 97                             Defendant
        2461   04/06/2015 Nilon v. NIC
4        (*)   Opposition to Def MTS, Dkt. 98      Defendant
5       2462   04/09/2015 Nilon v. NIC Notice,
         (*)   Dkt. 99                             Defendant
6       2463   04/09/2015 Nilon v. NIC Order,
7        (*)   Dkt. 100                            Defendant
        2464   04/10/2015 Nilon v. NIC
8        (*)   Request, Dkt. 101                   Defendant
9       2465   04/10/2015 Nilon v. NIC Reply,
         (*)   Dkt. 102                            Defendant
10
               04/10/2015 Ivera Medical Corp.
        2466
11             v. Clinical Technology, Inc.
         (*)
               Order, Dkt. 103                     Defendant
12
               04/10/2015 Ivera Medical Corp.
13
        2467
               v. Clinical Technology, Inc.
         (*)
14
               Order, Dkt. 104                     Defendant
        2468   04/13/2015 Nilon v. NIC Order,
15       (*)   Dkt. 105                            Defendant
16      2469   04/14/2015 Nilon v. NIC Order,
         (*)   Dkt. 106                            Defendant
17      2470   04/17/2015 Nilon v. NIC Order,
18       (*)   Dkt. 107                            Defendant
        2471   04/20/2015 Nilon v. NIC Notice,
19       (*)   Dkt. 108                            Defendant
20      2472   04/27/2015 Nilon v. NIC Order,
         (*)   Dkt. 109                            Defendant
21
               04/27/2015 Nilon v. NIC
        2473
22             Statement of Undisputed Facts,
         (*)
               Dkt. 110                            Defendant
23
        2474   04/27/2015 Nilon v. NIC
24       (*)   Opposition to MSJ, Dkt. 111         Defendant
25      2475   05/01/2015 Nilon v. NIC Ex
         (*)   Parte Motion, Dkt. 112              Defendant
26      2476   05/04/2015 Nilon v. NIC Reply,
27       (*)   Dkt. 113                            Defendant
        2477   05/06/2015 Nilon v. NIC
28       (*)   Objections, Dkt. 114                Defendant
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             215
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 217 of 224 Page ID
                                        #:84594



1       Exh.
        No.    Description                         Offered By:   Objection(s):   Admitted:
2       2478   05/06/2015 Nilon v. NIC
3        (*)   Minutes, Dkt. 115                   Defendant
        2479   05/07/2015 Nilon v. NIC
4        (*)   Response, Dkt. 116                  Defendant
5       2480   05/15/2015 Nilon v. NIC
         (*)   Reponse, Dkt. 118                   Defendant
6       2481   05/18/2015 Nilon v. NIC Reply,
7        (*)   Dkt. 119                            Defendant
        2482   05/55/2015 Nilon v. NIC Order,
8        (*)   Dkt. 120                            Defendant
9       2483   06/24/2015 Nilon v. NIC Notice,
         (*)   Dkt. 122                            Defendant
10
        2484   07/24/2015 Nilon v. NIC Reply,
11       (*)   Dkt. 124                            Defendant
12
        2485   07/27/2015 Nilon v. NIC Notice,
         (*)   Dkt. 125                            Defendant
13      2486   10/28/2015 Nilon v. NIC Order,
14       (*)   Dkt. 126                            Defendant
        2487   06/03/2006 Publication
15       (*)   (NTG0071525-0071526)                Defendant
16      2488   01/17/2019 Publication
         (*)   (NTG0071527-0071529)                Defendant
17      2489   01/26/2007 Publication
18       (*)   (NTG0071530-0071541)                Defendant
        2490   Publication (NTG0071542-
19
         (*)   0071543)                            Defendant
20      2491   03/13/2017 Publication
         (*)   (NTG0071544-0071547)                Defendant
21
        2492   Publication (NTG0071548-
22       (*)   0071549)                            Defendant
23
        2493   Publication (NTG0071550-
         (*)   0071552)                            Defendant
24      2494   10/18/2008 Publication
25       (*)   (NTG0071553-0071554)                Defendant
        2495   10/25/2019 Publication
26       (*)   (NTG0071555-0071557)                Defendant
27      2496   Publication (NTG0071558-
         (*)   0071559)                            Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             216
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 218 of 224 Page ID
                                        #:84595



1       Exh.
        No.    Description                           Offered By:   Objection(s):   Admitted:
2       2497   12/14/2013 Publication
3        (*)   (NTG0071560-0071562)                  Defendant
        2498   12/21/2006 Publication
4        (*)   (NTG0071563-0071566)                  Defendant
5       2499   02/06/2016 Publication
         (*)   (NTG0071595)                          Defendant
6       2500   10/05/2017 Publication
7        (*)   (NTG0071767-0071769)                  Defendant
        2501   Publication (NTG0071822-
8        (*)   0071832)                              Defendant
9       2502   09/03/2019 Publication
         (*)   (NTG0071833-0071836)                  Defendant
10
        2503   05/25/2018 Publication
11       (*)   (NTG0071837-0071838)                  Defendant
12
        2504   01/18/2017 In re Clark Warren
         (*)   Baker Referral, Dkt. 200              Defendant
13      2505   10/05/2017 In re Clark Warren
14       (*)   Baker Order, Dkt. 291                 Defendant
        2506   04/13/2018 In re Clark Warren
15       (*)   Baker Declaration, Dkt. 338           Defendant
16      2507   04/13/2018 In re Clark Warren
         (*)   Baker Order, Dkt. 339                 Defendant
17      2508   06/13/2018 In re Clark Warren
18       (*)   Baker Declaration, Dkt. 356           Defendant
        2509   08/16/2018 In re Clark Warren
19
         (*)   Baker Order, Dkt. 369                 Defendant
20      2510   09/04/2019 In re Clark Warren
         (*)   Baker Minutes, Dkt. 563               Defendant
21
        2511   07/28/2021 In re Clark Warren
22       (*)   Baker Declaration, Dkt. 778           Defendant
23
        2512   07/28/2021 In re Clark Warren
         (*)   Baker 1237, Dkt. 778-1                Defendant
24      2513   07/28/2021 In re Clark Warren
25       (*)   Baker 1238, Dkt. 778-2                Defendant
        2514   07/28/2021 In re Clark Warren
26       (*)   Baker 1239, Dkt. 778-3                Defendant
27      2515   07/28/2021 In re Clark Warren
         (*)   Baker 1240, Dkt. 778-4                Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                               217
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 219 of 224 Page ID
                                        #:84596



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2       2516   07/28/2021 In re Clark Warren
3        (*)   Baker 1241, Dkt. 778-5               Defendant
        2517   07/28/2021 In re Clark Warren
4        (*)   Baker 1242, Dkt. 778-6               Defendant
5       2518   03/14/2016 NIC v. NTG
         (*)   Opposition, Dkt. 54                  Defendant
6       2519   03/14/2016 NIC v. NTG
7        (*)   Declaration, Dkt. 54-1               Defendant
        2520   03/14/2016 NIC v. NTG
8        (*)   Declaration, Dkt. 54-2               Defendant
9       2521   03/14/2016 NIC v. NTG B, Dkt.
         (*)   54-5                                 Defendant
10
        2522   03/14/2016 NIC v. NTG C, Dkt.
11       (*)   54-6                                 Defendant
12
        2523   03/14/2016 NIC v. NTG E, Dkt.
         (*)   54-8                                 Defendant
13      2524   03/14/2016 NIC v. NTG G, Dkt.
14       (*)   54-10                                Defendant
        2525   05/15/2017 NIC v. NTG
15       (*)   Declaration, Dkt. 311-1              Defendant
16      2526   05/22/2017 NIC v. NTG 12,
         (*)   Dkt. 320-15                          Defendant
17      2527   05/30/2017 NIC v. NTG Reply,
18       (*)   Dkt. 328                             Defendant
        2528   07/25/2019 Felony Sentencing
19
         (*)   Memorandum for Clark Baker           Defendant
20      2529
         (*)   06/14/2016 Baker Privilege Log       Defendant
21
        2530
22       (*)   06/14/2016 NIC Privilege Log         Defendant
23
        2531
         (*)   09/09/2016 NIC Privilege Log         Defendant
24      2532
25       (*)   NIC website (NTG0071892)             Defendant
        2533   NIC website (NTG0071893-
26       (*)   0071896)                             Defendant
27      2534   NIC website (NTG0071897-
         (*)   0071899)                             Defendant
28
                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                              218
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 220 of 224 Page ID
                                        #:84597



1       Exh.
        No.    Description                          Offered By:   Objection(s):   Admitted:
2       2535 NIC website (NTG0071939-
3        (*) 0071941)                               Defendant
             03/08/2017 NIC v. NTG
4       2536 Stipulation Concerning
5        (*) Compensatory Damages, Dkt.
             237                                    Defendant
6
        2537 Declaration of Erin Ferrell, Dkt.
7        (*) 846-3                                  Defendant
8       2538 Declaration of Sariah Para, Dkt.
9        (*) 846-4                                  Defendant
10           05/10/2017 Plaintiff’s (Revised)
        2539 Objections and Responses to
11       (*) Defendant’s First Set of Requests
12           for Admission to Plaintiff             Defendant
             10/04/2017 Plaintiff’s Fourth
13
        2540 Amended and Supplemental
14       (*) Disclosure Pursuant to Rules
             26(a)(1) & (e)(1)                      Defendant
15
             06/28/2012 Email string from
        2541
16           Scott Ferrell (NTG005064-
         (*)
             005065)                                Defendant
17
        2542 07/06/2012 Email string from
18
         (*) Amy Lally (NTG005096-005098)           Defendant
19           05/06/2013 Email string from
        2543
20           Andrew Baslow (NTG041929-
         (*)
             041930)                                Defendant
21
             08/20/2013 Email string from
        2544
22           Dave Reid (NTG046026-
         (*)
             NTG046030)                             Defendant
23
             06/08/2015 Email string from
        2545
24           Jarrod Bentley (NTG063447-
         (*)
             063448                                 Defendant
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                                 JOINT L.R. 16-6.1 EXHIBIT LIST
                                              219
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 221 of 224 Page ID
                                        #:84598



1      DATED: August 30, 2021                                RESPECTFULLY SUBMITTED:
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3
4
5      FOR PLAINTIFF NATURAL                           FOR DEFENDANTS NTG AND SCOTT
       IMMUNOGENICS CORP.                              FERRELL
6
       /s/ Peter A. Arhangelsky                        /s/ David Darnell
7      Peter A. Arhangelsky (CA 291325)                David Darnell (CA 210166)
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       Attorneys for Plaintiff Natural-                PC, Scott Ferrell, Ryan Ferrell, Victoria
13     Immunogenics                                    Knowles, David Reid and Andrew Baslow

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                                          JOINT L.R. 16-6.1 EXHIBIT LIST
                                                       220
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 222 of 224 Page ID
                                        #:84599



1            Attestation pursuant to L.R. 5-4.3.4(a)(2)(i) regarding signatures: I, Peter A.
       Arhangelsky, attest that all other signatures listed, and on whose behalf this filing
2      is submitted, concur in the filing’s content and have authorized the filing.
3
4      DATED: August 30, 2021                         EMORD & ASSOCIATES, P.C.
5
                                              By:     /s/ Peter A. Arhangelsky
6
                                                      Peter Arhangelsky
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                                   JOINT L.R. 16-6.1 EXHIBIT LIST
                                                221
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 223 of 224 Page ID
                                        #:84600



1                               CERTIFICATE OF SERVICE
2
             I hereby certify that on August 30, 2021 the foregoing, JOINT L.R. 16-6.1
3
       EXHIBIT LISTwas electronically filed using the Court’s CM/ECF system and
4
       was sent by that system to the following:
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27           Attorneys for Ryan Ferrell, Victoria Knowles, David Reid, & Andrew
28
             Baslow

                                  JOINT L.R. 16-6.1 EXHIBIT LIST
                                               222
     Case 8:15-cv-02034-JVS-JCG Document 1199 Filed 08/30/21 Page 224 of 224 Page ID
                                        #:84601



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            Attorney for David Reid and Victoria Knowles
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7
                                                          /s/ Peter A. Arhangelsky
8
                                                         Peter A. Arhangelsky, Esq.
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                                JOINT L.R. 16-6.1 EXHIBIT LIST
                                             223
